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                                No. 23-60069


           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT


  STATE OF TEXAS; TEXAS COMMISSION ON ENVIRONMENTAL
  QUALITY; LUMINANT GENERATION COMPANY L.L.C.; COLETO
   CREEK POWER, L.L.C.; ENNIS POWER COMPANY, L.L.C.; HAYS
    ENERGY, L.L.C.; MIDLOTHIAN ENERGY, L.L.C.; OAK GROVE
     MANAGEMENT COMPANY L.L.C.; WISE COUNTY POWER
  COMPANY, L.L.C.; ASSOCIATION OF ELECTRIC COMPANIES OF
TEXAS; BCCA APPEAL GROUP; TEXAS CHEMICAL COUNCIL; TEXAS
OIL & GAS ASSOCIATION; PUBLIC UTILITY COMMISSION OF TEXAS;
    RAILROAD COMMISSION OF TEXAS; STATE OF MISSISSIPPI;
   MISSISSIPPI DEPARTMENT OF ENVIRONMENTAL QUALITY;
MISSISSIPPI POWER COMPANY; STATE OF LOUISIANA; LOUISIANA
    DEPARTMENT OF ENVIRONMENTAL QUALITY; ENTERGY
  LOUISIANA, L.L.C.; LOUISIANA CHEMICAL ASSOCIATION; MID-
 CONTINENT OIL AND GAS ASSOCIATION; LOUISIANA ELECTRIC
    UTILITY ENVIRONMENTAL GROUP, L.L.C.; TEXAS LEHIGH
                     CEMENT COMPANY, LP,

                                      Petitioners,
                                      v.

   UNITED STATES ENVIRONMENTAL PROTECTION AGENCY;
    MICHAEL S. REGAN, Administrator, United States Environmental
                      Protection Agency,

                                       Respondents.

 Petition for Review of Action of the U.S. Environmental Protection Agency


             BRIEF OF TEXAS INDUSTRY PETITIONERS



                         Counsel Listed on Inside Cover
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                 CERTIFICATE OF INTERESTED PERSONS
      The undersigned counsel of record certifies that the following listed persons and

entities as described in the fourth sentence of Fifth Circuit Rule 28.2.1 have an interest

in the outcome of this case. These representations are made in order that the judges of

this Court may evaluate possible disqualification or recusal.

     Abrams, Michael R., Assistant Solicitor General, Office of the Attorney General
      for the State of Texas (Counsel for Petitioners State of Texas and Texas
      Commission on Environmental Quality)

     Association of Electric Companies of Texas (Petitioner)
      The Association of Electric Companies of Texas (“AECT”) represents electric
      generators, transmission & distribution utilities, fully-integrated utilities and retail
      electric providers that span Texas. Its members generate power from diverse
      resources, including natural gas, coal, wind and solar, plus investments in energy
      storage.

     Baake, David R. (Counsel for Amicus Curiae New Mexico Environmental
      Department)

     Baake Law, LLC (Counsel for Amicus Curiae New Mexico Environment
      Department)

     Balch & Bingham LLP (Counsel for Petitioners Luminant Generation Company
      LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays Energy,
      LLC, Midlothian Energy, LLC, Oak Grove Management Company LLC, and
      Wise County Power Company, LLC and Petitioner Mississippi Power Company)

     Baker Botts L.L.P. (Counsel for Petitioners AECT, BCCA Appeal Group, TCC,
      and TXOGA, Petitioner Entergy Louisiana, L.L.C., and Petitioner Texas Lehigh
      Cement Company, LP)

     Barber, Julia B. (Counsel for Petitioners Luminant Generation Company LLC,
      Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays Energy, LLC,
      Midlothian Energy, LLC, Oak Grove Management Company LLC, and Wise
      County Power Company, LLC)


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   BCCA Appeal Group (Petitioner)
    BCCA Appeal Group is a Texas non-profit corporation whose mission is to
    support the goals of environmental protection and a strong economy. Its
    members own and operate industrial facilities in Texas. The Group was formed
    from the Business Coalition for Clean Air. The Group played a key role in the
    successful attainment strategies that have achieved real and sustained progress
    on air quality goals in Texas. BCCA Appeal Group continues to evaluate and
    pursue regulatory decisions that are based on sound science and achieve
    environmental and air quality goals while maintaining a strong economy.

   Berge, Megan H. (Counsel for Petitioner Texas Lehigh Cement Company)

   Blackman, Daniel (Region 4 Administrator, United States Environmental
    Protection Agency)

   Brookfield Asset Management Inc. (together with its affiliates and managed
    entities owns 10% or more of Vistra Corp.’s stock)

   Burdette, Courtney J., Executive Counsel, Louisiana Department of
    Environmental Quality (Counsel for Petitioner Louisiana Department of
    Environmental Quality)

   Clark, Jill C., General Counsel, Louisiana Department of Environmental Quality
    (Counsel for Petitioner Louisiana Department of Environmental Quality)

   Coleto Creek Power, LLC (Petitioner)

   Cole, Williams F., Assistant Solicitor General, Office of the Attorney General
    for the State of Texas (Counsel for Petitioners State of Texas and Texas
    Commission on Environmental Quality)

   Davis, Bill, Deputy Solicitor General, Office of the Attorney General for the
    State of Texas (Counsel for Petitioners State of Texas and Texas Commission
    on Environmental Quality)

   Eagle Materials Inc. (Parent Company of Petitioner Texas Lehigh Cement
    Company)

   Ennis, Bradley A. (Counsel for Petitioner Mississippi Power Company)

   Ennis Power Company, LLC (Petitioner)


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   Entergy Louisiana, L.L.C. (Petitioner)

   Fitch, Lynn, Attorney General, Office of the Attorney General for the State of
    Mississippi (Counsel for Petitioners State of Mississippi and Mississippi
    Department of Environmental Quality)

   Garland, Merrick B., Attorney General, United States Department of Justice
    (Counsel for Respondents)

   Gidiere, P. Stephen III (Counsel for Petitioners Luminant Generation Company
    LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays Energy,
    LLC, Midlothian Energy, LLC, Oak Grove Management Company LLC, and
    Wise County Power Company, LLC)

   Hall, Machelle, Assistant Attorney General, Louisiana Department of Justice
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    Environmental Quality)

   Harbourt, Maureen N. (Counsel for Petitioners Louisiana Chemical Association,
    Louisiana Mid-Continent Oil and Gas Association, and Louisiana Electric Utility
    Environmental Group LLC)

   Hays Energy, LLC (Petitioner)

   Izfar, Sarah, Trial Attorney, United States Department of Justice, Environment
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    Respondents)

   Jezouit, Debra J. (Counsel for Petitioner Entergy Louisiana, L.L.C.)

   Kean Miller, L.L.P. (Counsel for Petitioners Louisiana Chemical Association,
    Louisiana Mid-Continent Oil and Gas Association, and Louisiana Electric Utility
    Environmental Group LLC)

   Kelly, Daniel J. (Counsel for Petitioners Luminant Generation Company LLC,
    Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays Energy, LLC,
    Midlothian Energy, LLC, Oak Grove Management Company LLC, and Wise
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    Counsel for Vistra Corp.)

   Kim, Todd, Assistant Attorney General, Environment and Natural Resources
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    Louisiana Mid-Continent Oil and Gas Association, and Louisiana Electric Utility
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   Kuryla, Matthew L. (Counsel for Petitioners AECT, BCCA Appeal Group, TCC,
    and TXOGA)

   Landry, Jeff, Attorney General, Louisiana Department of Justice (Counsel for
    Petitioners State of Louisiana and Louisiana Department of Environmental
    Quality)

   Lee, Jin Hyung (Counsel for Respondents)

   Lee, Joshua (Counsel for Petitioner Entergy Louisiana, L.L.C.)

   Lehotsky Keller Cohn LLP (Counsel for Petitioners State of Mississippi and
    Mississippi Department of Environmental Quality)

   Lipscomb, Whitney H., Deputy Attorney General, Office of the Attorney
    General for the State of Mississippi (Counsel for Petitioners State of Mississippi
    and Mississippi Department of Environmental Quality)

   Little, J. Mark (Counsel for Petitioner Texas Lehigh Cement Company)

   Louisiana Chemical Association (Petitioner)

   Louisiana Department of Environmental Quality (Petitioner)

   Louisiana Department of Justice (Counsel for Petitioners State of Louisiana and
    Louisiana Department of Environmental Quality)

   Louisiana Electric Utility Environmental Group, L.L.C. (Petitioner)

   Louisiana Mid-Continent Oil and Gas Association (Petitioner)

   Luminant Generation Company LLC (Petitioner)

   Mansinghani, Mithun (Counsel for Petitioners State of Mississippi and
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    Mississippi Department of Environmental Quality)

   Mazzara, Joseph N., Assistant Solicitor General, Office of the Attorney General
    for the State of Texas (Counsel for Petitioners State of Texas and Texas
    Commission on Environmental Quality)

   McPhee, Shae, Deputy Solicitor General, Louisiana Department of Justice,
    Office of the Attorney General (Counsel for Petitioners State of Louisiana and
    Louisiana Department of Environmental Quality)

   Midlothian Energy, LLC (Petitioner)

   Mississippi Department of Environmental Quality (Petitioner)

   Mississippi Power Company (Petitioner)

   Mitchell, David W. (Counsel for Petitioners Luminant Generation Company
    LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays Energy,
    LLC, Midlothian Energy, LLC, Oak Grove Management Company LLC, and
    Wise County Power Company, LLC and Senior Counsel, Environmental for
    Vistra Corp.)

   Moore, C. Grady III (Counsel for Petitioner Mississippi Power Company)

   Moore, Stephanie Zapata (Counsel for Petitioners Luminant Generation
    Company LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays
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    LLC, and Wise County Power Company, LLC and Executive Vice President and
    General Counsel for Vistra Corp.)

   Murrill, Elizabeth B., Solicitor General, Louisiana Department of Justice
    (Counsel for Petitioners State of Louisiana and Louisiana Department of
    Environmental Quality)

   Nance, Earthea (Regional Administrator for Respondent United States
    Environmental Protection Agency)

   New Mexico Environment Department (Amicus Curiae)

   Oak Grove Management Company LLC (Petitioner)

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   Office of the Attorney General for the State of Louisiana (Counsel for
    Petitioners State of Louisiana and Louisiana Department of Environmental
    Quality)

   Office of the Attorney General for the State of Mississippi (Counsel for
    Petitioners State of Mississippi and Mississippi Department of Environmental
    Quality)

   Office of the Attorney General for the State of Texas (Counsel for Petitioners
    State of Texas and Texas Commission on Environmental Quality)

   Paxton, Ken, Attorney General of Texas (Counsel for Petitioners State of Texas
    and Texas Commission on Environmental Quality)

   Prieto, Jeffrey M. (General Counsel for Respondent United States
    Environmental Protection Agency)

   Public Utility Commission of Texas (Petitioner)

   Railroad Commission of Texas (Petitioner)

   Regan, Michael S., Administrator, United States Environmental Protection
    Agency (Respondent)

   Rucinski, Lauren (Counsel for Petitioners Louisiana Chemical Association,
    Louisiana Mid-Continent Oil and Gas Association, and Louisiana Electric Utility
    Environmental Group, LLC)

   Schon, Michael B. (Counsel for Petitioners State of Mississippi and Mississippi
    Department of Environmental Quality)

   Shurden, Shawn (Counsel for Petitioner Mississippi Power Company)

   Southern Company (Parent Company of Petitioner Mississippi Power Company)

   State of Louisiana (Petitioner)

   State of Mississippi (Petitioner)

   State of Texas (Petitioner)




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   St. John, Joseph S., Deputy Solicitor General, Louisiana Department of Justice,
    Office of the Attorney General (Counsel for Petitioners State of Louisiana and
    Louisiana Department of Environmental Quality)

   Stone, Judd, Solicitor General, Office of the Attorney General for the State of
    Texas (Counsel for Petitioners State of Texas and Texas Commission on
    Environmental Quality)

   Streett, Aaron M. (Counsel for Petitioners AECT, BCCA Appeal Group, TCC,
    and TXOGA)

   Stutts, Susan Scaggs (Counsel for Petitioner Mississippi Power Company)

   Texas Chemical Council (Petitioner)
    The Texas Chemical Council (“TCC”) represents approximately 70 companies
    who own or operate more than 200 manufacturing and research facilities across
    the state of Texas. Its members have invested more than $150 billion in physical
    assets in the state, directly employ more than 75,000 Texans, and indirectly
    employ over 500,000 Texans. The Texas chemical industry represents the #1
    non-energy Texas export with over $45 billion in exports annually and pays more
    than $1.5 billion in state and local taxes each year.

   Texas Commission on Environmental Quality (Petitioner)

   Texas Lehigh Cement Company (Petitioner)

   Texas Oil & Gas Association (Petitioner)
    The Texas Oil & Gas Association (“TXOGA”) is a statewide trade association
    representing every facet of the Texas oil and gas industry including small
    independents and major producers. Collectively, the membership of TXOGA
    produces in excess of 80 percent of Texas’ crude oil and natural gas, operates
    over 80 percent of the state’s refining capacity, and is responsible for the vast
    majority of the state’s pipelines. In fiscal year 2022, the oil and natural gas
    industry supported 443,000 direct jobs and paid $24.7 billion in state and local
    taxes and state royalties, funding schools, roads and first responders.

   The Vanguard Group, Inc. (together with its affiliates and managed entities owns
    10% or more of Vistra Corp.’s stock)

   United States Environmental Protection Agency (Respondent)


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   Vistra Asset Company LLC (Parent company of Petitioners Luminant
    Generation Company LLC, Coleto Creek Power, LLC, Ennis Power Company,
    LLC, Hays Energy, LLC, Midlothian Energy, LLC, Oak Grove Management
    Company LLC, and Wise County Power Company, LLC)

   Vistra Corp. (Parent company of Petitioners Luminant Generation Company
    LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays Energy,
    LLC, Midlothian Energy, LLC, Oak Grove Management Company LLC, and
    Wise County Power Company, LLC)

   Vistra Intermediate Company LLC (Parent company of Petitioners Luminant
    Generation Company LLC, Coleto Creek Power, LLC, Ennis Power Company,
    LLC, Hays Energy, LLC, Midlothian Energy, LLC, Oak Grove Management
    Company LLC, and Wise County Power Company, LLC)

   Vistra Operations Company LLC (Parent company of Petitioners Luminant
    Generation Company LLC, Coleto Creek Power, LLC, Ennis Power Company,
    LLC, Hays Energy, LLC, Midlothian Energy, LLC, Oak Grove Management
    Company LLC, and Wise County Power Company, LLC)

   Webster, Brent, First Assistant Attorney General, Office of the Attorney General
    for the State of Texas (Counsel for Petitioners State of Texas and Texas
    Commission on Environmental Quality)

   Wise County Power Company, LLC (Petitioner)




                                              Respectfully submitted,


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               STATEMENT REGARDING ORAL ARGUMENT
     Texas Industry Petitioners believe that oral argument will assist the Court in

resolving this case. As explained in the Court’s Order granting a stay of the U.S.

Environmental Protection Agency’s (“EPA”) disapproval of the State of Texas’s Clean

Air Act State Implementation Plan (“SIP”) at issue here, EPA’s disapproval “was the

statutory prerequisite for the EPA to [] impose its preferred system of emissions

controls and reductions on [Texas industrial facilities],” forcing them “to spend billions

of dollars in compliance costs” and “dramatically increas[ing] the probability of price

spikes and ‘load-shedding’” on the Texas electric power grid. Order at 22-23, Doc. 269-

1, State of Texas v. EPA, No. 23-60069 (5th Cir. May 1, 2023) (“Texas 2023”). This Court

further concluded that Texas Industry Petitioners “[made] a strong showing that the

EPA acted unlawfully” in taking that action “by considering factors listed nowhere in

the [statute],” among other reasons. Id. at 14. Oral argument will assist the Court in

final resolution of these important issues.




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Memorandum from Peter Tsirigotis, Director, Office of Air Quality
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    Texas; Interstate Transport of Air Pollution for the 2015 Eight-Hour Ozone
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    0028 (Apr. 25, 2022) (“TCEQ Comments”) (C.I. R6-28) ................................... 22

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                                  GLOSSARY
CAA or the Act    Clean Air Act

DV                Design value

EPA               United States Environmental Protection Agency

ERCOT             Electric Reliability Council of Texas

FIP               Federal Implementation Plan

MW                Megawatts

NAAQS             National Ambient Air Quality Standards

NOX               Nitrogen Oxides

O3                Ozone

ppb               Parts per billion

RRF               Relative Response Factor

SIP               State Implementation Plan

TCEQ              Texas Commission on Environmental Quality

Texas Industry    Association of Electric Companies of Texas, BCCA Appeal
Petitioners       Group, Texas Chemical Council, Texas Oil & Gas Association,
                  Luminant Generation Company LLC, Coleto Creek Power,
                  LLC, Ennis Power Company, LLC, Hays Energy, LLC,
                  Midlothian Energy, LLC, Oak Grove Management Company
                  LLC, Wise County Power Company, LLC, Texas Lehigh
                  Cement Company, LP




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                         JURISDICTIONAL STATEMENT
       This Court has jurisdiction to review the U.S. Environmental Protection Agency’s

(“EPA”) disapproval of Texas’s State Implementation Plan (“SIP”) pursuant to 42

U.S.C. §7607(b)(1). Texas Industry Petitioners timely filed their petitions for review of

EPA’s disapproval action in this Court within 60 days of publication of EPA’s action.

Docs. 3-1, 5-1, 221-1.

       For the reasons stated in the Court’s Order dated May 1, 2023, this Court is the

correct venue. See Order at 6-13, Doc. 269-1, State of Texas v. EPA, No. 23-60069 (5th

Cir. May 1, 2023) (“Texas 2023”).

                          STATEMENT OF THE ISSUES
I.      Whether EPA’s disapproval of Texas’s SIP was unlawful because EPA failed to
        apply the cooperative federalism framework in the Clean Air Act, which limits
        EPA to a secondary role in the SIP approval process and requires EPA to defer
        to a State’s preferred approach for complying with the Act?

II.     Whether EPA’s disapproval of Texas’s SIP was contrary to law because it was
        based on non-statutory factors, including EPA’s “4-step framework,” its
        preferred approach to “maintenance” monitors, and its one-percent threshold
        from its prior federal implementation plans (“FIPs”)?

III.    Whether EPA’s disapproval of Texas’s SIP was arbitrary and capricious because
        it was not supported by substantial evidence and treated Texas differently than
        other similarly-situated States?

                           STATEMENT OF THE CASE
        Texas Industry Petitioners challenge EPA’s action disapproving the State of

Texas’s Clean Air Act SIP that demonstrates the State’s compliance with respect to the

interstate transport of emissions under the 2015 National Ambient Air Quality


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Standards (“NAAQS”) for ozone. See 88 Fed. Reg. 9,336, 9,359-60 (Feb. 13, 2023). As

this Court found in granting Texas Petitioners’ motions to stay, EPA’s disapproval of

Texas’s SIP is the trigger for a federal implementation plan drafted by EPA that would

“impose [EPA’s] preferred system of emissions controls and reductions on [Texas and

Texas industry].” Texas 2023 at 22. EPA’s plan, in turn, would force Texas industry

“to spend billions of dollars in compliance costs” and “dramatically increase the

probability of price spikes and ‘load-shedding’” on the Texas electric power grid. Id. at

22-23.

I.       Statutory and Regulatory Background
         The Clean Air Act “establishes a comprehensive program for controlling and

improving the nation’s air quality through state and federal regulation.” BCCA Appeal

Grp. v. EPA, 355 F.3d 817, 821-22 (5th Cir. 2003). Congress chose a “cooperative

federalism” structure to implement the statute, dividing authority between the federal

government and the States. Fla. Power & Light Co. v. Costle, 650 F.2d 579, 581 (5th Cir.

Unit B June 1981) (“Congress chose a balanced scheme of state-federal interaction to

implement the goals of the [Clean Air] Act.”). Within this framework, “air pollution

prevention . . . is the primary responsibility of States and local governments.” 42 U.S.C.

§7401(a)(3). “The structure of the Clean Air Act,” this Court has explained, “indicates

a congressional preference that [S]tates, not EPA, drive the regulatory process.” Texas

v. EPA, 829 F.3d 405, 411 (5th Cir. 2016) (“Texas 2016”).




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       For its part, EPA’s job is to set the level of the NAAQS for certain pollutants,

including ozone.1 See 42 U.S.C. §7409(a)-(b). After EPA sets the level, States develop

SIPs to implement and enforce the new NAAQS and demonstrate compliance “with

the Act’s requirements.” EPA v. EME Homer City Generation, L.P., 572 U.S. 489, 507

(2014) (“EME Homer”). A State may do so “by demonstrating that the [S]tate’s

[existing] SIP already contains or sufficiently addresses the necessary provisions, or by

making a substantive SIP revision to update the plan provisions to meet the new

standards.” EPA March 2018 Transport Guidance (C.I. HQ-32) at 2 (emphases added).

The statute affords “each state ‘wide discretion in formulating its plan’ for achieving

the air quality standards set by EPA.” Texas 2016, 829 F.3d at 411 (quoting Union Elec.

Co. v. EPA, 427 U.S. 246, 250 (1976)).

       EPA’s role in reviewing SIPs is narrow and limited.              “With regard to

implementation, the Act confines the EPA to the ministerial function of reviewing

[State plans] for consistency with the Act’s requirements.” Luminant Generation Co., LLC v.

EPA, 675 F.3d 917, 921 (5th Cir. 2012) (“Luminant 2012”) (emphasis added) (citing 42


1
  Ground-level ozone (O3) is not emitted directly by human activities but is formed
when nitrogen oxides (NOX) and volatile organic compounds (VOCs) react in the
atmosphere with sunlight. See Texas v. EPA, 983 F.3d 826, 830 (5th Cir. 2020) (“Texas
2020”). “Because states cannot regulate sunlight, ozone regulation focuses on” the
regulation of NOX and VOC emissions as ozone precursors. Id.
2
  This brief cites to items in the administrative record compiled by EPA using the
location identifier and last four digits of the Document ID (minus leading zeros) in
EPA’s certified list filed on April 13, 2023. Thus, Document ID EPA-HQ-OAR-2021-
0663-0003 is cited as “C.I. HQ-3.”

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U.S.C. §7410(k)(3)). In reviewing a State’s plan, EPA does not have the authority to

substitute its own judgment for that of the State, and it cannot disapprove a State plan

for failing to conform with requirements beyond those expressly set out in the Act.

Texas 2016, 829 F.3d at 426-27. “Thus, if a SIP or a revised SIP meets the statutory

criteria of the CAA, then the EPA must approve it.” Texas v. EPA, 690 F.3d 670, 676

(5th Cir. 2012) (“Texas 2012”) (emphasis added). Only if the SIP does not meet a

statutory requirement may EPA disapprove it and then “devise and promulgate a

specific plan of its own”—called a federal implementation plan or “FIP.”3 Train v. Nat.

Res. Def. Council, Inc., 421 U.S. 60, 79 (1975). Thus, a SIP is drafted by the State, and a

FIP is drafted by EPA if a State fails to meet its statutory obligation.

       The statutory provision at issue here is the “interstate transport” provision of the

Act. 42 U.S.C. §7410(a)(2)(D)(i). This provision contains four “prongs” that States

must address in their SIPs—1) “significant contribution”; 2) “interference with

maintenance”; 3) “prevention of significant deterioration”; and 4) “protection of

visibility.” See Page Memo at 30-35 (listing the four prongs of the “interstate pollution

transport” provision, 42 U.S.C. §7410(a)(2)(D)(i)); see also EPA Infrastructure SIP

Guidance (listing the four “Interstate transport” prongs of 42 U.S.C. §7410(a)(2)(D)(i)).


3
  Specifically, a FIP is “a plan (or portion thereof) promulgated by the Administrator to
fill all or a portion of a gap or otherwise correct all or a portion of an inadequacy in a
[SIP].” 42 U.S.C. §7602(y). EPA “shall promulgate a [FIP] at any time within 2 years
after” it “disapproves a [SIP] submission in whole or in part.” Id. §7410(c)(1)(A)-(B)
(emphasis added).

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      EPA’s action at issue here disapproved the prong 1 and prong 2 portions of

Texas’s SIP. Prongs 1 and 2, which are often referred to as the “good neighbor” prongs,

provide:

      Each such [state implementation] plan shall—

               (D) contain adequate provisions—

                     (i) prohibiting, consistent with the provisions of this
                     subchapter, any source or other type of emissions activity
                     within the State from emitting any air pollutant in amounts
                     which will—

                           (I) contribute significantly to nonattainment in, or
                           interfere with maintenance by, any other State with
                           respect to any such national primary or secondary
                           ambient air quality standard[.]

42 U.S.C. §7410(a)(2)(D). Key here, neither the statute nor any EPA regulation defines

“contribute significantly to nonattainment in” or “interfere with maintenance by” any

other State.

II.   Factual Background
      A.       Texas’s Interstate Transport SIP for the 2008 Ozone NAAQS

      This is not the first case in this Court about the State of Texas’s implementation

of the Act’s interstate transport requirements under an ozone NAAQS. In 2008, EPA

revised the ozone NAAQS downward from 80 ppb to 75 ppb. 73 Fed. Reg. 16,436

(Mar. 27, 2008). In 2012, Texas revised its SIP to address interstate transport under the

2008 NAAQS. See TCEQ 2008 Ozone SIP. EPA’s actions on Texas’s SIP were

published in three Federal Register notices: 81 Fed. Reg. 296, 302 (Jan. 5, 2016)

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(disapproval as to prong 4); 81 Fed. Reg. 53,284 (Aug. 12, 2016) (disapproval as to

prongs 1 and 2); 81 Fed. Reg. 62,375 (Sept. 9, 2016) (approval as to prong 3).

      EPA’s actions generated three cases in this Court, two of which remain pending.

In one (prongs 1 and 2, No. 16-60670), EPA raised no objection to venue, and the case

is being held in abeyance awaiting EPA’s action on Texas’s interstate-transport SIP for

the 2015 NAAQS (the subject of this case). See Texas v. EPA, No. 16-60670, Docs. 97,

104-2. In another (prong 3, No. 16-60755) Sierra Club asserted that “[j]urisdiction and

venue for this petition are proper in this Court under 42 U.S.C. § 7607(b)[.]” Pet. for

Review, 2, Sierra Club v. EPA, No. 16-60755 (5th Cir. Nov. 7, 2016). In the third (prong

4, No. 16-60118, consolidated), the Court denied EPA’s motion to transfer the petitions

to the D.C. Circuit and granted petitioners’ motion to stay the rule. Texas 2016, 829

F.3d at 411, 435-36. That case remains pending.

      B.     The 2015 Ozone NAAQS

      In 2015, EPA lowered the ozone NAAQS again, down to 70 ppb, 80 Fed. Reg.

65,292 (Oct. 26, 2015), triggering a deadline of October 1, 2018, for States to submit

their SIPs. 42 U.S.C. §7410(a)(1). EPA subsequently conducted notice-and-comment

rulemaking to promulgate regulations containing “state implementation plan (SIP)

requirements for the 2015 ozone NAAQS[.]” 83 Fed. Reg. 62,998, 62,998 (Dec. 6,

2018); 83 Fed. Reg. 10,376 (Mar. 9, 2018) (codified at 40 C.F.R. §§51.1300–51.1318).

Those regulations did not include requirements for SIPs related to the “good neighbor”

prongs of the interstate transport provision.

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      Instead, EPA issued a series of guidance documents on those prongs. On

January 6, 2017, EPA published a notice of available modeling data that EPA said was

“intended to help inform state efforts to address interstate transport with respect to the

2015 ozone NAAQS.” 82 Fed. Reg. 1,733, 1,735 (Jan. 6, 2017). EPA’s modeling

predicted ozone levels in 2023 at monitoring sites across the country and the

contributions to those ozone levels from other States. Id. EPA’s modeling used actual

emissions in 2011 as the “base year” and projected forward to predict 2023 ozone levels

(EPA said that 2023 was the earliest expected deadline for downwind areas to come

into attainment with the 2015 ozone NAAQS). Id.

      EPA’s January 2017 modeling notice stated that States could develop their SIPs

using a “4-step framework” that EPA had used in prior FIPs it had drafted to address

prior NAAQS for the eastern portion of the country where States had failed to develop

SIPs.4 Id. at 1,734-35. Under that 4-step framework, EPA explained, “a contribution

from an individual [upwind] state [to a monitor in a downwind state] at or above 1

percent of the NAAQS [is treated] as significant,” requiring the upwind state to

implement “reductions in ozone precursor emissions.” Id. at 1,735, 1,740 (emphasis




4
  Specifically, EPA developed its 4-step framework as part of its Cross-State Air
Pollution Rule (“CSAPR”), which was a collection of FIPs issued in 2011 to address
the 1997 ozone NAAQS. See EME Homer, 572 U.S. at 503; 87 Fed. Reg. 9,798 9,799
(Feb. 22, 2022). After several years of litigation (during which CSAPR was stayed),
EPA’s CSAPR FIP was held to be unlawful as to Texas. See EME Homer City Generation,
L.P. v. EPA, 795 F.3d 118, 129 (D.C. Cir. 2015).

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added). Accordingly, EPA’s modeling notice identified upwind States (including Texas)

with a one percent or greater modeled contribution to ozone levels at a monitor site in

a downwind State that EPA’s modeling predicted would not attain the ozone NAAQS

in 2023 (a “nonattainment” monitor) or was at risk of not attaining (a “maintenance”

monitor). Id. at 1,739-40.

      EPA’s modeling notice explained, however, that its 4-step framework and its

modeling approach were not mandatory for States to follow in their SIPs. Id. at 1,735.

EPA advised “that states may rely on this or other appropriate modeling, data or

analyses to develop approvable Good Neighbor SIPs” and “may choose to modify or

supplement these data in developing their Good Neighbor SIPs.” Id.

      Moreover, EPA explained that in certain circumstances “states have considered,

and could continue to consider, other factors [besides EPA’s one-percent contribution

threshold] to evaluate those states’ planning obligation pursuant to the Good Neighbor

provision.” Id. at 1,740 (emphasis added). For example, EPA explained that its one-

percent threshold was developed for its CSAPR FIPs “to evaluate upwind state linkages

in eastern states” “because that threshold captures a high percentage of the total

pollution transport affecting downwind receptors” in such States.5 Id. In western

States, however, EPA explained “there may be geographically specific factors to




5
 88 Fed. Reg. at 9,370 (EPA’s one-percent threshold was “originally derived” from
EPA’s CSAPR FIPs in 2011).

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consider in determining whether the 1 percent screening threshold is appropriate.” Id.

EPA cited its prior approval of Arizona’s SIP for the 2008 ozone NAAQS, id. at 1,740

n.17, where EPA had “considered the total weight of all the evidence taken together to

evaluate whether Arizona significantly contributes to nonattainment or interferes with

maintenance of the 2008 ozone NAAQS in [downwind] areas.” 81 Fed. Reg. 15,200,

15,203 (Mar. 22, 2016).

       EPA issued further guidance in March 2018 to assist States in developing their

interstate transport SIP revisions for the 2015 ozone NAAQS. As in the January 2017

modeling notice, EPA explained that States could use the “four-step transport

framework” that EPA had used in FIPs for previous NAAQS “using EPA’s analytical

approach or somewhat different analytical approaches within these steps” “or alternative

frameworks.” EPA March 2018 Transport Guidance (C.I. HQ-3) at 3 (emphases added).

EPA further explained that States “may consider” using EPA’s modeling results in the

development of their SIPs; “may supplement the information provided in this

memorandum with any additional information that they believe is relevant to addressing

the good neighbor provision requirements”; and “may also choose to use other information to

identify nonattainment and maintenance receptors relevant to development of their

good neighbor SIPs.” Id. at 6 (emphases added). Finally, EPA’s memorandum

“recommend[ed] that states reach out to EPA Regional offices and work together to

accomplish the goal of developing, submitting, and reviewing approvable SIPs.” Id.

(emphasis added).

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      C.     Texas’s Interstate Transport SIP for the 2015 Ozone NAAQS

      On August 8, 2018, TCEQ adopted its SIP to address all four prongs of the

interstate transport requirement for the 2015 ozone NAAQS and timely submitted it to

EPA on August 17, 2018. See 87 Fed. Reg. at 9,824. Based on its review and analysis

of multiple factors, including emission trends and relative contributions, TCEQ

demonstrated that the existing emission limitations in the Texas SIP prohibited

emissions from Texas sources from contributing significantly to nonattainment in, or

interfering with maintenance by, any other State with respect to the 2015 ozone

NAAQS. See Texas SIP (C.I. R6-6) at 7-1.

      As TCEQ documented in its SIP, from 2005 through 2014, “overall

anthropogenic [man-made] ozone precursor emissions in Texas . . . declined

substantially.” Id. at 2-5. “NOX emissions decreased 35%” as “the result of regulations

implemented at the federal, state, and local levels.” Id. In particular, “regulations [in

the existing Texas SIP] have significantly reduced overall ozone precursor emissions at

both major and minor (point and area) industrial, commercial, and institutional

sources.” Id. Figure 2-3 from Texas’s SIP (at 2-6) illustrates these reductions.




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      Texas Statewide Historic NOX Emissions Trends in Tons Per Year




      To demonstrate that these reductions, along with on-the-books future

reductions, satisfied the interstate transport provision, TCEQ’s plan included

nationwide photochemical modeling and analysis of the impact of Texas emissions on

ozone concentrations in downwind States. 87 Fed. Reg. at 9,825. TCEQ used the same

model as EPA had in its 2017 modeling—the Comprehensive Air Quality Model with

Extensions (CAMx)—with some adjustments to the model’s inputs (such as

meteorology and base year) to account for regional and local emission patterns. Texas

SIP (C.I. R6-6) at 3-4. TCEQ’s demonstration of compliance with the NAAQS “us[ed]

a framework similar to EPA’s 4-Step framework [for FIPs],” 87 Fed. Reg. at 9,824, but

“with several key improvements,” Texas SIP (C.I. R6-6) at 3-1.



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       First, using CAMx modeling, TCEQ identified monitors in other States that

were projected in 2023 either to be in nonattainment (“nonattainment monitors”) or

have maintenance issues (“maintenance monitors”), whether or not they were impacted

by Texas emissions. TCEQ’s modeling used more recent data than EPA’s modeling

from its January 2017 notice. For example, TCEQ used 2012 as the base year, instead

of 2011, in part because “2011 was a meteorologically anomalous year for Texas and

surrounding states as it was the hottest year on record and the single-worst drought year

recorded in Texas since 1895.” Id. at 3-6.

       From its modeling results, TCEQ identified out-of-state monitors projected to

be in nonattainment in 2023 using the average of the regulatory design values for the

three consecutive years containing its modeling base year (i.e., the average of the design

value for 2010-2012, 2011-2013, and 2012-2014).6 Id. at 3-37 – 3-38. To identify

monitors where Texas emissions may “interfere with maintenance,” TCEQ used the

most recent three-year design value as the starting point (i.e., the 2012-2014 period). Id. at

3-39. TCEQ found that the most recent data “reflect[s] the current state of ozone

concentrations . . . and the impact of any maintenance plans [by downwind States] that




6
  The level of the ozone NAAQS is stated as a “design value,” which is “a statistic that
is used to compare air quality data to the NAAQS.” Texas SIP (C.I. R6-6) at 2-2. For
the 2015 ozone NAAQS, the regulatory design value is “the three-year average of the
fourth-highest daily-maximum eight-hour averaged ozone” from each year. Id. If that
calculated value is 70.9 ppb (or less), the monitor is considered to be in attainment; if it
is 71.0 (or higher), it is considered to be in nonattainment. See id. at 3-47.

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are in place to prevent local emissions from causing an area to slip back into

nonattainment.” Id. at 3-42. Any downwind monitor with a modeled value of 71 ppb

or greater under either approach was identified by TCEQ as a nonattainment and/or

maintenance monitor requiring further review. Id. at 3-47 – 3-48.

      Second, from among those downwind monitors, TCEQ identified the ones

potentially linked to Texas emissions using the default contribution threshold

recommended in EPA’s guidance—one percent of the NAAQS or 0.7 ppb. Id. at 3-2.

If TCEQ’s modeling predicted a Texas contribution at or above 0.7 ppb, the monitor

was identified for further review. Id. at 3-3. In total, TCEQ identified sixteen monitors

in three States (Arizona, California, and Colorado) for further review. Id. at 3-47 – 3-

48.

      TCEQ’s modeling included the same downwind monitors that EPA had

identified in its January 2017 modeling notice as linked to Texas (among others). The

table below, reproduced from Texas’s SIP (at 3-49), compares EPA’s modeling results

(using 2011 data as the starting point) to TCEQ’s modeling results (using updated 2012

data) at the six downwind monitors that EPA identified as linked to Texas in its January

2017 modeling notice.




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   Comparison of EPA and Texas Modeling at Monitors Linked to Texas in
                       EPA’s January 2017 Notice

                                         EPA           EPA         TCEQ         TCEQ
                                       Modeled      Modeled        Modeled     Modeled
 Monitor ID      State      County     Design        Texas         Design       Texas
                                        Value      Contribution     Value     Contribution
                                        (ppb)         (ppb)         (ppb)        (ppb)
  260050003     Michigan    Allegan     68.8           2.49           71          0.59
  551170006    Wisconsin   Sheboygan    71.0           1.92           70          0.73
  240251001    Maryland     Harford     71.3           0.91           65          0.69
  360850067    New York    Richmond     71.2           0.77           62          0.67
  361030002    New York     Suffolk     71.3           0.71           67          0.63
  80590011     Colorado    Jefferson    69.7           1.03           71          1.26

As the table shows, at five of the six monitors identified by EPA, TCEQ’s updated

modeling showed that the downwind monitor was in compliance with the NAAQS (for

example, Sheboygan, Wisconsin, which is below 71 ppb) and/or Texas’s contribution

was below one percent of the NAAQS (for example, Allegan, Michigan, which is below

0.7 ppb). Id. at 3-49.

       Third, TCEQ conducted a multi-factor weight-of-evidence analysis to

determine whether Texas emissions significantly contribute to nonattainment or

interfere with maintenance at the identified monitors. Id. at 3-50. As a conservative

measure, TCEQ used a one-percent linkage to identify monitors for its weight-of-

evidence analysis, even though such a threshold was overly-inclusive of monitors in

western States with significantly lower collective interstate contribution than eastern

States. Id. at 3-50 & 3-60. The monitors identified by TCEQ included the Jefferson,


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Colorado monitor identified by both EPA’s and TCEQ’s modeling, as well as others in

Colorado, California, and Arizona that EPA’s outdated modeling had not identified. Id.

at 3-47 – 3-48. TCEQ considered whether there was a “persistent and consistent

pattern of contribution” from Texas emissions to the identified downwind monitors

using a variety of technical analyses. Id. at 3-50.

       Consistent with EPA’s January 2017 notice and March 2018 guidance (and

EPA’s prior actions with respect to downwind monitors in western States), TCEQ’s

weight-of-evidence analysis considered “factors relevant to the ozone conditions at the

[downwind] monitors” to determine if “Texas emissions significantly contribute to

nonattainment or interfere with maintenance.” Id. These included design value trends,

the responsiveness of ozone levels at the downwind monitors to Texas emissions, back

trajectory analyses on high ozone days, and the collective interstate contribution to the

modeled designed values. Id. at 7-1.

       For example, TCEQ used a tool within the CAMx model to examine the

responsiveness of ozone formation at the monitor to changes in Texas NO X emissions

as compared to changes in other NOX emissions (such as in-State NOX emissions). In

other words, TCEQ examined whether reducing Texas NOX emissions would have any

meaningful impact at the downwind monitor. As the graph below shows (from the

Texas SIP (C.I. R6-6) at 3-65), at the Jefferson County, Colorado monitor (ID

80590011), changes in ozone concentrations at the monitor (green line) track changes



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in NOX emissions from Colorado (purple line) and other sources (orange line), but not

changes in Texas NOX emissions (blue line).

            Responsiveness of Ozone at Jefferson County, Colorado,
                       to Changes in NOX Emissions




      TCEQ also conducted “back trajectory analyses” on days of elevated ozone at

the downwind monitors to “look for probable cases where pollution from Texas was

transported to [the downwind monitors]” on those days. Id. at 3-70 – 3-74. These

analyses were conducted using the National Oceanic and Atmospheric Administration’s

(“NOAA”) HYSPLIT model. 87 Fed. Reg. at 9,832. As EPA has explained: the

HYSPLIT model is used to “estimate the most likely route of an air parcel transported

from a particular location at a specified time. The method essentially follows a parcel

of air backward in hourly steps for a specified length of time.” Region 6 Texas TSD

(C.I. R6-2) at 83. The graphic below (from the Texas SIP (C.I. R6-6) at 3-73) shows

the back trajectories from the California monitors on elevated ozone days in 2012-2016.




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         HYSPLIT Back Trajectory Endpoints for California Monitors




TCEQ’s analysis thus showed that very few back trajectories from the California

monitors originate in Texas. Texas SIP (C.I. R6-6) at 3-72. Specifically, “[o]ut of the

1,660 back trajectories” evaluated from 2012-2016 “only 10 back trajectories” reach

Texas. Id. Further, of the ten that reach Texas, only two of them (purple dots) “are

located within the mixing layer over Texas,” and thus TCEQ did not “find a clear case

where emissions in Texas could affect the ozone in California.” Id. at 3-72 – 3-73.

Based on these results, TCEQ concluded that “emissions from Texas are very unlikely




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to affect ozone concentrations in the mixing layer over Los Angeles on high ozone

days.” Id. at 3-73.

     TCEQ also evaluated the “collective interstate contribution” of emissions from

all upwind States (not just Texas) to the modeled ozone values at the downwind

monitors, as EPA had done in its prior actions for western State monitors. Consistent

with EPA’s guidance, TCEQ found that the collective contribution from all out-of-

State emissions ranged from 9.32% to 10.27% at the Colorado monitors and from

3.20% to 4.58% at the California monitors, which TCEQ found to be “a small

percentage and not as high as the collective interstate contribution percentages the EPA

calculated for monitors in Eastern States [in CSAPR], which ranged from 17% to 67%.”

Id. at 3-60, 3-75. Thus, unlike in eastern States, where a substantial portion of ozone

precursors originate from out-of-state, in Colorado and California, ozone conditions

are dominated by in-State or background emissions. Id.

       Based on an assessment of these factors at the downwind monitors, TCEQ

concluded that Texas emissions do not contribute significantly to nonattainment or

interfere with maintenance by any other State with respect to the 2015 ozone NAAQS

and thus the existing emission reduction requirements in the Texas SIP were sufficient

to demonstrate compliance with prongs 1 and 2 of the Act’s interstate transport

provision. Id. at 7-1.




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      D.     EPA Region 6’s Determinations Regarding Texas’s SIP

      On February 22, 2022—three-and-a-half years after TCEQ submitted its SIP and

after EPA’s statutory deadline to act on the SIP—EPA’s Region 6 proposed to

disapprove Texas’s SIP as to prongs 1 and 2 of the interstate transport provision. See

87 Fed. Reg. at 9,798.7 Region 6’s determinations that formed the basis for the

disapproval were set out in a Texas-only Technical Support Document prepared by the

Region 6 Lead Modeler. See Region 6 Texas TSD (C.I. R6-2).

      Region 6’s proposed disapproval used EPA’s “4-Step interstate framework (or

4-Step framework)” from its prior CSAPR FIPs “to evaluate [Texas’s] SIP submittal[]

addressing the interstate transport provision for the 2015 ozone NAAQS.” 87 Fed.

Reg. at 9,799. The Region asserted that for Texas to “deviat[e] from” EPA’s CSAPR

4-step framework, it “must be substantially justified” to EPA. Id. at 9,801. Ultimately,

based on differences between TCEQ’s approach and EPA’s 4-step framework, Region

6 concluded that Texas’s plan “does not meet the State’s interstate transport

obligations” and must be disapproved. Id. at 9,834.

      First, Region 6 determined that TCEQ “used a different methodology than the

EPA to identify monitors projected to be maintenance receptors,” id. at 9,825, which

the Region asserted was “less likely to successfully identify maintenance receptors than




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  EPA deferred action on Texas’s SIP as to prongs 3 and 4 and, to date, has not
proposed to approve or disapprove those aspects of Texas’s SIP.

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the EPA method,” which used the maximum three-year design value from prior years

(i.e., 2009-2011, 2010-2012, or 2011-2013, whichever was highest). Region 6 Texas TSD

(C.I. R6-2) at 11. The Region found that data “tend to suggest that the three years that

comprise the 2014 design values (i.e., 2012, 2013, and 2014) used in TCEQ’s analysis

may not have had meteorological conditions particularly conducive for formation of high

ozone concentrations,” “at least for many receptors.” Id. at 9 (emphasis added). This

determination formed the basis for Region 6’s proposed disapproval. 87 Fed. Reg. at

9,826-29.

      Second, Region 6 proposed to disapprove Texas’s SIP based on its Lead

Modeler’s determination that “TCEQ’s modeling underestimates future ozone levels”

in 2023. Id. at 9,829; Region 6 Texas TSD (C.I. R6-2) at 38-41. Region 6 found no

“clear cause” of any underestimation or error in TCEQ’s modeling. 87 Fed. Reg. at

9,830. Instead, to support this assertion, the Region’s Lead Modeler compared Texas’s

CAMx modeling results for the year 2023, not to EPA’s modeling results, but to a

“ballpark estimate” of future ozone conditions in 2023. Region 6 Texas TSD (C.I. R6-

2) at 40. The Lead Modeler explained that this “ballpark estimate” of 2023 ozone levels

was “not as exact as developing new modeling”; “not usable in any other CAA action”;

and not “a defensible basis on which to reach any conclusions regarding future air quality

conditions,” but nevertheless would be used “to evaluate whether TCEQ’s modeling

might be underestimating 2023 future [ozone levels].” Id. at 40 & n.23 (emphases added).

Based on this analysis, the Lead Modeler determined that “TCEQ’s modeling is

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potentially underestimating future [ozone levels],” id. at 45 (emphasis added), and the

Region concluded that this determination required disapproval of Texas’s SIP, 87 Fed.

Reg. at 9,829.

      Third, Region 6 determined that TCEQ’s multi-factor weight-of-evidence

analysis was not sufficiently “compelling” to “counter” “EPA’s [one-percent]

contribution methodology” from EPA’s CSAPR FIPs for determining “whether its

contributions were significant.” Id. at 9,833-34; Region 6 Texas TSD (C.I. R6-2) at 78.

Specifically, the Region’s Lead Modeler found that “these additional factors [assessed

by TCEQ] can be informative to supplement an air quality modeling-based analysis of

some of the complexities of ozone formation in downwind areas,” but that “[c]hemical

transport modeling is the most technically credible tool available to project future year

ozone levels.” Region 6 Texas TSD (C.I. R6-2) at 77. The Region determined that

“TCEQ’s Other factors/[weight-of-evidence] analysis does not provide sufficiently

compelling technically supported information to counter the conclusions from

photochemical modeling in terms of [one-percent] linkages from Texas to downwind

receptors.” Id. at 100.

      Finally, Region 6 relied on “newly available” modeling results—not previously

released by EPA or provided to the States—to justify its disapproval of Texas’s SIP.

87 Fed. Reg. at 9,800. EPA dubbed its new modeling the “2016v2 modeling.”8 EPA’s


8
 EPA’s new “2016v2” modeling used 2016 (instead of 2011) as the base year, and it
was “version 2” of modeling that EPA had released in October 2020 as part of a FIP

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new 2016v2 modeling showed that all of the downwind areas identified in EPA’s

January 2017 modeling notice and in TCEQ’s SIP modeling had been resolved—i.e.,

based on the new modeling, all of the downwind monitors of concern either were

modeled in attainment or Texas’s contribution was below one percent. Compare 87 Fed.

Reg. at 9,826 (Table TX-2), with id. at 9,831 (Table TX-4). Nevertheless, the new

modeling purported to show new Texas “linkages” above one percent at three monitors

in Wisconsin and four monitors in Illinois—none of which had been identified as

nonattainment or maintenance monitors in either EPA’s January 2017 modeling or

TCEQ’s SIP modeling. Id. at 9,831 (Table TX-4); see also TCEQ Comments (C.I. R6-

28) at 7.

       Region 6 “recognize[d] that the results of the EPA (2011 and 2016 base year)

and TCEQ (2012 base year) modeling indicated different receptors and linkages.” 87

Fed. Reg. at 9,831. Nevertheless, Region 6 claimed that “the differing results” do not

mean that EPA’s modeling “is inherently unreliable.” Id. Instead, Region 6 claimed

that the “differing results” are “further evidence” that Texas “is required to proceed to

Step 3 [of EPA’s framework]” to impose further emission reductions for sources in the

State. Id. (emphasis added). Because, Region 6 reasoned, Texas was linked above one




for a different NAAQS—two years after Texas’s SIP submission and six months after
EPA’s deadline to act on Texas’s submission. 87 Fed. Reg. at 9,800; see also 88 Fed.
Reg. at 9,366 (2016v2 modeling was part of “Revised CSAPR Update,” a FIP action
addressing the 2008 ozone NAAQS).

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percent “to some set of downwind receptors”—regardless of location, the total upwind

contribution, or the unique conditions at those monitors—Region 6 concluded that

Texas “has an obligation to assess potential emissions reductions from sources or other

emissions activity at Step 3 of [EPA’s CSAPR] 4-step framework.” Id. at 9,831, 9,834.

      E.     EPA’s Final Disapproval

      On February 13, 2023, EPA published its final disapproval of Texas’s SIP. 88

Fed. Reg. at 9,359-60. EPA’s Texas disapproval was published in a consolidated notice

that included full or partial disapprovals of twenty other States’ SIPs, which explained

that each was judged “in light of the facts and circumstances of each particular state’s

submission” and that “the contents of each individual state’s submission were evaluated

on their own merits.” Id. at 9,337, 9,340, 9,354.

      As in the proposal, EPA asserted that “deviation from [the CSAPR 4-step]

approach to ozone transport must be substantially justified and have a well-documented

technical basis.” Id. at 9,340 (emphasis added). With respect to its prior guidance that

had advised States that they could use “alternative frameworks,” EPA said that it now

found “problematic” and “outdated” certain aspects of that guidance, id. at 9,342, 9,373,

but it was not “formally rescinding” the guidance because “it [was] not required” to do

so, id. at 9,368, 9,373. EPA further asserted that “EPA had no obligation to issue

further guidance, define obligations, or otherwise clarify or attempt to interpret states’

responsibilities since the issuance of the 2018 memoranda” before it could disapprove



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State submissions based on EPA’s 4-step framework and EPA’s “additional modeling.”

Id. at 9,364; RTC (C.I. HQ-83) at 434 (same).

      EPA’s disapproval further stated that the agency “does not . . . agree [that] the

EPA’s role in the state-Federal relationship [is] ‘secondary’ such that the EPA must

defer to state choices.” 88 Fed. Reg. at 9,367. Instead, EPA concluded that “its role

could be considered ‘secondary’” only in the sense that “it occurs ‘second’ in time, after

the states submit SIP submissions.” RTC (C.I. HQ-83) at 425. And EPA further

asserted that deference to a State’s determinations in its SIP was not warranted “in the

context of addressing interstate pollution” under the interstate transport provision. 88

Fed. Reg. at 9,367. As support, EPA cited the Supreme Court’s decision in EPA v.

EME Homer City Generation, L.P., 572 U.S. 489 (2014), which involved challenges to

EPA’s CSAPR FIPs, which EPA asserted was “directly applicable” to EPA’s review of

Texas’s SIP and “affirms the critical role” of EPA in “implementing the good neighbor

provision.” RTC (C.I. HQ-83) at 426-27 (emphasis added).

      With this understanding (88 Fed. Reg. at 9,354), EPA concluded that Texas’s

“use of its own definition of maintenance receptors and modeling” was “inadequately

justified and legally and technically flawed.” Id. at 9,359-60. EPA asserted that it “is

not required by the CAA to promulgate regulations governing the good neighbor

analysis” before it may disapprove a State’s SIP based on non-statutory metrics. RTC

(C.I. HQ-83) at 431. EPA further contended that it “is well within its authority to

‘second-guess’ TCEQ’s modeling” and to instead “use[] its own modeling to inform its

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assessment of the [Texas] SIP.” Id. at 430-31. To support the final disapproval, EPA

adopted wholesale the determinations by Region 6 in its Texas TSD. 88 Fed. Reg. at

9,359-60.

       EPA’s final disapproval cites yet another new set of modeling results—which EPA

dubbed “2016v3”—that also had not previously been provided for review. For the first

time in any of the various modeling that had been conducted to date, EPA’s new 2016v3

modeling “linked” Texas to four monitors in New Mexico. See Final Air Quality

Modeling TSD (C.I. HQ-85) at C-3. EPA’s new 2016v3 modeling also provided the

“collective upwind contribution” at the monitors of concern, including the Colorado

monitors evaluated by TCEQ in its SIP. For example, in EPA’s new modeling, the

collective upwind contribution from all States at the Jefferson, Colorado monitor (ID

80590011) had fallen to 6.7% (down from the 10.27% determined by TCEQ). See id.

at D-2 (Table D-1).

III.   Procedural History in this Court
       On February 13, 2023—the day that EPA’s final disapproval was published in

the Federal Register—the Association of Electric Companies of Texas, BCCA Appeal

Group, Texas Chemical Council, Texas Oil & Gas Association, Luminant Generation

Company LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays Energy,

LLC, Midlothian Energy, LLC, Oak Grove Management Company LLC, and Wise

County Power Company, LLC filed their petitions for review in this Court. Docs. 3-1

& 5-1. The State of Texas and the Texas Commission on Environmental Quality filed

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their petition that same day.      Doc. 1-1.     On March 8, 2023, the Public Utility

Commission of Texas and Railroad Commission of Texas filed their petition. Doc. 44-

1. Texas Lehigh Cement Company, LP, filed its petition on April 13, 2023. Doc. 221-

1. All of these petitions sought review of EPA’s disapproval of Texas’s SIP.

         Petitioners from the State of Louisiana and the State of Mississippi also filed

petitions for review of EPA’s disapproval of their respective SIP. Docs. 52-1, 58-1, 63-

1. These petitions were docketed under the same case number as the Texas petitions.

         On March 3, 2023, Texas Industry Petitioners9 and the State of Texas and TCEQ

filed motions to stay EPA’s disapproval of Texas’s SIP pending judicial review. Docs.

31-1, 32-1. On March 15, 2023, EPA filed a motion to transfer the petitions to the

D.C. Circuit or to dismiss based on improper venue. Doc. 50-1. On March 27, the

Louisiana Petitioners filed a motion to stay EPA’s disapproval of Louisiana’s SIP. Doc.

112-1.

         On May 1, 2023, this Court denied EPA’s motion to transfer or dismiss and

granted the Petitioners’ motions to stay. In a per curiam opinion, Judges Engelhardt

and Wilson held that EPA’s disapproval of Texas’s SIP was “locally or regionally

applicable” under the Clean Air Act’s venue provision, 42 U.S.C. §7607(b)(1), and thus

venue was proper in this Court. Texas 2023 at 9-11. The Court further concluded that




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 Petitioner Texas Lehigh Cement Company LP was not a party at the time the motion
to stay was filed.

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the “exception” to the “default presumption” of regional circuit review for EPA actions

that are “based on a determination of nationwide scope or effect,” 42 U.S.C.

§7607(b)(1), did not apply here because EPA’s disapproval was “based ‘on a number of

intensely factual determinations’ unique to each State.” Texas 2023 at 11 (quoting Texas

2016, 829 F.3d at 421).10

      In granting the motion to stay EPA’s disapproval of Texas’s SIP, the Court held

that Petitioners “satisf[ied] their burden” of showing a likelihood of success on the

merits “in two ways”:

      They (1) make a strong showing that the EPA acted unlawfully by
      considering factors listed nowhere in the CAA. And they (2) are likely to
      prevail on the claim that the EPA arbitrarily and capriciously based its
      Final SIP Denial in part on information available only after Texas and
      Louisiana had submitted their SIPs.

Id. at 14. The Court further found that Petitioners will be irreparably harmed absent a

stay because “[t]he Final SIP Denial was the statutory prerequisite for the EPA to create

[a federal implementation plan that will] impose [EPA’s] preferred system of emissions




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  Judge Douglas filed a dissenting opinion, contending that venue is not proper in this
Court. Texas 2023 at 25. Because Judge Douglas “determined venue to be improper,”
she “[found] it [not] necessary to reach Petitioners’ motions to stay.” Id. at 30.

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controls and reductions on the States” and “many regulated entities have already

commenced compliance efforts or will soon be required to do so.” Id. at 22.

                        SUMMARY OF THE ARGUMENT
      This case concerns EPA’s latest attempt to usurp the State of Texas’s authority

under the Clean Air Act’s cooperative federalism framework and force billions of

dollars of unnecessary costs on Texas’s energy infrastructure. Texas spent years

developing its plan to address the Act’s interstate transport requirements for the new

2015 ozone NAAQS. Because Texas’s plan complies with the Act, EPA had one job:

approve it. EPA had other plans—a federal implementation plan for Texas filled with

EPA’s policy preferences.

      EPA’s disapproval of Texas’s SIP was unlawful for several reasons. At the

threshold, EPA applied the wrong standard of review—it believed that EPA’s choices,

not Texas’s, were entitled to primacy in the SIP-review process and that Texas was

required to substantially justify its approach to EPA, in direct contravention of this

Court’s well-established precedent. Based on this upside-down view of the law, EPA

proceeded to disapprove Texas’s SIP based on several non-statutory policy preferences—

like EPA’s 4-step framework for applying the good neighbor provision in FIPs and its

one-percent threshold for determining “significant contribution,” neither of which is

found in the statutory text or any duly-promulgated regulation. Untethered from its

secondary role in the SIP-review process, EPA committed further error by discounting

TCEQ’s modeling based, not on any actual error, but on its comparison to EPA’s

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“ballpark estimates” and rejecting TCEQ’s weighing of admittedly relevant factors for

determining “significant contribution,” contrary to EPA’s own approach in prior

actions.

       This Court’s precedent draws a clear line: “With regard to implementation, the

Act confines the EPA to the ministerial function of reviewing [State plans] for consistency

with the Act’s requirements.” Luminant 2012, 675 F.3d at 921 (emphasis added). As the

stay panel held, EPA stepped over that line here in judging Texas’s SIP against EPA’s

4-step framework and other non-statutory requirements. EPA’s actions must also be

supported by substantial evidence and rationally based, treating like cases alike—tests

that EPA likewise failed here. For each of these reasons, EPA’s disapproval of Texas’s

SIP is unlawful and should be vacated.

                             STANDARD OF REVIEW
       Under the Clean Air Act, this Court will invalidate EPA’s action if it is “not

permitted by the statute” or is “arbitrary [or] capricious[.]” Texas 2016, 829 F.3d at 425-

26; see also Luminant 2012, 675 F.3d at 925 (standard of review of Clean Air Act actions

mirrors standards under Administrative Procedure Act); 5 U.S.C. §706(2)(A), (C). The

Clean Air Act only authorizes EPA to review a SIP “for consistency with the Act’s

requirements.” Luminant 2012, 675 F.3d at 921. Thus, EPA’s disapproval of a SIP is

contrary to law, and must be vacated, where EPA relies on non-statutory requirements.

Texas 2016, 829 F.3d at 426-27.




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       EPA action “is arbitrary and capricious ‘if the agency has relied on factors which

Congress has not intended it to consider, entirely failed to consider an important aspect

of the problem, offered an explanation for its decision that runs counter to the evidence

before the agency, or is so implausible that it could not be ascribed to a difference in

view or the product of agency expertise.’” Tex. Oil & Gas Ass’n v. EPA, 161 F.3d 923,

933 (5th Cir. 1998) (quoting Motor Vehicle Mfrs. Ass’n v. State Farm, 463 U.S. 29, 43

(1983)); see also Data Mktg. P’ship, LP v. U.S. Dep’t of Labor, 45 F.4th 846, 856 (5th Cir.

2022) (this Court’s review of agency action is “not toothless”; rather, “it has serious

bite” (internal quotation marks and citations omitted)).

                                     ARGUMENT
I.     EPA’s Disapproval Is Unlawful Because EPA Failed to Apply the Clean
       Air Act’s Cooperative Federalism Framework to its Review of Texas’s SIP
       This Court’s precedent setting out the respective roles of States and EPA in the

SIP process extends back over four decades. Consistently, this Court has held that “the

Clean Air Act limits EPA to a deferential role”; that EPA must accord “deference” to

“Texas’s application of the [Act’s] statutory factors”; and that EPA acts ultra vires when

it disapproves a SIP based on requirements “not found in the Act.” Texas 2016, 829

F.3d at 428 (citing, inter alia, Florida Power & Light). In recent years, this Court has

corrected EPA’s “misapprehension” of “its authorized role in the SIP-approval

process,” noting that “EPA does not possess any ‘discretionary authority’” at the SIP




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stage and that “[o]nly the [S]tates enjoy discretion in implementing the dictates of the

CAA.” Luminant 2012, 675 F.3d at 928 n.8 (emphases added).

       EPA’s disapproval of Texas’s SIP openly contravenes these fundamental

principles, and for that reason alone it must be vacated. In disapproving Texas’s SIP,

EPA candidly states, contrary to the Supreme Court and this Court’s repeated

admonitions, that it “disagrees that it is obligated to defer to [S]tates’ choices in the

development of good neighbor SIP submissions.” 88 Fed. Reg. at 9,375; contra Texas

2016, 829 F.3d at 428 (EPA “failed to defer to Texas’s application of the [Act’s]

statutory factors” in interstate-visibility transport SIP). And EPA asserted here that its

role is “secondary” only “in time” because its review occurs chronologically after the State

makes its SIP submission, not because the State has the primary role in determining

how to substantively comply with the statutory requirements. RTC (C.I. HQ-83) at

425; 88 Fed. Reg. at 9,367-68; contra 42 U.S.C. §7401(a)(3) (“[A]ir pollution

prevention . . . and air pollution control at its source is the primary responsibility of

States and local governments.”); Train, 421 U.S. at 79 (EPA “is relegated by the Act to

a secondary role.”); Texas 2016, 829 F.3d at 411 (“The structure of the Clean Air Act

indicates a congressional preference that states, not EPA, drive the regulatory

process.”).

       EPA justifies its current legal position by asserting that the Supreme Court and

this Court’s jurisprudence that reinforces the Act’s cooperative federalism framework

is outdated and does not apply to interstate transport. See 88 Fed. Reg. at 9,367-68. It

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claims that “the Train-Virginia line of cases” “pre-date” the 1990 amendments to the

Act’s interstate transport provision such that EPA deference “to state choices” is now

“inappropriate in the context of addressing interstate pollution.” Id. But the interstate-

transport requirements are part of the same statutory provision as other State plan

requirements, see 42 U.S.C. §7410(a)(2), and there is no indication in the statutory text

or otherwise that Congress intended in 1990 (or at any other time) to upend the normal

order when States address interstate transport. This Court applies the same standard

of review to judge EPA action on Clean Air Act SIPs whether or not interstate transport

is involved. See Texas 2016, 829 F.3d at 411-12 (applying Train, Union Electric, Florida

Power & Light, and Luminant 2012 to EPA disapproval of Texas interstate-visibility

transport SIP).

      EPA further claimed here that this long-standing precedent was altered by “the

directly applicable holdings [of the Supreme Court] in EME Homer City.” RTC (C.I.

HQ-83) at 427. In EPA’s view, EME Homer gives EPA the primary role in the SIP

review process for interstate transport and holds that EPA, not the State, is “afforded

deference” “in evaluating state SIP submissions.” Id. at 426-27. Not so. EME Homer

dealt exclusively with EPA’s promulgation of federal implementation plans, not SIPs.

See EME Homer, 572 U.S. at 503. EPA’s antecedent SIP disapprovals, which had largely

gone “unchallenged,” were not even before the Supreme Court. Id. at 503 n.11, & 507

(“[The] State respondents’ challenge is not that EPA’s disapproval of any particular SIP

was erroneous.”). Thus, EME Homer does not help EPA here.

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      Quite the opposite, the Supreme Court confirmed in EME Homer that, for SIPs,

the “deference” that EPA claims for itself runs to the State, not EPA. The Supreme

Court explained that its references to “EPA’s task” in issuing FIPs should be construed

to refer to States in the SIP context because “the Good Neighbor Provision is initially

directed to upwind States.” Id. at 514 & n.15. EME Homer is thus consistent with this

Court’s precedent that, at the SIP stage, “[o]nly the [S]tates enjoy discretion in

implementing the [Act].” Luminant 2012, 675 F.3d at 928 n.8.

      EPA’s mistake of law was consequential. It caused EPA to “believe that

deviation from a nationally consistent approach to ozone transport”—i.e., EPA’s policy

preferences embodied in its 4-step CSAPR FIP framework—“must be substantially

justified ” to EPA. 88 Fed. Reg. at 9,340 (emphasis added). Such a heightened standard

is “inconsistent with the statute and jurisprudence applying it.” Texas 2023 at 16.

Nothing in the statute requires a State to “substantially justify” its choices to EPA.

Where Congress intended for a heightened standard to apply in the SIP review process,

it was explicit. For example, before EPA can require a State to revise an existing SIP

through a “SIP call,” EPA must demonstrate that the SIP is “substantially inadequate”

to “comply with any requirement of [the statute.]” 42 U.S.C. §7410(k)(5).             No

comparable hurdle exists for a State when it drafts and adopts its SIP for a new NAAQS

and submits it to EPA for approval, which is the posture here.             See 42 U.S.C.

§7410(a)(2). Had Congress intended that a State “substantially justify” its SIP to EPA,

it would have included a similar directive in Section 7410(a)(2), but it did not. See Jama

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v. Immigration & Customs Enf’t, 543 U.S. 335, 341 (2005) (“We do not lightly assume that

Congress has omitted from its adopted text requirements that it nonetheless intends to

apply, and our reluctance is even greater when Congress has shown elsewhere in the

same statute that it knows how to make such a requirement manifest.”). Not only did

Congress omit such a requirement, the statute is explicit that at the SIP-submission

stage, just like with a SIP call, the State has broad discretion and EPA’s role is limited

and narrowly-cabined. See 42 U.S.C. §7410(k)(3) (EPA “shall approve” a SIP submittal

that “meets” the statutory requirements).

       The heightened standard that EPA applied here in disapproving Texas’s SIP thus

inverts the statute’s cooperative-federalism mandate and “reflects a misapprehension

by the EPA of its authorized role in the SIP-approval process.” Luminant 2012, 675

F.3d at 928 n.8. EPA’s erroneous legal position was the cornerstone of its entire

analysis (see RTC (C.I. HQ-83) at 424-37) and alone warrants vacatur. SEC v. Chenery

Corp., 318 U.S. 80, 94 (1943) (agency action “may not stand if the agency has

misconceived the law”); Prill v. NLRB, 755 F.2d 941, 947 (D.C. Cir. 1985) (“An agency

decision cannot be sustained, however, where it is based . . . on an erroneous view of

the law.”).

II.    EPA’s Disapproval Is Unlawful Because it Is Based on Non-Statutory
       Factors
       EPA’s disapproval is also unlawful because EPA did not limit its review of

Texas’s plan “for consistency with the Act’s requirements.” Luminant 2012, 675 F.3d



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at 921.     Instead, EPA disapproved Texas’s SIP based on several non-statutory

requirements derived from EPA’s earlier federal plans.

       A.     EPA Unlawfully Imposed its Preferred “4-Step Framework” on
              Texas’s SIP
       EPA unlawfully disapproved Texas’s SIP based on its conclusion that the SIP

did not measure up to EPA’s preferred “4-step framework” from its CSAPR FIPs. As

EPA explained in its disapproval, “[t]he EPA used a 4-step interstate transport

framework (or 4-step framework) to evaluate each state’s [SIP] addressing the [Good

Neighbor] [P]rovision for the 2015 ozone NAAQS.” 88 Fed. Reg. at 9,338. In so

doing, EPA required that “deviation from [the 4-step] approach to ozone transport must

be substantially justified and have a well-documented technical basis.”       Id. at 9,340

(emphasis added); see also Region 6 Texas TSD (C.I. R6-2) at 78 (claiming that Texas’s

SIP did not provide “substantial evidence that counters” EPA’s framework).

       But EPA’s preferred “4-step framework” is not part of the interstate-transport

provision of the statute. See 42 U.S.C. §7410(a)(2)(D)(i)(I). Nor does the statute

authorize EPA to disapprove a SIP based on a comparison to a previous or proposed

FIP. EPA’s review is specifically limited to “the statutory criteria of the CAA,” Texas

2012, 690 F.3d at 676, which do not require that a SIP conform in any way to a FIP, see

42 U.S.C. §7410(a)(2). A requirement that States must fit themselves into an EPA-

devised straitjacket would nullify the statute’s guarantee that States enjoy flexibility in

devising their own policies to satisfy the statute.



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       Moreover, contrary to EPA’s belief, the Supreme Court’s decision in EME

Homer does not support the application of EPA’s 4-step framework to EPA’s

“evaluat[ion] [of ] state SIP submissions” under 42 U.S.C. §7410(a). RTC (C.I. HQ-83)

at 426. Because EME Homer did not concern SIPs (supra at 32), it is irrelevant that,

according to EPA, the Supreme Court may have “granted deference [to EPA] in its

interpretation of the [good neighbor provision]” in that case. RTC (C.I. HQ-83) at 427.

While EPA’s framework may (or may not) be a reasonable interpretation for a particular

FIP, Texas has the discretion to adopt a different reasonable approach under its statutory

SIP authority granted by 42 U.S.C. §7410(a). Luminant 2012, 675 F.3d at 928 n.8 (“Only

the [S]tates enjoy discretion in implementing the dictates of the CAA.”); Texas 2023 at

15 (EPA’s 4-step framework is “one ‘permissible’ way to effectuate the CAA’s Good

Neighbor Provision, . . . but it is by no means the only way.”).

       The Supreme Court confirmed Texas’s primary role when it held that States were

delegated the authority to address interstate transport in the first instance in a SIP without

“EPA’s input”—i.e., without EPA’s 4-step framework. EME Homer, 572 U.S. at 509-

10 (“When Congress elected to make EPA’s input a prerequisite to state action under

the Act, it did so expressly,” but it did not “include[] a similar direction in [the good

neighbor] section.”). Thus, because “nothing in the statute places EPA under an

obligation to provide specific metrics to States before they undertake to fulfill their

good neighbor obligations,” EPA’s analytical framework and modeling cannot be the

standard used to judge a SIP. Id. at 510. Instead, in exercising its independent statutory

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authority under 42 U.S.C. §7410(a), Texas may interpret and apply the good-neighbor

provision and select a reasonable approach for its SIP, even if that approach deviates

from EPA’s. Luminant 2012, 675 F.3d at 928 n.8; see also Exelon Wind 1, L.L.C. v. Nelson,

766 F.3d 380, 394-95 (5th Cir. 2014) (deferring to Texas PUC’s implementation of

federal statute).

       Further, even if it could, EPA has not promulgated any regulations that bind

States to a particular good-neighbor framework—indeed, EPA has disavowed an

obligation to do so. RTC (C.I. HQ-83) at 431 (“The EPA is not required by the CAA

to promulgate regulations governing the good neighbor analysis.”). “Given the absence

of a regulation or statute requiring [EPA’s 4-step framework],” EPA’s disapproval is

contrary to the statute and must be vacated. Texas 2016, 829 F.3d at 429; see also Sackett

v. EPA, 598 U.S. __, __ (2023) (slip op. at 24) (“And, in any event, the [statute] never

mentions the ‘significant nexus’ test, so the EPA has no statutory basis to impose it.”).

       B.     EPA’s Preferred Approach to Maintenance Monitors Is Not a
              Statutory Requirement
       EPA unlawfully rejected Texas’s approach to “maintenance” monitors—not

based on any statutory requirement, but because TCEQ “used a different methodology

than the EPA to identify monitors projected to be maintenance receptors in 2023.” 87

Fed. Reg. at 9,824-29.      The statute, however, does not require any particular

methodology for identifying maintenance monitors, as EPA itself has conceded. See 82

Fed. Reg. 9,155, 9,156 (Feb. 3, 2017) (“[T]he statute[] [is] silen[t] on how nonattainment



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and maintenance should be identified under the good neighbor provision[.]”). Neither

do EPA’s regulations. While EPA issued regulations establishing SIP requirements for

some aspects of the 2015 ozone NAAQS, they do not include requirements for interstate

transport, much less for identifying “maintenance” monitors. See 40 C.F.R. §§51.1300-

51.1318. Because neither the statute nor EPA’s duly-promulgated regulations require

EPA’s preferred “maintenance” methodology, EPA’s disapproval on that basis was

unlawful. Texas 2016, 829 F.3d at 429.

       EPA’s disapproval claimed that TCEQ did not “give[] meaning to the CAA’s

instruction” regarding “interfering with the maintenance of the NAAQS in another

state.” 87 Fed. Reg. at 9,826. But the interstate-transport provision does not give an

“instruction” to follow EPA’s preferred method for identifying maintenance monitors.

See 42 U.S.C. §7410(a)(2)(D)(i)(I). Thus, EPA’s insistence on its own approach was ultra

vires and requires vacatur. See Luminant 2012, 675 F.3d at 932.

       Regardless, Texas’s approach to addressing the “maintenance” prong was true to

the text of Section 7410(a)(2)(D)(i)(I) in every respect. First, the text requires the State

to give meaning to both prongs.         See 42 U.S.C. §7410(a)(2)(D)(i)(I) (“contribute

significantly to nonattainment in, or interfere with maintenance by”) (emphasis added);

see also North Carolina v. EPA, 531 F.3d 896, 910 (D.C. Cir. 2008) (“[§7410(a)(2)(D)(i)(I)]

is written in the disjunctive”). EPA concedes that TCEQ’s methodology meets this

requirement and gives both prongs independent meaning. 87 Fed. Reg. at 9,825 (TCEQ

separately identified receptors “projected to be in nonattainment” or “projected to have

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problems attaining and maintaining the 2015 ozone NAAQS”); id. (Table TX-1)

(showing both nonattainment and maintenance monitors); Region 6 Texas TSD (C.I.

R6-2) at 6 (“TCEQ’s method identified one receptor in [its] SIP submission as a

nonattainment receptor in 2023 that is separately characterized under its maintenance

methodology as not having a problem maintaining the NAAQS.”).

      Second, TCEQ’s approach honors Section 7410(a)(2)(D)(i)’s directive that the

“interfere with maintenance” prong be applied “consistent with the provisions of this

subchapter.” 42 U.S.C. §7410(a)(2)(D)(i). One such “provision of this subchapter” is

42 U.S.C. §7505a, which requires States to implement a “maintenance” plan for any

area redesignated as nonattainment that “shall contain such additional measures, if any,

as may be necessary to ensure such maintenance” of the NAAQS. TCEQ found that

using the most recent three-year average design value to identify downwind

“maintenance” monitors “reflect[s] the current state of ozone concentrations . . . and

the impact of any maintenance plans that are in place to prevent local emissions from

causing an area to slip back into nonattainment.” Texas SIP (C.I. R6-6) at 3-42. EPA

claimed that TCEQ’s consideration of “maintenance plans” under 42 U.S.C. §7505a “is

irrelevant and misplaced,” 87 Fed. Reg. at 9,828, but the text of the interstate-transport

provision explicitly requires consideration of this other “provision[] of this subchapter”

in determining “interfer[ence] with maintenance.” See 42 U.S.C. §7410(a)(2)(D)(i).

      Third, TCEQ’s approach gives meaning to the phrase “maintenance by . . . any

other State.” Id. §7410(a)(2)(D)(i)(I) (emphasis added). EPA would rewrite this

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provision as “maintenance of the NAAQS in another state.” 87 Fed. Reg. at 9,826

(emphasis added). But the statute does not require upwind States to bear the burden

of maintaining the NAAQS in another State without regard to the home State’s

obligations, as EPA’s careful edit would do. Instead, as the Supreme Court has

explained, the “interfere with maintenance” prong only authorizes emission reductions

from upwind States “by just enough to permit an already-attaining State to maintain

satisfactory air quality.” EME Homer, 572 U.S. at 515 n.18. Accordingly, Section

7410(a)(2)(D)(i)(I) assumes that the downwind State is “already attaining” the NAAQS

through its own in-State measures and focuses the upwind State’s SIP demonstration

on “maintenance by” the downwind State. 42 U.S.C. §7410(a)(2)(D)(i)(I) (emphasis

added). Texas’s approach gives meaning to this plain language by incorporating into its

SIP demonstration the concepts of “maintenance” plans by already-attaining States

under 42 U.S.C. §7505a and decreasing ozone trends in downwind States to ensure that

it does not needlessly and unlawfully over-control Texas sources. See Texas SIP (C.I.

R6-6) at 3-41 – 3-42; see also EME Homer, 572 U.S. at 515 n. 18. Because Texas’s

approach in its SIP was consistent with the plain language of the statute, EPA was

bound to approve it. See 42 U.S.C. §7410(k)(3).

      Ignoring the statute’s plain language, EPA claimed in its disapproval that its

approach to “maintenance” monitors was compelled by the D.C. Circuit’s decision in

North Carolina v. EPA, 531 F.3d 896 (D.C. Cir. 2008), which concerned an EPA FIP

called the “Clean Air Interstate Rule.” 87 Fed. Reg. at 9,826-27. EPA claims that

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“variable meteorology” was “the issue at the heart of the D.C. Circuit’s finding on

‘interference with maintenance’” in that case. Id. at 9,827. But nothing in the D.C.

Circuit’s decision in North Carolina requires that a State give primary consideration to

“inter-annual variability in ozone-conducive meteorology” under the “maintenance”

prong of Section 7410(a)(2)(D)(i)(I), which was EPA’s pretext for disapproving Texas’s

SIP here. 87 Fed. Reg. at 9,827. In North Carolina, the D.C. Circuit held that EPA’s

FIP action (for a different NAAQS) was contrary to the statute because it “read[] [the

maintenance prong] out of [the] statute” entirely by giving it “no independent

significance.”   531 F.3d at 910.       The D.C. Circuit did not hold that “variable

meteorology” must or should be the primary consideration in identifying downwind

“maintenance” monitors in a FIP (much less a SIP). Indeed, the Court there was

responding to North Carolina’s argument that “several of its counties are at risk of

returning to nonattainment due to interference from upwind sources,” not simply from

changes in the weather. Id. at 909 (emphasis added). Thus, unlike EPA’s unlawful FIPs

in North Carolina, TCEQ’s maintenance methodology here—which “accounts for both

meteorological variability and the latest emissions impact on the monitor” from upwind

sources, Texas SIP (C.I. R6-6) at 3-41 (emphases added)—is consistent with the D.C.

Circuit’s decision and the statutory text.11


11
   In any case, EPA was also incorrect that Texas’s approach “did not give any
consideration to interannual variability in ozone-conducive meteorology as does the
EPA’s method.” 87 Fed. at 9,827 (emphasis added). That claim is belied by the record,
which demonstrated that, nationally, the year 2012—which was included in TCEQ’s

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      C.     EPA’s Rejection of Texas’s Weight-of-Evidence Analysis Was
             Unlawful
      EPA also unlawfully rejected Texas’s weight-of-evidence approach to

determining whether the State’s emissions “contribute significantly to nonattainment”

or “interfere with maintenance.” EPA did so, not based on any statutory requirement,

but based on Region 6’s determination that TCEQ’s approach did not “counter” EPA’s

bright-line one-percent threshold from EPA’s CSAPR FIPs with “substantial

evidence.” See Region 6 Texas TSD (C.I. R6-2) at 78; 87 Fed. Reg. at 9,831-34. EPA

said it would impose the one-percent threshold over Texas’s weight-of-evidence

approach absent a “compelling policy reason.” 88 Fed. Reg. at 9,374.

      In its CSAPR FIPs, EPA chose to use a one-percent contribution threshold to

define “significance.” As the D.C. Circuit held in reviewing EPA’s CSAPR FIPs (and

finding the Texas CSAPR FIP unlawful), a one-percent contribution establishes

definitively, for EPA, that “th[e] upwind State [has] ‘contributed significantly.’” EME

Homer, 795 F.3d at 125.

      EPA applied that standard here in disapproving Texas’s SIP: “If a state’s

contribution value does not equal or exceed the threshold of 1 percent of the



maintenance methodology—“was among the highest ozone years since 2005-2007,”
which meant that “[a]ny ozone design value that included 2012 [as TCEQ’s did] would
have included at least one year with exceptionally conducive meteorology for high
ozone.” RTC (C.I. HQ-83) at 223; see also Region 6 Texas TSD (C.I. R6-2) at 32
(conceding that “2012, the year TCEQ selected as its base year, was conducive to ozone
formation.”).

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NAAQS . . . the state does not contribute significantly to nonattainment or interfere

with maintenance of the NAAQS in the downwind states.” See 88 Fed. Reg. at 9,342;

see also 82 Fed. Reg. at 1,740 (“[T]he CSAPR framework treats a contribution from an

individual state at or above 1 percent of the NAAQS as significant.”). But the term

“significantly contribute” is not defined by the statute or EPA’s regulations, much less

as a one-percent threshold calculated per EPA’s 4-step framework. Indeed, this Court

has already held that EPA’s “one-percent threshold” is non-statutory and “does not

appear in the text of [the interstate-transport] provision.” Texas 2020, 983 F.3d at 839.

By requiring Texas to “counter” EPA’s one-percent threshold, Region 6 Texas TSD

(C.I. R6-2) at 100, EPA applied a non-statutory requirement and unlawfully “relied on

factors which Congress has not intended it to consider.” La. Envtl. Action Network v.

EPA, 382 F.3d 575, 582 (5th Cir. 2004) (internal quotation marks and citation omitted).

      In this way, EPA’s disapproval turns cooperative federalism on its head. EPA

claims that Texas’s SIP did not provide “substantial evidence that counters . . . the

contribution analysis using EPA’s [one-percent] contribution methodology.” Region 6

Texas TSD (C.I. R6-2) at 78. And EPA says it would review Texas’s SIP based on the

one-percent threshold absent a “compelling policy reason to adopt” a different

approach. 88 Fed. Reg. at 9,374. But the Clean Air Act does not require Texas to

“counter[]” EPA’s preferred approach with “substantial evidence,” nor does it

authorize EPA to judge a SIP based on EPA’s preferred approach from a FIP. EPA

must defer to a State’s choices that comply with the Act, not reject them absent a

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“compelling” reason to deviate from EPA’s non-statutorily-mandated approach.

Luminant 2012, 675 F.3d at 928 n.8.

III.   EPA’s Disapproval of Texas’s SIP Was Arbitrary and Capricious
       A.    EPA’s Rejection of Texas’s Air Quality Modeling in Favor of
             “Ballpark Estimates” Was Arbitrary and Capricious
       TCEQ performed its modeling here using the most up-to-date version of the

same model that EPA had used—the CAMx model—and more recent emissions data than

EPA had used. 87 Fed. Reg. at 9,825. EPA did not dispute that TCEQ used the correct

model; found no “clear cause” of any underestimation in TCEQ’s results, id. at 9,830;

and did not conclude that TCEQ violated any modeling protocols in EPA’s regulations

that “provide[] air quality modeling techniques that should be applied to State

Implementation Plan (SIP) submittals,” 40 C.F.R. Part 51, App. W, §1.a.

       TCEQ is widely recognized as an authoritative source on photochemical

modeling of interstate transport of emissions.12 Yet, despite finding no error in TCEQ’s

modeling, EPA cast it aside based on Region 6’s speculation that “TCEQ’s modeling is

potentially underestimating future [ozone levels].” Region 6 Texas TSD (C.I. R6-2) at 45

(emphasis added); 88 Fed. Reg. at 9,359 (citing Region 6 Texas TSD). The Region’s



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   See Midwest Ozone Grp. v. EPA, 61 F.4th 187, 190 n.2 (D.C. Cir. 2023) (citing TCEQ
on photochemical modeling); see also EME Homer City Generation, L.P. v. EPA, 696 F.3d
7, 49 & n.13 (D.C. Cir. 2012) (Rogers, J, dissenting) (“State air quality divisions are no
strangers to complex air quality and meteorological modeling of interstate transport of
emissions.” “To cite one example: the State of Texas.”), rev’d on other grounds, 572 U.S.
489 (2014).

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speculation was based, not on any modeling protocol or error in the modeling, but on

the Region’s comparison of TCEQ’s results to a “ballpark estimate” of 2023 ozone

conditions. Region 6 Texas TSD (C.I. R6-2) at 40. Region 6, however, conceded that

its “ballpark estimate” was “not as exact as developing new modeling”; “not usable in any

other CAA action”; and not even “a defensible basis on which to reach any conclusions

regarding future air quality conditions.” Id. at 40 & n.23 (emphases added).

       These concessions render EPA’s disapproval unlawful. EPA’s factual findings

must be “supported by substantial evidence.” Texas 2016, 829 F.3d at 425. To

withstand review, EPA “must examine the relevant data and articulate a satisfactory

explanation for its action including a ‘rational connection between the facts found and the

choice made.’” State Farm, 463 U.S. at 43 (quoting Burlington Truck Lines v. United States,

371 U.S. 156, 168 (1962) (emphases added). By basing its disapproval on a “ballpark

estimate” that was admittedly not “a defensible basis” for “any conclusions regarding

future air quality conditions,” Region 6 Texas TSD (C.I. R6-2) at 40 & n.23 (emphasis

added), EPA utterly failed to meet that standard here.

       B.     EPA Failed to Treat Like Cases Alike
       “It is a bedrock principle of administrative law that an agency must ‘treat like

cases alike.’” Univ. of Tex. M.D. Anderson Cancer Ctr. v. U.S. Dep’t of Health & Human

Servs., 985 F.3d 472, 479 (5th Cir. 2021) (quoting 32 Charles Alan Wright & Charles H.

Koch, Federal Practice and Procedure §8248, at 431 (2006)). “This principle,” the Court has

explained, “is an outgrowth of the old adage from State Farm that ‘an agency changing

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its course must supply a reasoned analysis.’” Id. (quoting State Farm, 463 U.S. at 57); see

also Jupiter Energy Corp. v. FERC, 407 F.3d 346, 349 (5th Cir. 2005) (agency action is

arbitrary and capricious when it fails to “supply a reasoned analysis for any departure

from other agency decisions” (internal quotation marks and citations omitted)). Were

the law otherwise, an administrative agency like EPA “could give free passes to its

friends and hammer its enemies.” Univ. of Tex., 985 F.3d at 480. The law “prohibits

that approach.” Id.

     But that is exactly what EPA did here in rejecting Texas’s weight-of-evidence

approach to evaluating whether the State’s emissions “contribute significantly to

nonattainment” or “interfere with maintenance.” EPA initially explained in its guidance

to States that, even with a modeled contribution above EPA’s “1 percent screening

threshold,” States “could continue to consider[] other factors to evaluate [their]

planning obligation pursuant to the Good Neighbor provision.” 82 Fed. Reg. at 1,739-

40. In doing so, EPA cited its approval of Arizona’s SIP, where, even though Arizona

“contributes greater than the 1% threshold,” “EPA [] considered the total weight of all

the evidence taken together to evaluate whether Arizona significantly contributes.” 81

Fed. Reg. at 15,203. For Arizona, EPA did not require the State to “counter” with

“substantial evidence” “EPA’s [one-percent] contribution methodology,” as it did in

disapproving Texas’s SIP here. See Region 6 Texas TSD (C.I. R6-2) at 78. Nor has

EPA applied such a heightened standard in evaluating other States’ SIPs where impacts

to western-State monitors are above EPA’s one-percent threshold—but has instead

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invited those other States to do exactly what Texas did here. See, e.g., 81 Fed. Reg.

71,991, 71,994 (Oct. 19, 2016) (“If [Utah] believes that the EPA should consider

additional factors with respect to its linkage to the Denver receptors, it should identify

those factors in its SIP submission.”).

     Here, TCEQ did provide an extensive weight-of-evidence analysis to support its

conclusion that Texas emissions did not significantly contribute to nonattainment in,

or interfere with maintenance by, any other State. See Texas SIP (C.I. R6-6) at 3-5 – 3-

75. Among other things, TCEQ examined the total collective contribution of out-of-

state emissions at the downwind monitors, using the benchmark EPA had used in

acting on Arizona’s SIP, and concluded that it was “a small percentage and not as high

as the collective interstate contribution percentages the EPA calculated for monitors in

Eastern States, which ranged from 17% to 67%.” Id. at 3-60, 3-75. EPA’s response

was only to say that an exception to its one-percent threshold “has never been applied

outside of California,” but it did not explain why the small collective contribution

calculated by TCEQ (and demonstrated by EPA’s own data) should not be considered

“insignificant” as compared to the much higher ranges calculated for the eastern States

in EPA’s CSAPR FIPs. 87 Fed. Reg. at 9,833. Because EPA applied a different

standard to Texas, without explanation, its disapproval was arbitrary and capricious and

should be vacated. See Univ. of Texas, 985 F.3d at 479; see also Cent. Power & Light Co. v.

United States, 634 F.2d 137, 150 (5th Cir. 1980) (“[A]n agency must either conform itself

to its prior norms and decisions or explain the reason for its departure.”).

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                                 CONCLUSION
      For any one of these reasons, EPA’s disapproval of Texas’s SIP is unlawful and

should be vacated.

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                          CERTIFICATE OF SERVICE
     I hereby certify that all counsel of record who have consented to electronic service

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                                        s/ P. Stephen Gidiere III
                                        Counsel for Luminant Petitioners




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                       CERTIFICATE OF COMPLIANCE
      The undersigned counsel states that this brief complies with Fed. R. App. P.

32(a)(7)(B) because it contains 11,643 words, excluding the items allowed to be

excluded pursuant to Fed. R. App. P. 32(f), as counted by a word processing system

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Dated: May 30, 2023


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                     ADDENDUM OF RULES AND REGULATIONS
                            TO PRINCIPAL BRIEF OF
                         TEXAS INDUSTRY PETITIONERS

For the Court’s ease of reference, this Addendum reproduces the following statutory,
regulatory, and supporting materials:
Federal Statutes
  42 U.S.C. § 7401 ............................................................................................................. A-1
  42 U.S.C. § 7410 ............................................................................................................. A-6
  42 U.S.C. § 7505a ......................................................................................................... A-15
  42 U.S.C. § 7602 ........................................................................................................... A-16
Federal Regulatory Materials
  40 C.F.R. § 51.1300, et seq............................................................................................ A-19




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Sec.                                                                  (3) to provide technical and financial assist-
7671k.     Safe alternatives policy.                                ance to State and local governments in con-
7671l.     Federal procurement.
7671m.     Relationship to other laws.
                                                                    nection with the development and execution of
7671n.     Authority of Administrator.                              their air pollution prevention and control pro-
7671o.     Transfers among Parties to Montreal Pro-                 grams; and
             tocol.                                                   (4) to encourage and assist the development
7671p.     International cooperation.                               and operation of regional air pollution preven-
7671q.     Miscellaneous provisions.                                tion and control programs.
 SUBCHAPTER VII—AMERICAN INNOVATION AND                           (c) Pollution prevention
             MANUFACTURING
                                                                    A primary goal of this chapter is to encourage
7675.      American innovation and manufacturing.                 or otherwise promote reasonable Federal, State,
                                                                  and local governmental actions, consistent with
                      Editorial Notes
                                                                  the provisions of this chapter, for pollution pre-
                        CODIFICATION                              vention.
  Act July 14, 1955, ch. 360, 69 Stat. 322, as amended,           (July 14, 1955, ch. 360, title I, § 101, formerly § 1,
known as the Clean Air Act, which was formerly classi-            as added Pub. L. 88–206, § 1, Dec. 17, 1963, 77 Stat.
fied to chapter 15B (§ 1857 et seq.) of this title, was com-      392; renumbered § 101 and amended Pub. L.
pletely revised by Pub. L. 95–95, Aug. 7, 1977, 91 Stat.
                                                                  89–272, title I, § 101(2), (3), Oct. 20, 1965, 79 Stat.
685, and was reclassified to this chapter.
                                                                  992; Pub. L. 90–148, § 2, Nov. 21, 1967, 81 Stat. 485;
         SUBCHAPTER I—PROGRAMS AND                                Pub. L. 101–549, title I, § 108(k), Nov. 15, 1990, 104
                 ACTIVITIES                                       Stat. 2468.)

         PART A—AIR QUALITY AND EMISSION                                               Editorial Notes
                  LIMITATIONS
                                                                                        CODIFICATION
                      Editorial Notes                               Section was formerly classified to section 1857 of this
                                                                  title.
                        CODIFICATION
  Pub. L. 95–95, title I, § 117(a), Aug. 7, 1977, 91 Stat. 712,                       PRIOR PROVISIONS
designated sections 7401 to 7428 of this title as part A.           Provisions similar to those in this section were con-
                                                                  tained in a prior section 1857 of this title, act of July
§ 7401. Congressional findings and declaration of                 14, 1955, ch. 360, § 1, 69 Stat. 322, prior to the general
    purpose                                                       amendment of this chapter by Pub. L. 88–206.
(a) Findings                                                                            AMENDMENTS
  The Congress finds—                                                1990—Subsec. (a)(3). Pub. L. 101–549, § 108(k)(1), amend-
    (1) that the predominant part of the Nation’s                 ed par. (3) generally. Prior to amendment, par. (3) read
  population is located in its rapidly expanding                  as follows: ‘‘that the prevention and control of air pol-
  metropolitan and other urban areas, which                       lution at its source is the primary responsibility of
  generally cross the boundary lines of local ju-                 States and local governments; and’’.
  risdictions and often extend into two or more                      Subsec. (b)(4). Pub. L. 101–549, § 108(k)(2), inserted
  States;                                                         ‘‘prevention and’’ after ‘‘pollution’’.
                                                                     Subsec. (c). Pub. L. 101–549, § 108(k)(3), added subsec.
    (2) that the growth in the amount and com-
                                                                  (c).
  plexity of air pollution brought about by ur-                      1967—Subsec. (b)(1). Pub. L. 90–148 inserted ‘‘and en-
  banization, industrial development, and the                     hance the quality of’’ after ‘‘to protect’’.
  increasing use of motor vehicles, has resulted                     1965—Subsec. (b). Pub. L. 89–272 substituted ‘‘this
  in mounting dangers to the public health and                    title’’ for ‘‘this Act’’, which for purposes of codification
  welfare, including injury to agricultural crops                 has been changed to ‘‘this subchapter’’.
  and livestock, damage to and the deteriora-
  tion of property, and hazards to air and ground                        Statutory Notes and Related Subsidiaries
  transportation;
                                                                           EFFECTIVE DATE OF 1990 AMENDMENT
    (3) that air pollution prevention (that is, the
  reduction or elimination, through any meas-                       Pub. L. 101–549, title VII, § 711(b), Nov. 15, 1990, 104
  ures, of the amount of pollutants produced or                   Stat. 2684, provided that:
                                                                    ‘‘(1) Except as otherwise expressly provided, the
  created at the source) and air pollution con-
                                                                  amendments made by this Act [see Tables for classi-
  trol at its source is the primary responsibility                fication] shall be effective on the date of enactment of
  of States and local governments; and                            this Act [Nov. 15, 1990].
    (4) that Federal financial assistance and                       ‘‘(2) The Administrator’s authority to assess civil
  leadership is essential for the development of                  penalties under section 205(c) of the Clean Air Act [42
  cooperative Federal, State, regional, and local                 U.S.C. 7524(c)], as amended by this Act, shall apply to
  programs to prevent and control air pollution.                  violations that occur or continue on or after the date
                                                                  of enactment of this Act. Civil penalties for violations
(b) Declaration                                                   that occur prior to such date and do not continue after
  The purposes of this subchapter are—                            such date shall be assessed in accordance with the pro-
    (1) to protect and enhance the quality of the                 visions of the Clean Air Act [42 U.S.C. 7401 et seq.] in
  Nation’s air resources so as to promote the                     effect immediately prior to the date of enactment of
                                                                  this Act.
  public health and welfare and the productive                      ‘‘(3) The civil penalties prescribed under sections
  capacity of its population;                                     205(a) and 211(d)(1) of the Clean Air Act [42 U.S.C.
    (2) to initiate and accelerate a national re-                 7524(a), 7545(d)(1)], as amended by this Act, shall apply
  search and development program to achieve                       to violations that occur on or after the date of enact-
  the prevention and control of air pollution;                    ment of this Act. Violations that occur prior to such




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date shall be subject to the civil penalty provisions pre-      of this title] may be cited as the ‘Chemical Safety In-
scribed in sections 205(a) and 211(d) of the Clean Air Act      formation, Site Security and Fuels Regulatory Relief
in effect immediately prior to the enactment of this            Act’.’’
Act. The injunctive authority prescribed under section
211(d)(2) of the Clean Air Act, as amended by this Act,                     SHORT TITLE OF 1998 AMENDMENT
shall apply to violations that occur or continue on or            Pub. L. 105–286, § 1, Oct. 27, 1998, 112 Stat. 2773, pro-
after the date of enactment of this Act.                        vided that: ‘‘This Act [amending section 7511b of this
  ‘‘(4) For purposes of paragraphs (2) and (3), where the       title and enacting provisions set out as a note under
date of a violation cannot be determined it will be as-         section 7511b of this title] may be cited as the ‘Border
sumed to be the date on which the violation is discov-          Smog Reduction Act of 1998’.’’
ered.’’
                                                                            SHORT TITLE OF 1990 AMENDMENT
EFFECTIVE DATE OF 1977 AMENDMENT; PENDING AC-
 TIONS; CONTINUATION OF RULES, CONTRACTS, AUTHOR-
                                                                  Pub. L. 101–549, Nov. 15, 1990, 104 Stat. 2399, is popu-
 IZATIONS, ETC.; IMPLEMENTATION PLANS
                                                                larly known as the ‘‘Clean Air Act Amendments of
                                                                1990’’. See Tables for classification.
  Pub. L. 95–95, title IV, § 406, Aug. 7, 1977, 91 Stat. 795,
as amended by Pub. L. 95–190, § 14(b)(6), Nov. 16, 1977, 91                 SHORT TITLE OF 1981 AMENDMENT
Stat. 1405, provided that:                                        Pub. L. 97–23, § 1, July 17, 1981, 95 Stat. 139, provided:
  ‘‘(a) No suit, action, or other proceeding lawfully           ‘‘That this Act [amending sections 7410 and 7413 of this
commenced by or against the Administrator or any                title] may be cited as the ‘Steel Industry Compliance
other officer or employee of the United States in his of-       Extension Act of 1981’.’’
ficial capacity or in relation to the discharge of his of-
ficial duties under the Clean Air Act [this chapter], as                    SHORT TITLE OF 1977 AMENDMENT
in effect immediately prior to the date of enactment of           Pub. L. 95–95, § 1, Aug. 7, 1977, 91 Stat. 685, provided
this Act [Aug. 7, 1977] shall abate by reason of the tak-       that: ‘‘This Act [enacting sections 4362, 7419 to 7428, 7450
ing effect of the amendments made by this Act [see              to 7459, 7470 to 7479, 7491, 7501 to 7508, 7548, 7549, 7551,
Short Title of 1977 Amendment note below]. The court            7617 to 7625, and 7626 of this title, amending sections
may, on its own motion or that of any party made at             7403, 7405, 7407 to 7415, 7417, 7418, 7521 to 7525, 7541, 7543,
any time within twelve months after such taking ef-             7544, 7545, 7550, 7571, 7601 to 7605, 7607, 7612, 7613, and 7616
fect, allow the same to be maintained by or against the         of this title, repealing section 1857c–10 of this title, and
Administrator or such officer or employee.                      enacting provisions set out as notes under this section,
  ‘‘(b) All rules, regulations, orders, determinations,         sections 7403, 7422, 7470, 7479, 7502, 7521, 7548, and 7621 of
contracts, certifications, authorizations, delegations,         this title, and section 792 of Title 15, Commerce and
or other actions duly issued, made, or taken by or pur-         Trade] may be cited as the ‘Clean Air Act Amendments
suant to the Clean Air Act [this chapter], as in effect         of 1977’.’’
immediately prior to the date of enactment of this Act
[Aug. 7, 1977], and pertaining to any functions, powers,                    SHORT TITLE OF 1970 AMENDMENT
requirements, and duties under the Clean Air Act, as in
                                                                  Pub. L. 91–604, § 1, Dec. 31, 1970, 84 Stat. 1676, provided:
effect immediately prior to the date of enactment of
                                                                ‘‘That this Act [amending this chapter generally] may
this Act, and not suspended by the Administrator or
                                                                be cited as the ‘Clean Air Amendments of 1970’.’’
the courts, shall continue in full force and effect after
the date of enactment of this Act until modified or re-                     SHORT TITLE OF 1967 AMENDMENT
scinded in accordance with the Clean Air Act as amend-
ed by this Act [see Short Title of 1977 Amendment note            Pub. L. 90–148, § 1, Nov. 21, 1967, 81 Stat. 485, provided:
below].                                                         ‘‘That this Act [amending this chapter generally] may
  ‘‘(c) Nothing in this Act [see Short Title of 1977            be cited as the ‘Air Quality Act of 1967’.’’
Amendment note below] nor any action taken pursuant                         SHORT TITLE OF 1966 AMENDMENT
to this Act shall in any way affect any requirement of
an approved implementation plan in effect under sec-              Pub. L. 89–675, § 1, Oct. 15, 1966, 80 Stat. 954, provided:
tion 110 of the Clean Air Act [section 7410 of this title]      ‘‘That this Act [amending sections 7405 and 7616 of this
or any other provision of the Act in effect under the           title and repealing section 1857f–8 of this title] may be
Clean Air Act before the date of enactment of this sec-         cited as the ‘Clean Air Act Amendments of 1966’.’’
tion [Aug. 7, 1977] until modified or rescinded in accord-
                                                                                        SHORT TITLE
ance with the Clean Air Act [this chapter] as amended
by this Act [see Short Title of 1977 Amendment note                Act July 14, 1955, ch. 360, title III, § 317, formerly § 14,
below].                                                         as added by Pub. L. 88–206, § 1, Dec. 17, 1963, 77 Stat. 401;
  ‘‘(d)(1) Except as otherwise expressly provided, the          renumbered § 307 by Pub. L. 89–272, title I, § 101(4), Oct.
amendments made by this Act [see Short Title of 1977            20, 1965, 79 Stat. 992; renumbered § 310 by Pub. L. 90–148,
Amendment note below] shall be effective on date of             § 2, Nov. 21, 1967, 81 Stat. 499; renumbered § 317 by Pub.
enactment [Aug. 7, 1977].                                       L. 91–604, § 12(a), Dec. 31, 1970, 84 Stat. 1705, provided
  ‘‘(2) Except as otherwise expressly provided, each            that: ‘‘This Act [enacting this chapter] may be cited as
State required to revise its applicable implementation          the ‘Clean Air Act’.’’
plan by reason of any amendment made by this Act [see              Act July 14, 1955, ch. 360, title II, § 201, as added by
Short Title of 1977 Amendment note below] shall adopt           Pub. L. 89–272, title I, § 101(8), Oct. 20, 1965, 79 Stat. 992,
and submit to the Administrator of the Environmental            and amended by Pub. L. 90–148, § 2, Nov. 21, 1967, 81 Stat.
Protection Administration such plan revision before             499, provided that: ‘‘This title [enacting subchapter II
the later of the date—                                          of this chapter] may be cited as the ‘National Emission
     ‘‘(A) one year after the date of enactment of this         Standards Act’.’’ Prior to its amendment by Pub. L.
  Act [Aug. 7, 1977], or                                        90–148, title II of act June 14, 1955, was known as the
     ‘‘(B) nine months after the date of promulgation by        ‘‘Motor Vehicle Air Pollution Control Act’’.
  the Administrator of the Environmental Protection                Act July 14, 1955, ch. 360, title IV, § 401, as added by
  Administration of any regulations under an amend-             Dec. 31, 1970, Pub. L. 91–604, § 14, 84 Stat. 1709, provided
  ment made by this Act which are necessary for the             that: ‘‘This title [enacting subchapter IV of this chap-
  approval of such plan revision.’’                             ter] may be cited as the ‘Noise Pollution and Abate-
                                                                ment Act of 1970’.’’
            SHORT TITLE OF 1999 AMENDMENT
                                                                                    SAVINGS PROVISION
  Pub. L. 106–40, § 1, Aug. 5, 1999, 113 Stat. 207, provided
that: ‘‘This Act [amending section 7412 of this title and         Pub. L. 101–549, title VII, § 711(a), Nov. 15, 1990, 104
enacting provisions set out as notes under section 7412         Stat. 2684, provided that: ‘‘Except as otherwise ex-




                                                                                                                                   A-2
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pressly provided in this Act [see Tables for classifica-         rected to carry out a program of testing and evaluation
tion], no suit, action, or other proceeding lawfully com-        of technologies which may be utilized in responding to
menced by the Administrator or any other officer or              liquefied gaseous and other hazardous substance spills
employee of the United States in his official capacity           at the Liquefied Gaseous Fuels Spill Test Facility that
or in relation to the discharge of his official duties           threaten public health or the environment.
under the Clean Air Act [42 U.S.C. 7401 et seq.], as in ef-        ‘‘(2) TECHNOLOGY TRANSFER.—In carrying out the pro-
fect immediately prior to the date of enactment of this          gram established under this subsection, the Secretary
Act [Nov. 15, 1990], shall abate by reason of the taking         shall conduct a technology transfer program that, at a
effect of the amendments made by this Act.’’                     minimum—
                                                                      ‘‘(A) documents and archives spill control tech-
             IMPACT ON SMALL COMMUNITIES                           nology;
  Pub. L. 101–549, title VIII, § 810, Nov. 15, 1990, 104 Stat.        ‘‘(B) investigates and analyzes significant haz-
2690, provided that: ‘‘Before implementing a provision             ardous spill incidents;
of this Act [see Tables for classification], the Adminis-             ‘‘(C) develops and provides generic emergency ac-
trator of the Environmental Protection Agency shall                tion plans;
consult with the Small Communities Coordinator of                     ‘‘(D) documents and archives spill test results;
the Environmental Protection Agency to determine the                  ‘‘(E) develops emergency action plans to respond to
impact of such provision on small communities, includ-             spills;
ing the estimated cost of compliance with such provi-                 ‘‘(F) conducts training of spill response personnel;
sion.’’                                                            and
                                                                      ‘‘(G) establishes safety standards for personnel en-
          RADON ASSESSMENT AND MITIGATION                          gaged in spill response activities.
                                                                   ‘‘(3) CONTRACTS AND GRANTS.—The Secretary is di-
  Pub. L. 99–499, title I, § 118(k), Oct. 17, 1986, 100 Stat.    rected to enter into contracts and grants with a non-
1659, as amended by Pub. L. 105–362, title V, § 501(i), Nov.     profit organization in Albany County, Wyoming, that is
10, 1998, 112 Stat. 3284, provided that:                         capable of providing the necessary technical support
  ‘‘(1) NATIONAL ASSESSMENT OF RADON GAS.—No later               and which is involved in environmental activities re-
than one year after the enactment of this Act [Oct. 17,          lated to such hazardous substance related emergencies.
1986], the Administrator shall submit to the Congress a            ‘‘(4) USE OF SITE.—The Secretary shall arrange for the
report which shall, to the extent possible—                      use of the Liquefied Gaseous Fuels Spill Test Facility
     ‘‘(A) identify the locations in the United States           to carry out the provisions of this subsection.’’
  where radon is found in structures where people nor-
  mally live or work, including educational institu-                RADON GAS AND INDOOR AIR QUALITY RESEARCH
  tions;                                                           Pub. L. 99–499, title IV, Oct. 17, 1986, 100 Stat. 1758,
     ‘‘(B) assess the levels of radon gas that are present       provided that:
  in such structures;
     ‘‘(C) determine the level of radon gas and radon            ‘‘SEC. 401. SHORT TITLE.
  daughters which poses a threat to human health and               ‘‘This title may be cited as the ‘Radon Gas and Indoor
  assess for each location identified under subpara-             Air Quality Research Act of 1986’.
  graph (A) the extent of the threat to human health;            ‘‘SEC. 402. FINDINGS.
     ‘‘(D) determine methods of reducing or eliminating            ‘‘The Congress finds that:
  the threat to human health of radon gas and radon                   ‘‘(1) High levels of radon gas pose a serious health
  daughters; and                                                   threat in structures in certain areas of the country.
     ‘‘(E) include guidance and public information mate-              ‘‘(2) Various scientific studies have suggested that
  rials based on the findings or research of mitigating            exposure to radon, including exposure to naturally
  radon.                                                           occurring radon and indoor air pollutants, poses a
  ‘‘(2) RADON MITIGATION DEMONSTRATION PROGRAM.—                   public health risk.
     ‘‘(A) DEMONSTRATION PROGRAM.—The Administrator                   ‘‘(3) Existing Federal radon and indoor air pollutant
  shall conduct a demonstration program to test meth-              research programs are fragmented and underfunded.
  ods and technologies of reducing or eliminating radon               ‘‘(4) An adequate information base concerning expo-
  gas and radon daughters where it poses a threat to               sure to radon and indoor air pollutants should be de-
  human health. The Administrator shall take into                  veloped by the appropriate Federal agencies.
  consideration any demonstration program underway               ‘‘SEC. 403. RADON GAS AND INDOOR AIR QUALITY
  in the Reading Prong of Pennsylvania, New Jersey,                   RESEARCH PROGRAM.
  and New York and at other sites prior to enactment.              ‘‘(a) DESIGN OF PROGRAM.—The Administrator of the
  The demonstration program under this section shall             Environmental Protection Agency shall establish a re-
  be conducted in the Reading Prong, and at such other           search program with respect to radon gas and indoor
  sites as the Administrator considers appropriate.              air quality. Such program shall be designed to—
     ‘‘(B) LIABILITY.—Liability, if any, for persons un-              ‘‘(1) gather data and information on all aspects of
  dertaking activities pursuant to the radon mitigation            indoor air quality in order to contribute to the under-
  demonstration program authorized under this sub-                 standing of health problems associated with the ex-
  section shall be determined under principles of exist-           istence of air pollutants in the indoor environment;
  ing law.                                                            ‘‘(2) coordinate Federal, State, local, and private
  ‘‘(3) CONSTRUCTION OF SECTION.—Nothing in this sub-              research and development efforts relating to the im-
section shall be construed to authorize the Adminis-               provement of indoor air quality; and
trator to carry out any regulatory program or any ac-                 ‘‘(3) assess appropriate Federal Government actions
tivity other than research, development, and related               to mitigate the environmental and health risks asso-
reporting, information dissemination, and coordination             ciated with indoor air quality problems.
activities specified in this subsection. Nothing in para-          ‘‘(b) PROGRAM REQUIREMENTS.—The research program
graph (1) or (2) shall be construed to limit the author-         required under this section shall include—
ity of the Administrator or of any other agency or in-                ‘‘(1) research and development concerning the iden-
strumentality of the United States under any other au-             tification, characterization, and monitoring of the
thority of law.’’                                                  sources and levels of indoor air pollution, including
               SPILL CONTROL TECHNOLOGY                            radon, which includes research and development re-
                                                                   lating to—
  Pub. L. 99–499, title I, § 118(n), Oct. 17, 1986, 100 Stat.            ‘‘(A) the measurement of various pollutant con-
1660, provided that:                                                  centrations and their strengths and sources,
  ‘‘(1) ESTABLISHMENT OF PROGRAM.—Within 180 days of                     ‘‘(B) high-risk building types, and
enactment of this subsection [Oct. 17, 1986], the Sec-                   ‘‘(C) instruments for indoor air quality data col-
retary of the United States Department of Energy is di-               lection;




                                                                                                                              A-3
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     ‘‘(2) research relating to the effects of indoor air            LIST OF CHEMICAL CONTAMINANTS FROM
  pollution and radon on human health;                         ENVIRONMENTAL POLLUTION FOUND IN HUMAN TISSUE
     ‘‘(3) research and development relating to control         Pub. L. 95–95, title IV, § 403(c), Aug. 7, 1977, 91 Stat.
  technologies or other mitigation measures to prevent        792, directed Administrator of EPA, not later than
  or abate indoor air pollution (including the develop-       twelve months after Aug. 7, 1977, to publish throughout
  ment, evaluation, and testing of individual and ge-         the United States a list of all known chemical contami-
  neric control devices and systems);                         nants resulting from environmental pollution which
     ‘‘(4) demonstration of methods for reducing or           have been found in human tissue including blood, urine,
  eliminating indoor air pollution and radon, including       breast milk, and all other human tissue, such list to be
  sealing, venting, and other methods that the Admin-         prepared for the United States and to indicate approxi-
  istrator determines may be effective;                       mate number of cases, range of levels found, and mean
     ‘‘(5) research, to be carried out in conjunction with    levels found, directed Administrator, not later than
  the Secretary of Housing and Urban Development, for         eighteen months after Aug. 7, 1977, to publish in same
  the purpose of developing—                                  manner an explanation of what is known about the
        ‘‘(A) methods for assessing the potential for radon   manner in which chemicals entered the environment
     contamination of new construction, including (but        and thereafter human tissue, and directed Adminis-
     not limited to) consideration of the moisture con-       trator, in consultation with National Institutes of
     tent of soil, porosity of soil, and radon content of     Health, the National Center for Health Statistics, and
     soil; and                                                the National Center for Health Services Research and
        ‘‘(B) design measures to avoid indoor air pollu-      Development, to, if feasible, conduct an epidemiolog-
     tion; and                                                ical study to demonstrate the relationship between lev-
     ‘‘(6) the dissemination of information to assure the     els of chemicals in the environment and in human tis-
  public availability of the findings of the activities       sue, such study to be made in appropriate regions or
  under this section.                                         areas of the United States in order to determine any
  ‘‘(c) ADVISORY COMMITTEES.—The Administrator shall          different results in such regions or areas, and the re-
establish a committee comprised of individuals rep-           sults of such study to be reported, as soon as prac-
resenting Federal agencies concerned with various as-         ticable, to appropriate committee of Congress.
pects of indoor air quality and an advisory group com-
                                                                         STUDY ON REGIONAL AIR QUALITY
prised of individuals representing the States, the sci-
entific community, industry, and public interest orga-          Pub. L. 95–95, title IV, § 403(d), Aug. 7, 1977, 91 Stat.
nizations to assist him in carrying out the research          793, directed Administrator of EPA to conduct a study
program for radon gas and indoor air quality.                 of air quality in various areas throughout the country
  ‘‘(d) IMPLEMENTATION PLAN.—Not later than 90 days           including the gulf coast region, such study to include
after the enactment of this Act [Oct. 17, 1986], the Ad-      analysis of liquid and solid aerosols and other fine par-
ministrator shall submit to the Congress a plan for im-       ticulate matter and contribution of such substances to
plementation of the research program under this sec-          visibility and public health problems in such areas,
tion. Such plan shall also be submitted to the EPA            with Administrator to use environmental health ex-
Science Advisory Board, which shall, within a reason-         perts from the National Institutes of Health and other
able period of time, submit its comments on such plan         outside agencies and organizations.
to Congress.                                                                 RAILROAD EMISSION STUDY
  ‘‘(e) REPORT.—Not later than 2 years after the enact-
ment of this Act [Oct. 17, 1986], the Administrator shall       Pub. L. 95–95, title IV, § 404, Aug. 7, 1977, 91 Stat. 793,
submit to Congress a report respecting his activities         as amended by H. Res. 549, Mar. 25, 1980, directed Ad-
under this section and making such recommendations            ministrator of EPA to conduct a study and investiga-
as appropriate.                                               tion of emissions of air pollutants from railroad loco-
                                                              motives, locomotive engines, and secondary power
‘‘SEC. 404. CONSTRUCTION OF TITLE.                            sources on railroad rolling stock, in order to determine
  ‘‘Nothing in this title shall be construed to authorize     extent to which such emissions affect air quality in air
the Administrator to carry out any regulatory program         quality control regions throughout the United States,
or any activity other than research, development, and         technological feasibility and current state of tech-
related reporting, information dissemination, and co-         nology for controlling such emissions, and status and
ordination activities specified in this title. Nothing in     effect of current and proposed State and local regula-
this title shall be construed to limit the authority of       tions affecting such emissions, and within one hundred
the Administrator or of any other agency or instru-           and eighty days after commencing such study and in-
mentality of the United States under any other author-        vestigation, Administrator to submit a report of such
ity of law.                                                   study and investigation, together with recommenda-
                                                              tions for appropriate legislation, to Senate Committee
‘‘SEC. 405. AUTHORIZATIONS.                                   on Environment and Public Works and House Com-
  ‘‘There are authorized to be appropriated to carry out      mittee on Energy and Commerce.
the activities under this title and under section 118(k)            STUDY AND REPORT CONCERNING ECONOMIC
of the Superfund Amendments and Reauthorization Act                APPROACHES TO CONTROLLING AIR POLLUTION
of 1986 (relating to radon gas assessment and dem-
onstration program) [section 118(k) of Pub. L. 99–499,          Pub. L. 95–95, title IV, § 405, Aug. 7, 1977, 91 Stat. 794,
set out as a note above] not to exceed $5,000,000 for each    directed Administrator, in conjunction with Council of
of the fiscal years 1987, 1988, and 1989. Of such sums ap-    Economic Advisors, to undertake a study and assess-
propriated in fiscal years 1987 and 1988, two-fifths shall    ment of economic measures for control of air pollution
be reserved for the implementation of section                 which could strengthen effectiveness of existing meth-
118(k)(2).’’                                                  ods of controlling air pollution, provide incentives to
                                                              abate air pollution greater than that required by Clean
                                                              Air Act, and serve as primary incentive for controlling
         STUDY OF ODORS AND ODOROUS EMISSIONS
                                                              air pollution problems not addressed by Clean Air Act,
  Pub. L. 95–95, title IV, § 403(b), Aug. 7, 1977, 91 Stat.   and directed that not later than 2 years after Aug. 7,
792, directed Administrator of Environmental Protec-          1977, Administrator and Council conclude study and
tion Agency to conduct a study and report to Congress         submit a report to President and Congress.
not later than Jan. 1, 1979, on effects on public health
and welfare of odors and odorous emissions, source of                           Executive Documents
such emissions, technology or other measures available
for control of such emissions and costs of such tech-                          TRANSFER OF FUNCTIONS
nology or measures, and costs and benefits of alter-            Reorg. Plan No. 3 of 1970, § 2(a)(3), eff. Dec. 2, 1970, 35
native measures or strategies to abate such emissions.        F.R. 15623, 84 Stat. 2086, transferred to Administrator of




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Environmental Protection Agency functions vested by            priate and available facilities and resources
law in Secretary of Health, Education, and Welfare or          within the Federal Government.
in Department of Health, Education, and Welfare which
are administered through Environmental Health Serv-            (c) Consent of Congress to compacts
ice, including functions exercised by National Air Pol-          The consent of the Congress is hereby given to
lution Control Administration, and Environmental               two or more States to negotiate and enter into
Control Administration’s Bureau of Solid Waste Man-            agreements or compacts, not in conflict with
agement, Bureau of Water Hygiene, and Bureau of Ra-
                                                               any law or treaty of the United States, for (1)
diological Health, except insofar as functions carried
out by Bureau of Radiological Health pertain to regula-        cooperative effort and mutual assistance for the
tion of radiation from consumer products, including            prevention and control of air pollution and the
electronic product radiation, radiation as used in heal-       enforcement of their respective laws relating
ing arts, occupational exposure to radiation, and re-          thereto, and (2) the establishment of such agen-
search, technical assistance, and training related to ra-      cies, joint or otherwise, as they may deem desir-
diation from consumer products, radiation as used in           able for making effective such agreements or
healing arts, and occupational exposure to radiation.          compacts. No such agreement or compact shall
  NATIONAL INDUSTRIAL POLLUTION CONTROL COUNCIL                be binding or obligatory upon any State a party
                                                               thereto unless and until it has been approved by
  For provisions relating to establishment of National
                                                               Congress. It is the intent of Congress that no
Industrial Pollution Control Council, see Ex. Ord. No.
11523, Apr. 9, 1970, 35 F.R. 5993, set out as a note under     agreement or compact entered into between
section 4321 of this title.                                    States after November 21, 1967, which relates to
                                                               the control and abatement of air pollution in an
   FEDERAL COMPLIANCE WITH POLLUTION CONTROL                   air quality control region, shall provide for par-
                  STANDARDS                                    ticipation by a State which is not included (in
  For provisions relating to responsibility of head of         whole or in part) in such air quality control re-
each Executive agency for compliance with applicable           gion.
pollution control standards, see Ex. Ord. No. 12088, Oct.
13, 1978, 43 F.R. 47707, set out as a note under section       (July 14, 1955, ch. 360, title I, § 102, formerly § 2,
4321 of this title.                                            as added Pub. L. 88–206, § 1, Dec. 17, 1963, 77 Stat.
                                                               393; renumbered § 102, Pub. L. 89–272, title I,
               EXECUTIVE ORDER NO. 10779                       § 101(3), Oct. 20, 1965, 79 Stat. 992; amended Pub.
  Ex. Ord. No. 10779, Aug. 21, 1958, 23 F.R. 6487, which re-   L. 90–148, § 2, Nov. 21, 1967, 81 Stat. 485; Pub. L.
lated to cooperation of Federal agencies with State and        91–604, § 15(c)(2), Dec. 31, 1970, 84 Stat. 1713.)
local authorities, was superseded by Ex. Ord. No. 11282,
May 26, 1966, 31 F.R. 7663, formerly set out under sec-                             Editorial Notes
tion 7418 of this title.
                                                                                     CODIFICATION
               EXECUTIVE ORDER NO. 11507
                                                                 Section was formerly classified to section 1857a of
  Ex. Ord. No. 11507, Feb. 4, 1970, 35 F.R. 2573, which pro-   this title.
vided for prevention, control, and abatement of air pol-
                                                                                   PRIOR PROVISIONS
lution at Federal facilities, was superseded by Ex. Ord.
No. 11752, Dec. 17, 1973, 38 F.R. 34793, formerly set out        Provisions similar to those in the first clause of sub-
as a note under section 4331 of this title.                    sec. (a) of this section were contained in subsec. (b)(1)
                                                               of a prior section 1857a, of this title, act July 14, 1955,
PROMOTING DOMESTIC MANUFACTURING AND JOB CRE-                  ch. 360, § 2, 69 Stat. 322, prior to the general amendment
 ATION—POLICIES AND PROCEDURES RELATING TO IMPLE-              of this chapter by Pub. L. 88–206.
 MENTATION OF AIR QUALITY STANDARDS
                                                                                     AMENDMENTS
  Memorandum of President of the United States, Apr.
12, 2018, 83 F.R. 16761, which related to State Implemen-        1970—Subsecs. (a), (b). Pub. L. 91–604 substituted ‘‘Ad-
tation Plans for the Regional Haze Program, was re-            ministrator’’ for ‘‘Secretary’’ wherever appearing.
voked by Ex. Ord. No. 13990, § 7(d), Jan. 20, 2021, 86 F.R.      1967—Subsec. (c). Pub. L. 90–148 inserted declaration
7042, set out in a note under section 4321 of this title.      that it is the intent of Congress that no agreement or
                                                               compact entered into between States after the date of
§ 7402. Cooperative activities                                 enactment of the Air Quality Act of 1967, which for pur-
                                                               poses of codification was changed to November 21, 1967,
(a) Interstate cooperation; uniform State laws;                the date of approval of such Act, relating to the control
    State compacts                                             and abatement of air pollution in an air quality control
                                                               region, shall provide for participation by a State which
  The Administrator shall encourage coopera-                   is not included (in whole or in part) in such air quality
tive activities by the States and local govern-                control region.
ments for the prevention and control of air pol-
lution; encourage the enactment of improved                    § 7403. Research, investigation, training, and
and, so far as practicable in the light of varying                 other activities
conditions and needs, uniform State and local                  (a) Research and development program for pre-
laws relating to the prevention and control of                     vention and control of air pollution
air pollution; and encourage the making of
agreements and compacts between States for                       The Administrator shall establish a national
the prevention and control of air pollution.                   research and development program for the pre-
                                                               vention and control of air pollution and as part
(b) Federal cooperation                                        of such program shall—
  The Administrator shall cooperate with and                       (1) conduct, and promote the coordination
encourage cooperative activities by all Federal                  and acceleration of, research, investigations,
departments and agencies having functions re-                    experiments, demonstrations, surveys, and
lating to the prevention and control of air pollu-               studies relating to the causes, effects (includ-
tion, so as to assure the utilization in the Fed-                ing health and welfare effects), extent, preven-
eral air pollution control program of all appro-                 tion, and control of air pollution;




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other actions duly issued, made, or taken by or pursu-           ant, a plan which provides for implementation,
ant to act July 14, 1955, the Clean Air Act, as in effect        maintenance, and enforcement of such primary
immediately prior to the date of enactment of Pub. L.            standard in each air quality control region (or
95–95 [Aug. 7, 1977] to continue in full force and effect
until modified or rescinded in accordance with act July
                                                                 portion thereof) within such State. In addition,
14, 1955, as amended by Pub. L. 95–95 [this chapter], see        such State shall adopt and submit to the Admin-
section 406(b) of Pub. L. 95–95, set out as an Effective         istrator (either as a part of a plan submitted
Date of 1977 Amendment note under section 7401 of this           under the preceding sentence or separately)
title.                                                           within 3 years (or such shorter period as the Ad-
        TERMINATION OF ADVISORY COMMITTEES                       ministrator may prescribe) after the promulga-
                                                                 tion of a national ambient air quality secondary
  Advisory committees established after Jan. 5, 1973, to         standard (or revision thereof), a plan which pro-
terminate not later than the expiration of the 2-year
                                                                 vides for implementation, maintenance, and en-
period beginning on the date of their establishment,
unless, in the case of a committee established by the            forcement of such secondary standard in each
President or an officer of the Federal Government, such          air quality control region (or portion thereof)
committee is renewed by appropriate action prior to              within such State. Unless a separate public
the expiration of such 2-year period, or in the case of          hearing is provided, each State shall consider its
a committee established by the Congress, its duration            plan implementing such secondary standard at
is otherwise provided for by law. See section 14 of Pub.         the hearing required by the first sentence of this
L. 92–463, Oct. 6, 1972, 86 Stat. 776, set out in the Appen-     paragraph.
dix to Title 5, Government Organization and Employ-                (2) Each implementation plan submitted by a
ees.
                                                                 State under this chapter shall be adopted by the
            ROLE OF SECONDARY STANDARDS                          State after reasonable notice and public hear-
  Pub. L. 101–549, title VIII, § 817, Nov. 15, 1990, 104 Stat.   ing. Each such plan shall—
2697, provided that:                                                 (A) include enforceable emission limitations
  ‘‘(a) REPORT.—The Administrator shall request the                and other control measures, means, or tech-
National Academy of Sciences to prepare a report to                niques (including economic incentives such as
the Congress on the role of national secondary ambient             fees, marketable permits, and auctions of
air quality standards in protecting welfare and the en-            emissions rights), as well as schedules and
vironment. The report shall:                                       timetables for compliance, as may be nec-
     ‘‘(1) include information on the effects on welfare
                                                                   essary or appropriate to meet the applicable
  and the environment which are caused by ambient
  concentrations of pollutants listed pursuant to sec-             requirements of this chapter;
  tion 108 [42 U.S.C. 7408] and other pollutants which               (B) provide for establishment and operation
  may be listed;                                                   of appropriate devices, methods, systems, and
     ‘‘(2) estimate welfare and environmental costs in-            procedures necessary to—
  curred as a result of such effects;                                  (i) monitor, compile, and analyze data on
     ‘‘(3) examine the role of secondary standards and               ambient air quality, and
  the State implementation planning process in pre-                    (ii) upon request, make such data available
  venting such effects;                                              to the Administrator;
     ‘‘(4) determine ambient concentrations of each such
  pollutant which would be adequate to protect welfare              (C) include a program to provide for the en-
  and the environment from such effects;                          forcement of the measures described in sub-
     ‘‘(5) estimate the costs and other impacts of meet-          paragraph (A), and regulation of the modifica-
  ing secondary standards; and                                    tion and construction of any stationary source
     ‘‘(6) consider other means consistent with the goals         within the areas covered by the plan as nec-
  and objectives of the Clean Air Act [42 U.S.C. 7401 et          essary to assure that national ambient air
  seq.] which may be more effective than secondary
  standards in preventing or mitigating such effects.
                                                                  quality standards are achieved, including a
  ‘‘(b) SUBMISSION TO CONGRESS; COMMENTS; AUTHORIZA-              permit program as required in parts C and D;
TION.—(1) The report shall be transmitted to the Con-               (D) contain adequate provisions—
gress not later than 3 years after the date of enactment              (i) prohibiting, consistent with the provi-
of the Clean Air Act Amendments of 1990 [Nov. 15, 1990].            sions of this subchapter, any source or other
  ‘‘(2) At least 90 days before issuing a report the Ad-            type of emissions activity within the State
ministrator shall provide an opportunity for public                 from emitting any air pollutant in amounts
comment on the proposed report. The Administrator                   which will—
shall include in the final report a summary of the com-                  (I) contribute significantly to nonattain-
ments received on the proposed report.
                                                                      ment in, or interfere with maintenance by,
  ‘‘(3) There are authorized to be appropriated such
sums as are necessary to carry out this section.’’                    any other State with respect to any such
                                                                      national primary or secondary ambient air
§ 7410. State implementation plans for national                       quality standard, or
    primary and secondary ambient air quality                            (II) interfere with measures required to
    standards                                                         be included in the applicable implementa-
(a) Adoption of plan by State; submission to Ad-                      tion plan for any other State under part C
    ministrator; content of plan; revision; new                       to prevent significant deterioration of air
    sources; indirect source review program;                          quality or to protect visibility,
    supplemental or intermittent control systems                      (ii) insuring compliance with the applica-
  (1) Each State shall, after reasonable notice                     ble requirements of sections 7426 and 7415 of
and public hearings, adopt and submit to the Ad-                    this title (relating to interstate and inter-
ministrator, within 3 years (or such shorter pe-                    national pollution abatement);
riod as the Administrator may prescribe) after                      (E) provide (i) necessary assurances that the
the promulgation of a national primary ambient                    State (or, except where the Administrator
air quality standard (or any revision thereof)                    deems inappropriate, the general purpose local
under section 7409 of this title for any air pollut-              government or governments, or a regional




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  agency designated by the State or general pur-            (L) require the owner or operator of each
  pose local governments for such purpose) will           major stationary source to pay to the permit-
  have adequate personnel, funding, and author-           ting authority, as a condition of any permit
  ity under State (and, as appropriate, local) law        required under this chapter, a fee sufficient to
  to carry out such implementation plan (and is           cover—
  not prohibited by any provision of Federal or               (i) the reasonable costs of reviewing and
  State law from carrying out such implementa-              acting upon any application for such a per-
  tion plan or portion thereof), (ii) requirements          mit, and
  that the State comply with the requirements                 (ii) if the owner or operator receives a per-
  respecting State boards under section 7428 of             mit for such source, the reasonable costs of
  this title, and (iii) necessary assurances that,          implementing and enforcing the terms and
  where the State has relied on a local or re-              conditions of any such permit (not including
  gional government, agency, or instrumen-                  any court costs or other costs associated
  tality for the implementation of any plan pro-            with any enforcement action),
  vision, the State has responsibility for ensur-         until such fee requirement is superseded with
  ing adequate implementation of such plan pro-           respect to such sources by the Administrator’s
  vision;                                                 approval of a fee program under subchapter V;
    (F) require, as may be prescribed by the Ad-
                                                          and
  ministrator—
                                                            (M) provide for consultation and participa-
      (i) the installation, maintenance, and re-
                                                          tion by local political subdivisions affected by
    placement of equipment, and the implemen-
                                                          the plan.
    tation of other necessary steps, by owners or
    operators of stationary sources to monitor             (3)(A) Repealed. Pub. L. 101–549, title I,
    emissions from such sources,                        § 101(d)(1), Nov. 15, 1990, 104 Stat. 2409.
      (ii) periodic reports on the nature and              (B) As soon as practicable, the Administrator
    amounts of emissions and emissions-related          shall, consistent with the purposes of this chap-
    data from such sources, and                         ter and the Energy Supply and Environmental
      (iii) correlation of such reports by the          Coordination Act of 1974 [15 U.S.C. 791 et seq.],
    State agency with any emission limitations          review each State’s applicable implementation
    or standards established pursuant to this           plans and report to the State on whether such
    chapter, which reports shall be available at        plans can be revised in relation to fuel burning
    reasonable times for public inspection;             stationary sources (or persons supplying fuel to
    (G) provide for authority comparable to that        such sources) without interfering with the at-
  in section 7603 of this title and adequate con-       tainment and maintenance of any national am-
  tingency plans to implement such authority;           bient air quality standard within the period per-
    (H) provide for revision of such plan—              mitted in this section. If the Administrator de-
      (i) from time to time as may be necessary         termines that any such plan can be revised, he
    to take account of revisions of such national       shall notify the State that a plan revision may
    primary or secondary ambient air quality            be submitted by the State. Any plan revision
    standard or the availability of improved or         which is submitted by the State shall, after pub-
    more expeditious methods of attaining such          lic notice and opportunity for public hearing, be
    standard, and                                       approved by the Administrator if the revision
      (ii) except as provided in paragraph (3)(C),      relates only to fuel burning stationary sources
    whenever the Administrator finds on the             (or persons supplying fuel to such sources), and
    basis of information available to the Admin-        the plan as revised complies with paragraph (2)
    istrator that the plan is substantially inad-       of this subsection. The Administrator shall ap-
    equate to attain the national ambient air           prove or disapprove any revision no later than
    quality standard which it implements or to          three months after its submission.
    otherwise comply with any additional re-               (C) Neither the State, in the case of a plan (or
    quirements established under this chapter;          portion thereof) approved under this subsection,
                                                        nor the Administrator, in the case of a plan (or
    (I) in the case of a plan or plan revision for
                                                        portion thereof) promulgated under subsection
  an area designated as a nonattainment area,
                                                        (c), shall be required to revise an applicable im-
  meet the applicable requirements of part D
                                                        plementation plan because one or more exemp-
  (relating to nonattainment areas);
    (J) meet the applicable requirements of sec-        tions under section 7418 of this title (relating to
  tion 7421 of this title (relating to consulta-        Federal facilities), enforcement orders under
  tion), section 7427 of this title (relating to pub-   section 7413(d) 1 of this title, suspensions under
  lic notification), and part C (relating to pre-       subsection (f) or (g) (relating to temporary en-
  vention of significant deterioration of air           ergy or economic authority), orders under sec-
  quality and visibility protection);                   tion 7419 of this title (relating to primary non-
    (K) provide for—                                    ferrous smelters), or extensions of compliance in
      (i) the performance of such air quality           decrees entered under section 7413(e) 1 of this
    modeling as the Administrator may pre-              title (relating to iron- and steel-producing oper-
    scribe for the purpose of predicting the ef-        ations) have been granted, if such plan would
    fect on ambient air quality of any emissions        have met the requirements of this section if no
    of any air pollutant for which the Adminis-         such exemptions, orders, or extensions had been
    trator has established a national ambient           granted.
    air quality standard, and                              (4) Repealed. Pub. L. 101–549, title I, § 101(d)(2),
      (ii) the submission, upon request, of data        Nov. 15, 1990, 104 Stat. 2409.
    related to such air quality modeling to the
    Administrator;                                       1 See   References in Text note below.




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   (5)(A)(i) Any State may include in a State im-       (b) Extension of period for submission of plans
plementation plan, but the Administrator may              The Administrator may, wherever he deter-
not require as a condition of approval of such          mines necessary, extend the period for submis-
plan under this section, any indirect source re-        sion of any plan or portion thereof which imple-
view program. The Administrator may approve             ments a national secondary ambient air quality
and enforce, as part of an applicable implemen-         standard for a period not to exceed 18 months
tation plan, an indirect source review program
                                                        from the date otherwise required for submission
which the State chooses to adopt and submit as
                                                        of such plan.
part of its plan.
   (ii) Except as provided in subparagraph (B), no      (c) Preparation and publication by Adminis-
plan promulgated by the Administrator shall in-             trator of proposed regulations setting forth
clude any indirect source review program for                implementation plan; transportation regula-
any air quality control region, or portion there-           tions study and report; parking surcharge;
of.                                                         suspension authority; plan implementation
   (iii) Any State may revise an applicable imple-        (1) The Administrator shall promulgate a Fed-
mentation plan approved under this subsection           eral implementation plan at any time within 2
to suspend or revoke any such program included          years after the Administrator—
in such plan, provided that such plan meets the             (A) finds that a State has failed to make a
requirements of this section.                             required submission or finds that the plan or
   (B) The Administrator shall have the author-           plan revision submitted by the State does not
ity to promulgate, implement and enforce regu-            satisfy the minimum criteria established
lations under subsection (c) respecting indirect
                                                          under subsection (k)(1)(A), or
source review programs which apply only to fed-
                                                            (B) disapproves a State implementation plan
erally assisted highways, airports, and other
                                                          submission in whole or in part,
major federally assisted indirect sources and
federally owned or operated indirect sources.           unless the State corrects the deficiency, and the
   (C) For purposes of this paragraph, the term         Administrator approves the plan or plan revi-
‘‘indirect source’’ means a facility, building,         sion, before the Administrator promulgates such
structure, installation, real property, road, or        Federal implementation plan.
highway which attracts, or may attract, mobile             (2)(A) Repealed. Pub. L. 101–549, title I,
sources of pollution. Such term includes parking        § 101(d)(3)(A), Nov. 15, 1990, 104 Stat. 2409.
lots, parking garages, and other facilities sub-           (B) No parking surcharge regulation may be
ject to any measure for management of parking           required by the Administrator under paragraph
supply (within the meaning of subsection                (1) of this subsection as a part of an applicable
(c)(2)(D)(ii)), including regulation of existing off-   implementation plan. All parking surcharge reg-
street parking but such term does not include           ulations previously required by the Adminis-
new or existing on-street parking. Direct emis-         trator shall be void upon June 22, 1974. This sub-
sions sources or facilities at, within, or associ-      paragraph shall not prevent the Administrator
ated with, any indirect source shall not be             from approving parking surcharges if they are
deemed indirect sources for the purpose of this         adopted and submitted by a State as part of an
paragraph.                                              applicable implementation plan. The Adminis-
   (D) For purposes of this paragraph the term          trator may not condition approval of any imple-
‘‘indirect source review program’’ means the fa-        mentation plan submitted by a State on such
cility-by-facility review of indirect sources of
                                                        plan’s including a parking surcharge regulation.
air pollution, including such measures as are
                                                           (C) Repealed. Pub. L. 101–549, title I,
necessary to assure, or assist in assuring, that a
                                                        § 101(d)(3)(B), Nov. 15, 1990, 104 Stat. 2409.
new or modified indirect source will not attract
                                                           (D) For purposes of this paragraph—
mobile sources of air pollution, the emissions
                                                             (i) The term ‘‘parking surcharge regulation’’
from which would cause or contribute to air pol-
                                                           means a regulation imposing or requiring the
lution concentrations—
      (i) exceeding any national primary ambient           imposition of any tax, surcharge, fee, or other
   air quality standard for a mobile source-re-            charge on parking spaces, or any other area
   lated air pollutant after the primary standard          used for the temporary storage of motor vehi-
   attainment date, or                                     cles.
      (ii) preventing maintenance of any such                (ii) The term ‘‘management of parking sup-
   standard after such date.                               ply’’ shall include any requirement providing
                                                           that any new facility containing a given num-
  (E) For purposes of this paragraph and para-             ber of parking spaces shall receive a permit or
graph (2)(B), the term ‘‘transportation control            other prior approval, issuance of which is to be
measure’’ does not include any measure which is            conditioned on air quality considerations.
an ‘‘indirect source review program’’.                       (iii) The term ‘‘preferential bus/carpool
  (6) No State plan shall be treated as meeting
                                                           lane’’ shall include any requirement for the
the requirements of this section unless such
                                                           setting aside of one or more lanes of a street
plan provides that in the case of any source
                                                           or highway on a permanent or temporary basis
which uses a supplemental, or intermittent con-
                                                           for the exclusive use of buses or carpools, or
trol system for purposes of meeting the require-
                                                           both.
ments of an order under section 7413(d) 1 of this
title or section 7419 of this title (relating to pri-     (E) No standard, plan, or requirement, relating
mary nonferrous smelter orders), the owner or           to management of parking supply or pref-
operator of such source may not temporarily re-         erential bus/carpool lanes shall be promulgated
duce the pay of any employee by reason of the           after June 22, 1974, by the Administrator pursu-
use of such supplemental or intermittent or             ant to this section, unless such promulgation
other dispersion dependent control system.              has been subjected to at least one public hearing




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which has been held in the area affected and for          (A) a temporary suspension of any part of
which reasonable notice has been given in such          the applicable implementation plan or of any
area. If substantial changes are made following         requirement under section 7651j of this title
public hearings, one or more additional hearings        (concerning excess emissions penalties or off-
shall be held in such area after such notice.           sets) may be necessary, and
   (3) Upon application of the chief executive of-        (B) other means of responding to the energy
ficer of any general purpose unit of local govern-      emergency may be inadequate.
ment, if the Administrator determines that such
                                                      Such determination shall not be delegable by
unit has adequate authority under State or local
                                                      the President to any other person. If the Presi-
law, the Administrator may delegate to such
                                                      dent determines that a national or regional en-
unit the authority to implement and enforce
                                                      ergy emergency of such severity exists, a tem-
within the jurisdiction of such unit any part of
                                                      porary emergency suspension of any part of an
a plan promulgated under this subsection. Noth-
                                                      applicable implementation plan or of any re-
ing in this paragraph shall prevent the Adminis-
                                                      quirement under section 7651j of this title (con-
trator from implementing or enforcing any ap-
                                                      cerning excess emissions penalties or offsets)
plicable provision of a plan promulgated under
                                                      adopted by the State may be issued by the Gov-
this subsection.
                                                      ernor of any State covered by the President’s
   (4) Repealed. Pub. L. 101–549, title I,
                                                      determination under the condition specified in
§ 101(d)(3)(C), Nov. 15, 1990, 104 Stat. 2409.
                                                      paragraph (2) and may take effect immediately.
   (5)(A) Any measure in an applicable implemen-
                                                         (2) A temporary emergency suspension under
tation plan which requires a toll or other charge
                                                      this subsection shall be issued to a source only
for the use of a bridge located entirely within
                                                      if the Governor of such State finds that—
one city shall be eliminated from such plan by
                                                           (A) there exists in the vicinity of such
the Administrator upon application by the Gov-
                                                         source a temporary energy emergency involv-
ernor of the State, which application shall in-
                                                         ing high levels of unemployment or loss of
clude a certification by the Governor that he
                                                         necessary energy supplies for residential
will revise such plan in accordance with sub-
                                                         dwellings; and
paragraph (B).
                                                           (B) such unemployment or loss can be to-
   (B) In the case of any applicable implementa-
                                                         tally or partially alleviated by such emer-
tion plan with respect to which a measure has
                                                         gency suspension.
been eliminated under subparagraph (A), such
plan shall, not later than one year after August      Not more than one such suspension may be
7, 1977, be revised to include comprehensive          issued for any source on the basis of the same
measures to:                                          set of circumstances or on the basis of the same
     (i) establish, expand, or improve public         emergency.
   transportation measures to meet basic trans-         (3) A temporary emergency suspension issued
   portation needs, as expeditiously as is prac-      by a Governor under this subsection shall re-
   ticable; and                                       main in effect for a maximum of four months or
     (ii) implement transportation control meas-      such lesser period as may be specified in a dis-
   ures necessary to attain and maintain na-          approval order of the Administrator, if any. The
   tional ambient air quality standards,              Administrator may disapprove such suspension
                                                      if he determines that it does not meet the re-
and such revised plan shall, for the purpose of
                                                      quirements of paragraph (2).
implementing such comprehensive public trans-
                                                        (4) This subsection shall not apply in the case
portation measures, include requirements to use
                                                      of a plan provision or requirement promulgated
(insofar as is necessary) Federal grants, State or
                                                      by the Administrator under subsection (c) of
local funds, or any combination of such grants
                                                      this section, but in any such case the President
and funds as may be consistent with the terms
                                                      may grant a temporary emergency suspension
of the legislation providing such grants and
                                                      for a four month period of any such provision or
funds. Such measures shall, as a substitute for
                                                      requirement if he makes the determinations and
the tolls or charges eliminated under subpara-
                                                      findings specified in paragraphs (1) and (2).
graph (A), provide for emissions reductions
                                                        (5) The Governor may include in any tem-
equivalent to the reductions which may reason-
                                                      porary emergency suspension issued under this
ably be expected to be achieved through the use
                                                      subsection a provision delaying for a period
of the tolls or charges eliminated.
                                                      identical to the period of such suspension any
  (C) Any revision of an implementation plan for
                                                      compliance schedule (or increment of progress)
purposes of meeting the requirements of sub-
                                                      to which such source is subject under section
paragraph (B) shall be submitted in coordination
                                                      1857c–10 1 of this title, as in effect before August
with any plan revision required under part D.         7, 1977, or section 7413(d) 1 of this title, upon a
(d), (e) Repealed. Pub. L. 101–549, title I,          finding that such source is unable to comply
    § 101(d)(4), (5), Nov. 15, 1990, 104 Stat. 2409   with such schedule (or increment) solely because
(f) National or regional energy emergencies; de-      of the conditions on the basis of which a suspen-
     termination by President                         sion was issued under this subsection.
   (1) Upon application by the owner or operator      (g) Governor’s authority to issue temporary
of a fuel burning stationary source, and after no-        emergency suspensions
tice and opportunity for public hearing, the            (1) In the case of any State which has adopted
Governor of the State in which such source is lo-     and submitted to the Administrator a proposed
cated may petition the President to determine         plan revision which the State determines—
that a national or regional energy emergency              (A) meets the requirements of this section,
exists of such severity that—                           and




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   (B) is necessary (i) to prevent the closing for    (j) Technological systems of continuous emission
 one year or more of any source of air pollu-              reduction on new or modified stationary
 tion, and (ii) to prevent substantial increases           sources; compliance with performance stand-
 in unemployment which would result from                   ards
 such closing, and                                       As a condition for issuance of any permit re-
                                                      quired under this subchapter, the owner or oper-
which the Administrator has not approved or
                                                      ator of each new or modified stationary source
disapproved under this section within 12 months
                                                      which is required to obtain such a permit must
of submission of the proposed plan revision, the
                                                      show to the satisfaction of the permitting au-
Governor may issue a temporary emergency sus-
                                                      thority that the technological system of contin-
pension of the part of the applicable implemen-       uous emission reduction which is to be used at
tation plan for such State which is proposed to       such source will enable it to comply with the
be revised with respect to such source. The de-       standards of performance which are to apply to
termination under subparagraph (B) may not be         such source and that the construction or modi-
made with respect to a source which would close       fication and operation of such source will be in
without regard to whether or not the proposed         compliance with all other requirements of this
plan revision is approved.                            chapter.
  (2) A temporary emergency suspension issued         (k) Environmental Protection Agency action on
by a Governor under this subsection shall re-              plan submissions
main in effect for a maximum of four months or           (1) Completeness of plan submissions
such lesser period as may be specified in a dis-
                                                           (A) Completeness criteria
approval order of the Administrator. The Ad-
ministrator may disapprove such suspension if                Within 9 months after November 15, 1990,
he determines that it does not meet the require-           the Administrator shall promulgate min-
ments of this subsection.                                  imum criteria that any plan submission
                                                           must meet before the Administrator is re-
  (3) The Governor may include in any tem-                 quired to act on such submission under this
porary emergency suspension issued under this              subsection. The criteria shall be limited to
subsection a provision delaying for a period               the information necessary to enable the Ad-
identical to the period of such suspension any             ministrator to determine whether the plan
compliance schedule (or increment of progress)             submission complies with the provisions of
to which such source is subject under section              this chapter.
1857c–10 1 of this title as in effect before August
                                                           (B) Completeness finding
7, 1977, or under section 7413(d) 1 of this title
upon a finding that such source is unable to                 Within 60 days of the Administrator’s re-
comply with such schedule (or increment) solely            ceipt of a plan or plan revision, but no later
because of the conditions on the basis of which            than 6 months after the date, if any, by
a suspension was issued under this subsection.             which a State is required to submit the plan
                                                           or revision, the Administrator shall deter-
(h) Publication of comprehensive document for              mine whether the minimum criteria estab-
    each State setting forth requirements of ap-           lished pursuant to subparagraph (A) have
    plicable implementation plan                           been met. Any plan or plan revision that a
                                                           State submits to the Administrator, and
  (1) Not later than 5 years after November 15,            that has not been determined by the Admin-
1990, and every 3 years thereafter, the Adminis-           istrator (by the date 6 months after receipt
trator shall assemble and publish a comprehen-             of the submission) to have failed to meet the
sive document for each State setting forth all             minimum criteria established pursuant to
requirements of the applicable implementation              subparagraph (A), shall on that date be
plan for such State and shall publish notice in            deemed by operation of law to meet such
the Federal Register of the availability of such           minimum criteria.
documents.                                                 (C) Effect of finding of incompleteness
  (2) The Administrator may promulgate such                  Where the Administrator determines that
regulations as may be reasonably necessary to              a plan submission (or part thereof) does not
carry out the purpose of this subsection.                  meet the minimum criteria established pur-
                                                           suant to subparagraph (A), the State shall be
(i) Modification of requirements prohibited                treated as not having made the submission
                                                           (or, in the Administrator’s discretion, part
  Except for a primary nonferrous smelter order
                                                           thereof).
under section 7419 of this title, a suspension
under subsection (f) or (g) (relating to emer-           (2) Deadline for action
gency suspensions), an exemption under section             Within 12 months of a determination by the
7418 of this title (relating to certain Federal fa-      Administrator (or a determination deemed by
cilities), an order under section 7413(d) 1 of this      operation of law) under paragraph (1) that a
title (relating to compliance orders), a plan pro-       State has submitted a plan or plan revision
mulgation under subsection (c), or a plan revi-          (or, in the Administrator’s discretion, part
sion under subsection (a)(3); no order, suspen-          thereof) that meets the minimum criteria es-
sion, plan revision, or other action modifying           tablished pursuant to paragraph (1), if applica-
any requirement of an applicable implementa-             ble (or, if those criteria are not applicable,
tion plan may be taken with respect to any sta-          within 12 months of submission of the plan or
tionary source by the State or by the Adminis-           revision), the Administrator shall act on the
trator.                                                  submission in accordance with paragraph (3).




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   (3) Full and partial approval and disapproval         adopted by such State after reasonable notice
     In the case of any submittal on which the           and public hearing. The Administrator shall not
   Administrator is required to act under para-          approve a revision of a plan if the revision would
   graph (2), the Administrator shall approve            interfere with any applicable requirement con-
   such submittal as a whole if it meets all of the      cerning attainment and reasonable further
   applicable requirements of this chapter. If a         progress (as defined in section 7501 of this title),
   portion of the plan revision meets all the ap-        or any other applicable requirement of this
   plicable requirements of this chapter, the Ad-        chapter.
   ministrator may approve the plan revision in          (m) Sanctions
   part and disapprove the plan revision in part.          The Administrator may apply any of the sanc-
   The plan revision shall not be treated as meet-       tions listed in section 7509(b) of this title at any
   ing the requirements of this chapter until the        time (or at any time after) the Administrator
   Administrator approves the entire plan revi-          makes a finding, disapproval, or determination
   sion as complying with the applicable require-        under paragraphs (1) through (4), respectively, of
   ments of this chapter.                                section 7509(a) of this title in relation to any
   (4) Conditional approval                              plan or plan item (as that term is defined by the
     The Administrator may approve a plan revi-          Administrator) required under this chapter,
   sion based on a commitment of the State to            with respect to any portion of the State the Ad-
   adopt specific enforceable measures by a date         ministrator determines reasonable and appro-
   certain, but not later than 1 year after the          priate, for the purpose of ensuring that the re-
   date of approval of the plan revision. Any such       quirements of this chapter relating to such plan
   conditional approval shall be treated as a dis-       or plan item are met. The Administrator shall,
   approval if the State fails to comply with such       by rule, establish criteria for exercising his au-
   commitment.                                           thority under the previous sentence with respect
                                                         to any deficiency referred to in section 7509(a) of
   (5) Calls for plan revisions                          this title to ensure that, during the 24-month pe-
     Whenever the Administrator finds that the           riod following the finding, disapproval, or deter-
   applicable implementation plan for any area is        mination referred to in section 7509(a) of this
   substantially inadequate to attain or main-           title, such sanctions are not applied on a state-
   tain the relevant national ambient air quality        wide basis where one or more political subdivi-
   standard, to mitigate adequately the inter-           sions covered by the applicable implementation
   state pollutant transport described in section        plan are principally responsible for such defi-
   7506a of this title or section 7511c of this title,   ciency.
   or to otherwise comply with any requirement           (n) Savings clauses
   of this chapter, the Administrator shall re-            (1) Existing plan provisions
   quire the State to revise the plan as necessary
   to correct such inadequacies. The Adminis-                Any provision of any applicable implementa-
   trator shall notify the State of the inadequa-          tion plan that was approved or promulgated by
   cies, and may establish reasonable deadlines            the Administrator pursuant to this section as
   (not to exceed 18 months after the date of such         in effect before November 15, 1990, shall re-
   notice) for the submission of such plan revi-           main in effect as part of such applicable im-
   sions. Such findings and notice shall be public.        plementation plan, except to the extent that a
   Any finding under this paragraph shall, to the          revision to such provision is approved or pro-
   extent the Administrator deems appropriate,             mulgated by the Administrator pursuant to
   subject the State to the requirements of this           this chapter.
   chapter to which the State was subject when             (2) Attainment dates
   it developed and submitted the plan for which             For any area not designated nonattainment,
   such finding was made, except that the Ad-              any plan or plan revision submitted or re-
   ministrator may adjust any dates applicable             quired to be submitted by a State—
   under such requirements as appropriate (ex-                  (A) in response to the promulgation or re-
   cept that the Administrator may not adjust                vision of a national primary ambient air
   any attainment date prescribed under part D,              quality standard in effect on November 15,
   unless such date has elapsed).                            1990, or
   (6) Corrections                                              (B) in response to a finding of substantial
     Whenever the Administrator determines                   inadequacy under subsection (a)(2) (as in ef-
   that the Administrator’s action approving,                fect immediately before November 15, 1990),
   disapproving, or promulgating any plan or               shall provide for attainment of the national
   plan revision (or part thereof), area designa-          primary ambient air quality standards within
   tion, redesignation, classification, or reclassi-       3 years of November 15, 1990, or within 5 years
   fication was in error, the Administrator may            of issuance of such finding of substantial inad-
   in the same manner as the approval, dis-                equacy, whichever is later.
   approval, or promulgation revise such action            (3) Retention of construction moratorium in
   as appropriate without requiring any further                certain areas
   submission from the State. Such determina-
   tion and the basis thereof shall be provided to           In the case of an area to which, immediately
   the State and public.                                   before November 15, 1990, the prohibition on
                                                           construction or modification of major sta-
(l) Plan revisions                                         tionary sources prescribed in subsection
   Each revision to an implementation plan sub-            (a)(2)(I) (as in effect immediately before No-
mitted by a State under this chapter shall be              vember 15, 1990) applied by virtue of a finding




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  of the Administrator that the State con-                       Section 7413 of this title, referred to in subsecs.
  taining such area had not submitted an imple-                (a)(3)(C), (6), (f)(5), (g)(3), and (i), was amended gen-
  mentation plan meeting the requirements of                   erally by Pub. L. 101–549, title VII, § 701, Nov. 15, 1990,
                                                               104 Stat. 2672, and, as so amended, subsecs. (d) and (e)
  section 7502(b)(6) of this title (relating to es-
                                                               of section 7413 no longer relates to final compliance or-
  tablishment of a permit program) (as in effect               ders and steel industry compliance extension, respec-
  immediately before November 15, 1990) or                     tively.
  7502(a)(1) of this title (to the extent such re-               Section 1857c–10 of this title, as in effect before Au-
  quirements relate to provision for attainment                gust 7, 1977, referred to in subsecs. (f)(5) and (g)(3), was
  of the primary national ambient air quality                  in the original ‘‘section 119, as in effect before the date
  standard for sulfur oxides by December 31,                   of the enactment of this paragraph’’, meaning section
  1982) as in effect immediately before November               119 of act July 14, 1955, ch. 360, title I, as added June 22,
  15, 1990, no major stationary source of the rel-             1974, Pub. L. 93–319, § 3, 88 Stat. 248, (which was classi-
                                                               fied to section 1857c–10 of this title) as in effect prior to
  evant air pollutant or pollutants shall be con-
                                                               the enactment of subsecs. (f)(5) and (g)(3) of this section
  structed or modified in such area until the Ad-              by Pub. L. 95–95, § 107, Aug. 7, 1977, 91 Stat. 691, effective
  ministrator finds that the plan for such area                Aug. 7, 1977. Section 112(b)(1) of Pub. L. 95–95 repealed
  meets the applicable requirements of section                 section 119 of act July 14, 1955, ch. 360, title I, as added
  7502(c)(5) of this title (relating to permit pro-            by Pub. L. 93–319, and provided that all references to
  grams) or subpart 5 of part D (relating to at-               such section 119 in any subsequent enactment which su-
  tainment of the primary national ambient air                 persedes Pub. L. 93–319 shall be construed to refer to
  quality standard for sulfur dioxide), respec-                section 113(d) of the Clean Air Act and to paragraph (5)
  tively.                                                      thereof in particular which is classified to section
                                                               7413(d)(5) of this title. Section 7413 of this title was sub-
(o) Indian tribes                                              sequently amended generally by Pub. L. 101–549, title
  If an Indian tribe submits an implementation                 VII, § 701, Nov. 15, 1990, 104 Stat. 2672, see note above.
plan to the Administrator pursuant to section                  Section 117(b) of Pub. L. 95–95 added a new section 119
7601(d) of this title, the plan shall be reviewed in           of act July 14, 1955, which is classified to section 7419 of
accordance with the provisions for review set                  this title.
forth in this section for State plans, except as                                      CODIFICATION
otherwise provided by regulation promulgated                     Section was formerly classified to section 1857c–5 of
pursuant to section 7601(d)(2) of this title. When             this title.
such plan becomes effective in accordance with
the regulations promulgated under section                                           PRIOR PROVISIONS
7601(d) of this title, the plan shall become appli-              A prior section 110 of act July 14, 1955, was renum-
cable to all areas (except as expressly provided               bered section 117 by Pub. L. 91–604 and is classified to
otherwise in the plan) located within the exte-                section 7417 of this title.
rior boundaries of the reservation, notwith-                                          AMENDMENTS
standing the issuance of any patent and includ-
ing rights-of-way running through the reserva-                   1990—Subsec. (a)(1). Pub. L. 101–549, § 101(d)(8), sub-
tion.                                                          stituted ‘‘3 years (or such shorter period as the Admin-
                                                               istrator may prescribe)’’ for ‘‘nine months’’ in two
(p) Reports                                                    places.
  Any State shall submit, according to such                      Subsec. (a)(2). Pub. L. 101–549, § 101(b), amended par.
schedule as the Administrator may prescribe,                   (2) generally, substituting present provisions for provi-
such reports as the Administrator may require                  sions setting the time within which the Administrator
relating to emission reductions, vehicle miles                 was to approve or disapprove a plan or portion thereof
                                                               and listing the conditions under which the plan or por-
traveled, congestion levels, and any other infor-              tion thereof was to be approved after reasonable notice
mation the Administrator may deem necessary                    and hearing.
to assess the development 2 effectiveness, need                  Subsec. (a)(3)(A). Pub. L. 101–549, § 101(d)(1), struck
for revision, or implementation of any plan or                 out subpar. (A) which directed Administrator to ap-
plan revision required under this chapter.                     prove any revision of an implementation plan if it met
                                                               certain requirements and had been adopted by the
(July 14, 1955, ch. 360, title I, § 110, as added Pub.         State after reasonable notice and public hearings.
L. 91–604, § 4(a), Dec. 31, 1970, 84 Stat. 1680;                 Subsec. (a)(3)(D). Pub. L. 101–549, § 101(d)(1), struck
amended Pub. L. 93–319, § 4, June 22, 1974, 88 Stat.           out subpar. (D) which directed that certain implemen-
256; Pub. L. 95–95, title I, §§ 107, 108, Aug. 7, 1977,        tation plans be revised to include comprehensive meas-
91 Stat. 691, 693; Pub. L. 95–190, § 14(a)(1)–(6), Nov.        ures and requirements.
16, 1977, 91 Stat. 1399; Pub. L. 97–23, § 3, July 17,            Subsec. (a)(4). Pub. L. 101–549, § 101(d)(2), struck out
1981, 95 Stat. 142; Pub. L. 101–549, title I,                  par. (4) which set forth requirements for review proce-
§§ 101(b)–(d), 102(h), 107(c), 108(d), title IV, § 412,        dure.
Nov. 15, 1990, 104 Stat. 2404–2408, 2422, 2464, 2466,            Subsec. (c)(1). Pub. L. 101–549, § 102(h), amended par.
                                                               (1) generally, substituting present provisions for provi-
2634.)                                                         sions relating to preparation and publication of regula-
                                                               tions setting forth an implementation plan, after op-
                         Editorial Notes                       portunity for a hearing, upon failure of a State to make
                     REFERENCES IN TEXT                        required submission or revision.
                                                                 Subsec. (c)(2)(A). Pub. L. 101–549, § 101(d)(3)(A), struck
  The Energy Supply and Environmental Coordination
                                                               out subpar. (A) which required a study and report on
Act of 1974, referred to in subsec. (a)(3)(B), is Pub. L.
                                                               necessity of parking surcharge, management of parking
93–319, June 22, 1974, 88 Stat. 246, as amended, which is
                                                               supply, and preferential bus/carpool lane regulations to
classified principally to chapter 16C (§ 791 et seq.) of
                                                               achieve and maintain national primary ambient air
Title 15, Commerce and Trade. For complete classifica-
                                                               quality standards.
tion of this Act to the Code, see Short Title note set
                                                                 Subsec. (c)(2)(C). Pub. L. 101–549, § 101(d)(3)(B), struck
out under section 791 of Title 15 and Tables.
                                                               out subpar. (C) which authorized suspension of certain
                                                               regulations and requirements relating to management
 2 So   in original. Probably should be followed by a comma.   of parking supply.




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   Subsec. (c)(4). Pub. L. 101–549, § 101(d)(3)(C), struck out       Pub. L. 95–95, § 108(a)(6), inserted ‘‘except as provided
par. (4) which permitted Governors to temporarily sus-            in paragraph (3)(C),’’ after ‘‘or (ii)’’ and ‘‘or to other-
pend measures in implementation plans relating to ret-            wise comply with any additional requirements estab-
rofits, gas rationing, and reduction of on-street park-           lished under the Clean Air Act Amendments of 1977’’
ing.                                                              after ‘‘to achieve the national ambient air quality pri-
   Subsec. (c)(5)(B). Pub. L. 101–549, § 101(d)(3)(D), struck     mary or secondary standard which it implements’’.
out ‘‘(including the written evidence required by part               Subsec. (a)(2)(I). Pub. L. 95–95, § 108(b), added subpar.
D),’’ after ‘‘include comprehensive measures’’.                   (I).
   Subsec. (d). Pub. L. 101–549, § 101(d)(4), struck out sub-        Subsec. (a)(2)(J). Pub. L. 95–190, § 14(a)(2), substituted
sec. (d) which defined an applicable implementation               ‘‘; and’’ for ‘‘, and’’.
plan for purposes of this chapter.                                   Pub. L. 95–95, § 108(b), added subpar. (J).
   Subsec. (e). Pub. L. 101–549, § 101(d)(5), struck out sub-        Subsec. (a)(2)(K). Pub. L. 95–95, § 108(b) added subpar.
sec. (e) which permitted an extension of time for at-             (K).
tainment of a national primary ambient air quality                   Subsec. (a)(3)(C). Pub. L. 95–95, § 108(c), added subpar.
standard.                                                         (C).
   Subsec. (f)(1). Pub. L. 101–549, § 412, inserted ‘‘or of any      Subsec. (a)(3)(D). Pub. L. 95–190, § 14(a)(4), added sub-
requirement under section 7651j of this title (con-               par. (D).
cerning excess emissions penalties or offsets)’’ in sub-             Subsec. (a)(5). Pub. L. 95–95, § 108(e), added par. (5).
par. (A) and in last sentence.                                       Subsec. (a)(5)(D). Pub. L. 95–190, § 14(a)(3), struck out
   Subsec. (g)(1). Pub. L. 101–549, § 101(d)(6), substituted      ‘‘preconstruction or premodification’’ before ‘‘review’’.
‘‘12 months of submission of the proposed plan revi-                 Subsec. (a)(6). Pub. L. 95–95, § 108(e), added par. (6).
sion’’ for ‘‘the required four month period’’ in closing             Subsec. (c)(1). Pub. L. 95–95, § 108(d)(1), (2), substituted
provisions.                                                       ‘‘plan which meets the requirements of this section’’
   Subsec. (h)(1). Pub. L. 101–549, § 101(d)(7), substituted      for ‘‘plan for any national ambient air quality primary
‘‘5 years after November 15, 1990, and every three years          or secondary standard within the time prescribed’’ in
thereafter’’ for ‘‘one year after August 7, 1977, and an-         subpar. (A) and, in provisions following subpar. (C), di-
nually thereafter’’ and struck out at end ‘‘Each such             rected that any portion of a plan relating to any meas-
document shall be revised as frequently as practicable            ure described in first sentence of 7421 of this title (re-
but not less often than annually.’’                               lating to consultation) or the consultation process re-
   Subsecs. (k) to (n). Pub. L. 101–549, § 101(c), added sub-     quired under such section 7421 of this title not be re-
secs. (k) to (n).                                                 quired to be promulgated before the date eight months
   Subsec. (o). Pub. L. 101–549, § 107(c), added subsec. (o).     after such date required for submission.
   Subsec. (p). Pub. L. 101–549, § 108(d), added subsec. (p).        Subsec. (c)(3) to (5). Pub. L. 95–95, § 108(d)(3), added
   1981—Subsec. (a)(3)(C). Pub. L. 97–23 inserted ref-            pars. (3) to (5).
erence to extensions of compliance in decrees entered                Subsec. (d). Pub. L. 95–95, § 108(f), substituted ‘‘and
under section 7413(e) of this title (relating to iron- and        which implements the requirements of this section’’ for
steel-producing operations).                                      ‘‘and which implements a national primary or sec-
   1977—Subsec. (a)(2)(A). Pub. L. 95–95, § 108(a)(1), sub-
                                                                  ondary ambient air quality standard in a State’’.
stituted ‘‘(A) except as may be provided in subpara-
                                                                     Subsec. (f). Pub. L. 95–95, § 107(a), substituted provi-
graph (I)(i) in the case of a plan’’ for ‘‘(A)(i) in the case
                                                                  sions relating to the handling of national or regional
of a plan’’.
                                                                  energy emergencies for provisions relating to the post-
   Subsec. (a)(2)(B). Pub. L. 95–95, § 108(a)(2), substituted
                                                                  ponement of compliance by stationary sources or class-
‘‘transportation controls, air quality maintenance
                                                                  es of moving sources with any requirement of applica-
plans, and preconstruction review of direct sources of
                                                                  ble implementation plans.
air pollution as provided in subparagraph (D)’’ for
                                                                     Subsec. (g). Pub. L. 95–95, § 108(g), added subsec. (g) re-
‘‘land use and transportation controls’’.
                                                                  lating to publication of comprehensive document.
   Subsec. (a)(2)(D). Pub. L. 95–95, § 108(a)(3), substituted
                                                                     Pub. L. 95–95, § 107(b), added subsec. (g) relating to
‘‘it includes a program to provide for the enforcement
                                                                  Governor’s authority to issue temporary emergency
of emission limitations and regulation of the modifica-
                                                                  suspensions.
tion, construction, and operation of any stationary
                                                                     Subsec. (h). Pub. L. 95–190, § 14(a)(5), redesignated sub-
source, including a permit program as required in parts
                                                                  sec. (g), added by Pub. L. 95–95, § 108(g), as (h). Former
C and D and a permit or equivalent program for any
                                                                  subsec. (h) redesignated (i).
major emitting facility, within such region as nec-
                                                                     Subsec. (i). Pub. L. 95–190, § 14(a)(5), redesignated sub-
essary to assure (i) that national ambient air quality
                                                                  sec. (h), added by Pub. L. 95–95, § 108(g), as (i). Former
standards are achieved and maintained, and (ii) a pro-
                                                                  subsec. (i) redesignated (j) and amended.
cedure’’ for ‘‘it includes a procedure’’.
                                                                     Subsec. (j). Pub. L. 95–190 § 14(a)(5), (6), redesignated
   Subsec. (a)(2)(E). Pub. L. 95–95, § 108(a)(4), substituted
                                                                  subsec. (i), added by Pub. L. 95–95, § 108(g), as (j) and in
‘‘it contains adequate provisions (i) prohibiting any
                                                                  subsec. (j) as so redesignated, substituted ‘‘will enable
stationary source within the State from emitting any
                                                                  such source’’ for ‘‘at such source will enable it’’.
air pollutant in amounts which will (I) prevent attain-
                                                                     1974—Subsec. (a)(3). Pub. L. 93–319, § 4(a), designated
ment or maintenance by any other State of any such
                                                                  existing provisions as subpar. (A) and added subpar. (B).
national primary or secondary ambient air quality
                                                                     Subsec. (c). Pub. L. 93–319, § 4(b), designated existing
standard, or (II) interfere with measures required to be
                                                                  provisions as par. (1) and existing pars. (1), (2), and (3)
included in the applicable implementation plan for any
                                                                  as subpars. (A), (B), and (C), respectively, of such redes-
other State under part C to prevent significant deterio-
                                                                  ignated par. (1), and added par. (2).
ration of air quality or to protect visibility, and (ii) in-
suring compliance with the requirements of section
7426 of this title, relating to interstate pollution abate-              Statutory Notes and Related Subsidiaries
ment’’ for ‘‘it contains adequate provisions for inter-                     EFFECTIVE DATE OF 1977 AMENDMENT
governmental cooperation, including measures nec-
essary to insure that emissions of air pollutants from              Amendment by Pub. L. 95–95 effective Aug. 7, 1977, ex-
sources located in any air quality control region will            cept as otherwise expressly provided, see section 406(d)
not interfere with the attainment or maintenance of               of Pub. L. 95–95, set out as a note under section 7401 of
such primary or secondary standard in any portion of              this title.
such region outside of such State or in any other air                        PENDING ACTIONS AND PROCEEDINGS
quality control region’’.
   Subsec. (a)(2)(F). Pub. L. 95–95, § 108(a)(5), added cl.         Suits, actions, and other proceedings lawfully com-
(vi).                                                             menced by or against the Administrator or any other
   Subsec. (a)(2)(H). Pub. L. 95–190, § 14(a)(1), substituted     officer or employee of the United States in his official
‘‘1977;’’ for ‘‘1977’’.                                           capacity or in relation to the discharge of his official




                                                                                                                                A-13
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duties under act July 14, 1955, the Clean Air Act, as in         ministration established by Pub. L. 93–275, May 7, 1974,
effect immediately prior to the enactment of Pub. L.             88 Stat. 97, which is classified to section 761 et seq. of
95–95 [Aug. 7, 1977], not to abate by reason of the taking       Title 15, Commerce and Trade, but with the term to
effect of Pub. L. 95–95, see section 406(a) of Pub. L.           mean any officer of the United States designated as
95–95, set out as an Effective Date of 1977 Amendment            such by the President until Federal Energy Adminis-
note under section 7401 of this title.                           trator takes office and after Federal Energy Adminis-
MODIFICATION OR RESCISSION OF RULES, REGULATIONS,                tration ceases to exist, see section 798 of Title 15, Com-
 ORDERS,    DETERMINATIONS,  CONTRACTS,  CERTIFI-                merce and Trade.
                                                                   Federal Energy Administration terminated and func-
 CATIONS, AUTHORIZATIONS, DELEGATIONS, AND OTHER
                                                                 tions vested by law in Administrator thereof trans-
 ACTIONS
                                                                 ferred to Secretary of Energy (unless otherwise specifi-
  All rules, regulations, orders, determinations, con-           cally provided) by sections 7151(a) and 7293 of this title.
tracts, certifications, authorizations, delegations, or
other actions duly issued, made, or taken by or pursu-           § 7411. Standards of performance for new sta-
ant to act July 14, 1955, the Clean Air Act, as in effect            tionary sources
immediately prior to the date of enactment of Pub. L.
95–95 [Aug. 7, 1977] to continue in full force and effect        (a) Definitions
until modified or rescinded in accordance with act July            For purposes of this section:
14, 1955, as amended by Pub. L. 95–95 [this chapter], see            (1) The term ‘‘standard of performance’’
section 406(b) of Pub. L. 95–95, set out as an Effective           means a standard for emissions of air pollut-
Date of 1977 Amendment note under section 7401 of this
                                                                   ants which reflects the degree of emission lim-
title.
                                                                   itation achievable through the application of
MODIFICATION OR RESCISSION OF IMPLEMENTATION                       the best system of emission reduction which
 PLANS APPROVED AND IN EFFECT PRIOR TO AUG. 7,                     (taking into account the cost of achieving
 1977                                                              such reduction and any nonair quality health
  Nothing in the Clean Air Act Amendments of 1977                  and environmental impact and energy require-
[Pub. L. 95–95] to affect any requirement of an approved           ments) the Administrator determines has been
implementation plan under this section or any other
                                                                   adequately demonstrated.
provision in effect under this chapter before Aug. 7,
1977, until modified or rescinded in accordance with
                                                                     (2) The term ‘‘new source’’ means any sta-
this chapter as amended by the Clean Air Act Amend-                tionary source, the construction or modifica-
ments of 1977, see section 406(c) of Pub. L. 95–95, set out        tion of which is commenced after the publica-
as an Effective Date of 1977 Amendment note under sec-             tion of regulations (or, if earlier, proposed reg-
tion 7401 of this title.                                           ulations) prescribing a standard of perform-
                    SAVINGS PROVISION                              ance under this section which will be applica-
                                                                   ble to such source.
  Pub. L. 91–604, § 16, Dec. 31, 1970, 84 Stat. 1713, provided
                                                                     (3) The term ‘‘stationary source’’ means any
that:
  ‘‘(a)(1) Any implementation plan adopted by any                  building, structure, facility, or installation
State and submitted to the Secretary of Health, Edu-               which emits or may emit any air pollutant.
cation, and Welfare, or to the Administrator pursuant              Nothing in subchapter II of this chapter relat-
to the Clean Air Act [this chapter] prior to enactment             ing to nonroad engines shall be construed to
of this Act [Dec. 31, 1970] may be approved under sec-             apply to stationary internal combustion en-
tion 110 of the Clean Air Act [this section] (as amended
                                                                   gines.
by this Act) [Pub. L. 91–604] and shall remain in effect,
unless the Administrator determines that such imple-
                                                                     (4) The term ‘‘modification’’ means any
mentation plan, or any portion thereof, is not con-                physical change in, or change in the method of
sistent with applicable requirements of the Clean Air              operation of, a stationary source which in-
Act [this chapter] (as amended by this Act) and will not           creases the amount of any air pollutant emit-
provide for the attainment of national primary ambi-               ted by such source or which results in the
ent air quality standards in the time required by such             emission of any air pollutant not previously
Act. If the Administrator so determines, he shall, with-           emitted.
in 90 days after promulgation of any national ambient                (5) The term ‘‘owner or operator’’ means any
air quality standards pursuant to section 109(a) of the
Clean Air Act [section 7409(a) of this title], notify the
                                                                   person who owns, leases, operates, controls, or
State and specify in what respects changes are needed              supervises a stationary source.
to meet the additional requirements of such Act, in-                 (6) The term ‘‘existing source’’ means any
cluding requirements to implement national secondary               stationary source other than a new source.
ambient air quality standards. If such changes are not               (7) The term ‘‘technological system of con-
adopted by the State after public hearings and within              tinuous emission reduction’’ means—
six months after such notification, the Administrator                  (A) a technological process for production
shall promulgate such changes pursuant to section                    or operation by any source which is inher-
110(c) of such Act [subsec. (c) of this section].                    ently low-polluting or nonpolluting, or
  ‘‘(2) The amendments made by section 4(b) [amending
                                                                       (B) a technological system for continuous
sections 7403 and 7415 of this title] shall not be con-
strued as repealing or modifying the powers of the Ad-               reduction of the pollution generated by a
ministrator with respect to any conference convened                  source before such pollution is emitted into
under section 108(d) of the Clean Air Act [section 7415              the ambient air, including precombustion
of this title] before the date of enactment of this Act              cleaning or treatment of fuels.
[Dec. 31, 1970].
  ‘‘(b) Regulations or standards issued under this title             (8) A conversion to coal (A) by reason of an
II of the Clean Air Act [subchapter II of this chapter]            order under section 2(a) of the Energy Supply
prior to the enactment of this Act [Dec. 31, 1970] shall           and Environmental Coordination Act of 1974
continue in effect until revised by the Administrator              [15 U.S.C. 792(a)] or any amendment thereto,
consistent with the purposes of such Act [this chap-               or any subsequent enactment which super-
ter].’’                                                            sedes such Act [15 U.S.C. 791 et seq.], or (B)
            FEDERAL ENERGY ADMINISTRATOR                           which qualifies under section 7413(d)(5)(A)(ii) 1
  ‘‘Federal Energy Administrator’’, for purposes of this
chapter, to mean Administrator of Federal Energy Ad-              1 See   References in Text note below.




                                                                                                                           A-14
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23, and such planning processes shall take into             national primary ambient air quality standard
account the requirements of this part.                      for 10 years after the expiration of the 10-year
(c) Joint planning                                          period referred to in subsection (a).
                                                            (c) Nonattainment requirements applicable
  In the case of a nonattainment area that is in-
                                                                pending plan approval
cluded within more than one State, the affected
States may jointly, through interstate compact                Until such plan revision is approved and an
or otherwise, undertake and implement all or                area is redesignated as attainment for any area
part of the planning procedures described in this           designated as a nonattainment area, the re-
section.                                                    quirements of this part shall continue in force
                                                            and effect with respect to such area.
(July 14, 1955, ch. 360, title I, § 174, as added Pub.      (d) Contingency provisions
L. 95–95, title I, § 129(b), Aug. 7, 1977, 91 Stat. 748;
amended Pub. L. 101–549, title I, § 102(d), Nov. 15,          Each plan revision submitted under this sec-
                                                            tion shall contain such contingency provisions
1990, 104 Stat. 2417.)
                                                            as the Administrator deems necessary to assure
                                                            that the State will promptly correct any viola-
                    Editorial Notes
                                                            tion of the standard which occurs after the re-
                     AMENDMENTS                             designation of the area as an attainment area.
  1990—Pub. L. 101–549 amended section generally, sub-
                                                            Such provisions shall include a requirement
stituting present provisions for provisions which re-       that the State will implement all measures with
lated to: in subsec. (a), preparation of implementation     respect to the control of the air pollutant con-
plan by designated organization; and in subsec. (b), co-    cerned which were contained in the State imple-
ordination of plan preparation.                             mentation plan for the area before redesignation
                                                            of the area as an attainment area. The failure of
§ 7505. Environmental Protection Agency grants              any area redesignated as an attainment area to
                                                            maintain the national ambient air quality
(a) Plan revision development costs
                                                            standard concerned shall not result in a require-
  The Administrator shall make grants to any                ment that the State revise its State implemen-
organization of local elected officials with                tation plan unless the Administrator, in the Ad-
transportation or air quality maintenance plan-             ministrator’s discretion, requires the State to
ning responsibilities recognized by the State               submit a revised State implementation plan.
under section 7504(a) of this title for payment of
                                                            (July 14, 1955, ch. 360, title I, § 175A, as added
the reasonable costs of developing a plan revi-             Pub. L. 101–549, title I, § 102(e), Nov. 15, 1990, 104
sion under this part.                                       Stat. 2418.)
(b) Uses of grant funds
                                                            § 7506. Limitations on certain Federal assistance
  The amount granted to any organization
under subsection (a) shall be 100 percent of any            (a), (b) Repealed. Pub. L. 101–549, title I, § 110(4),
additional costs of developing a plan revision                   Nov. 15, 1990, 104 Stat. 2470
under this part for the first two fiscal years fol-         (c) Activities not conforming to approved or pro-
lowing receipt of the grant under this para-                    mulgated plans
graph, and shall supplement any funds available
                                                              (1) No department, agency, or instrumentality
under Federal law to such organization for
                                                            of the Federal Government shall engage in, sup-
transportation or air quality maintenance plan-
                                                            port in any way or provide financial assistance
ning. Grants under this section shall not be used
                                                            for, license or permit, or approve, any activity
for construction.                                           which does not conform to an implementation
(July 14, 1955, ch. 360, title I, § 175, as added Pub.      plan after it has been approved or promulgated
L. 95–95, title I, § 129(b), Aug. 7, 1977, 91 Stat. 749.)   under section 7410 of this title. No metropolitan
                                                            planning organization designated under section
§ 7505a. Maintenance plans                                  134 of title 23, shall give its approval to any
(a) Plan revision                                           project, program, or plan which does not con-
                                                            form to an implementation plan approved or
  Each State which submits a request under sec-             promulgated under section 7410 of this title. The
tion 7407(d) of this title for redesignation of a           assurance of conformity to such an implementa-
nonattainment area for any air pollutant as an              tion plan shall be an affirmative responsibility
area which has attained the national primary                of the head of such department, agency, or in-
ambient air quality standard for that air pollut-           strumentality. Conformity to an implementa-
ant shall also submit a revision of the applicable          tion plan means—
State implementation plan to provide for the                    (A) conformity to an implementation plan’s
maintenance of the national primary ambient                   purpose of eliminating or reducing the sever-
air quality standard for such air pollutant in the            ity and number of violations of the national
area concerned for at least 10 years after the re-            ambient air quality standards and achieving
designation. The plan shall contain such addi-                expeditious attainment of such standards; and
tional measures, if any, as may be necessary to                 (B) that such activities will not—
ensure such maintenance.                                           (i) cause or contribute to any new viola-
(b) Subsequent plan revisions                                   tion of any standard in any area;
                                                                   (ii) increase the frequency or severity of
  8 years after redesignation of any area as an                 any existing violation of any standard in
attainment area under section 7407(d) of this                   any area; or
title, the State shall submit to the Adminis-                      (iii) delay timely attainment of any stand-
trator an additional revision of the applicable                 ard or any required interim emission reduc-
State implementation plan for maintaining the                   tions or other milestones in any area.




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14, 1955, as amended by Pub. L. 95–95 [this chapter], see        have been impeded in establishing or developing a
section 406(b) of Pub. L. 95–95, set out as an Effective         business concern as a result of racial or ethnic dis-
Date of 1977 Amendment note under section 7401 of this           crimination.
title.                                                           ‘‘SEC. 1002. USE OF QUOTAS PROHIBITED.—Nothing in
                                                               this title shall permit or require the use of quotas or a
 DISADVANTAGED BUSINESS CONCERNS; USE OF QUOTAS                requirement that has the effect of a quota in deter-
                   PROHIBITED                                  mining eligibility under section 1001.’’
  Pub. L. 101–549, title X, Nov. 15, 1990, 104 Stat. 2708,
provided that:                                                 § 7602. Definitions
‘‘SEC. 1001. DISADVANTAGED BUSINESS CONCERNS.                   When used in this chapter—
  ‘‘(a) IN GENERAL.—In providing for any research relat-        (a) The term ‘‘Administrator’’ means the Ad-
ing to the requirements of the amendments made by              ministrator of the Environmental Protection
the Clean Air Act Amendments of 1990 [Pub. L. 101–549,         Agency.
see Tables for classification] which uses funds of the          (b) The term ‘‘air pollution control agency’’
Environmental Protection Agency, the Administrator             means any of the following:
of the Environmental Protection Agency shall, to the              (1) A single State agency designated by the
extent practicable, require that not less than 10 percent       Governor of that State as the official State air
of total Federal funding for such research will be made
                                                                pollution control agency for purposes of this
available to disadvantaged business concerns.
  ‘‘(b) DEFINITION.—                                            chapter.
     ‘‘(1)(A) For purposes of subsection (a), the term ‘dis-      (2) An agency established by two or more
  advantaged business concern’ means a concern—                 States and having substantial powers or duties
        ‘‘(i) which is at least 51 percent owned by one or      pertaining to the prevention and control of air
     more socially and economically disadvantaged indi-         pollution.
     viduals or, in the case of a publicly traded com-            (3) A city, county, or other local government
     pany, at least 51 percent of the stock of which is         health authority, or, in the case of any city,
     owned by one or more socially and economically             county, or other local government in which
     disadvantaged individuals; and                             there is an agency other than the health au-
        ‘‘(ii) the management and daily business oper-
                                                                thority charged with responsibility for enforc-
     ations of which are controlled by such individuals.
     ‘‘(B)(i) A for-profit business concern is presumed to      ing ordinances or laws relating to the preven-
  be a disadvantaged business concern for purposes of           tion and control of air pollution, such other
  subsection (a) if it is at least 51 percent owned by, or      agency.
  in the case of a concern which is a publicly traded             (4) An agency of two or more municipalities
  company at least 51 percent of the stock of the com-          located in the same State or in different
  pany is owned by, one or more individuals who are             States and having substantial powers or duties
  members of the following groups:                              pertaining to the prevention and control of air
        ‘‘(I) Black Americans.                                  pollution.
        ‘‘(II) Hispanic Americans.                                (5) An agency of an Indian tribe.
        ‘‘(III) Native Americans.
        ‘‘(IV) Asian Americans.                                  (c) The term ‘‘interstate air pollution control
        ‘‘(V) Women.                                           agency’’ means—
        ‘‘(VI) Disabled Americans.                                 (1) an air pollution control agency estab-
     ‘‘(ii) The presumption established by clause (i) may        lished by two or more States, or
  be rebutted with respect to a particular business con-           (2) an air pollution control agency of two or
  cern if it is reasonably established that the individual       more municipalities located in different
  or individuals referred to in that clause with respect
                                                                 States.
  to that business concern are not experiencing impedi-
  ments to establishing or developing such concern as            (d) The term ‘‘State’’ means a State, the Dis-
  a result of the individual’s identification as a mem-        trict of Columbia, the Commonwealth of Puerto
  ber of a group specified in that clause.                     Rico, the Virgin Islands, Guam, and American
     ‘‘(C) The following institutions are presumed to be       Samoa and includes the Commonwealth of the
  disadvantaged business concerns for purposes of sub-
  section (a):
                                                               Northern Mariana Islands.
        ‘‘(i) Historically black colleges and universities,
                                                                 (e) The term ‘‘person’’ includes an individual,
     and colleges and universities having a student body       corporation, partnership, association, State,
     in which 40 percent of the students are Hispanic.         municipality, political subdivision of a State,
        ‘‘(ii) Minority institutions (as that term is de-      and any agency, department, or instrumentality
     fined by the Secretary of Education pursuant to the       of the United States and any officer, agent, or
     General Education Provision Act (20 U.S.C. 1221 et        employee thereof.
     seq.)).                                                     (f) The term ‘‘municipality’’ means a city,
        ‘‘(iii) Private and voluntary organizations con-       town, borough, county, parish, district, or other
     trolled by individuals who are socially and eco-
                                                               public body created by or pursuant to State law.
     nomically disadvantaged.
                                                                 (g) The term ‘‘air pollutant’’ means any air
     ‘‘(D) A joint venture may be considered to be a dis-
  advantaged business concern under subsection (a),            pollution agent or combination of such agents,
  notwithstanding the size of such joint venture, if—          including any physical, chemical, biological, ra-
        ‘‘(i) a party to the joint venture is a disadvan-      dioactive (including source material, special nu-
     taged business concern; and                               clear material, and byproduct material) sub-
        ‘‘(ii) that party owns at least 51 percent of the      stance or matter which is emitted into or other-
     joint venture.                                            wise enters the ambient air. Such term includes
  A person who is not an economically disadvantaged            any precursors to the formation of any air pol-
  individual or a disadvantaged business concern, as a
                                                               lutant, to the extent the Administrator has
  party to a joint venture, may not be a party to more
  than 2 awarded contracts in a fiscal year solely by          identified such precursor or precursors for the
  reason of this subparagraph.                                 particular purpose for which the term ‘‘air pol-
     ‘‘(E) Nothing in this paragraph shall prohibit any        lutant’’ is used.
  member of a racial or ethnic group that is not listed          (h) All language referring to effects on welfare
  in subparagraph (B)(i) from establishing that they           includes, but is not limited to, effects on soils,




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water, crops, vegetation, manmade materials,          organized group or community, including any
animals, wildlife, weather, visibility, and cli-      Alaska Native village, which is Federally recog-
mate, damage to and deterioration of property,        nized as eligible for the special programs and
and hazards to transportation, as well as effects     services provided by the United States to Indi-
on economic values and on personal comfort and        ans because of their status as Indians.
well-being, whether caused by transformation,           (s) VOC.—The term ‘‘VOC’’ means volatile or-
conversion, or combination with other air pol-        ganic compound, as defined by the Adminis-
lutants.                                              trator.
   (i) The term ‘‘Federal land manager’’ means,         (t) PM–10.—The term ‘‘PM–10’’ means particu-
with respect to any lands in the United States,       late matter with an aerodynamic diameter less
the Secretary of the department with authority        than or equal to a nominal ten micrometers, as
over such lands.                                      measured by such method as the Administrator
   (j) Except as otherwise expressly provided, the    may determine.
terms ‘‘major stationary source’’ and ‘‘major           (u) NAAQS AND CTG.—The term ‘‘NAAQS’’
emitting facility’’ mean any stationary facility      means national ambient air quality standard.
or source of air pollutants which directly emits,     The term ‘‘CTG’’ means a Control Technique
or has the potential to emit, one hundred tons        Guideline published by the Administrator under
per year or more of any air pollutant (including      section 7408 of this title.
any major emitting facility or source of fugitive       (v) NOx.—The term ‘‘NOx’’ means oxides of ni-
emissions of any such pollutant, as determined        trogen.
by rule by the Administrator).                          (w) CO.—The term ‘‘CO’’ means carbon mon-
   (k) The terms ‘‘emission limitation’’ and          oxide.
‘‘emission standard’’ mean a requirement estab-         (x) SMALL SOURCE.—The term ‘‘small source’’
lished by the State or the Administrator which        means a source that emits less than 100 tons of
limits the quantity, rate, or concentration of        regulated pollutants per year, or any class of
emissions of air pollutants on a continuous           persons that the Administrator determines,
basis, including any requirement relating to the      through regulation, generally lack technical
operation or maintenance of a source to assure        ability or knowledge regarding control of air
continuous emission reduction, and any design,        pollution.
equipment, work practice or operational stand-          (y) FEDERAL IMPLEMENTATION PLAN.—The
ard promulgated under this chapter..1                 term ‘‘Federal implementation plan’’ means a
   (l) The term ‘‘standard of performance’’ means     plan (or portion thereof) promulgated by the Ad-
a requirement of continuous emission reduction,       ministrator to fill all or a portion of a gap or
including any requirement relating to the oper-       otherwise correct all or a portion of an inad-
ation or maintenance of a source to assure con-       equacy in a State implementation plan, and
tinuous emission reduction.                           which includes enforceable emission limitations
   (m) The term ‘‘means of emission limitation’’      or other control measures, means or techniques
means a system of continuous emission reduc-          (including economic incentives, such as market-
tion (including the use of specific technology or     able permits or auctions of emissions allow-
fuels with specified pollution characteristics).      ances), and provides for attainment of the rel-
   (n) The term ‘‘primary standard attainment         evant national ambient air quality standard.
date’’ means the date specified in the applicable       (z) STATIONARY SOURCE.—The term ‘‘sta-
implementation plan for the attainment of a na-       tionary source’’ means generally any source of
tional primary ambient air quality standard for       an air pollutant except those emissions result-
any air pollutant.                                    ing directly from an internal combustion engine
   (o) The term ‘‘delayed compliance order’’          for transportation purposes or from a nonroad
means an order issued by the State or by the Ad-      engine or nonroad vehicle as defined in section
ministrator to an existing stationary source,         7550 of this title.
postponing the date required under an applica-
ble implementation plan for compliance by such        (July 14, 1955, ch. 360, title III, § 302, formerly § 9,
source with any requirement of such plan.             as added Pub. L. 88–206, § 1, Dec. 17, 1963, 77 Stat.
   (p) The term ‘‘schedule and timetable of com-      400, renumbered Pub. L. 89–272, title I, § 101(4),
pliance’’ means a schedule of required measures       Oct. 20, 1965, 79 Stat. 992; amended Pub. L. 90–148,
including an enforceable sequence of actions or       § 2, Nov. 21, 1967, 81 Stat. 504; Pub. L. 91–604,
operations leading to compliance with an emis-        § 15(a)(1), (c)(1), Dec. 31, 1970, 84 Stat. 1710, 1713;
sion limitation, other limitation, prohibition, or    Pub. L. 95–95, title II, § 218(c), title III, § 301, Aug.
standard.                                             7, 1977, 91 Stat. 761, 769; Pub. L. 95–190, § 14(a)(76),
   (q) For purposes of this chapter, the term ‘‘ap-   Nov. 16, 1977, 91 Stat. 1404; Pub. L. 101–549, title
plicable implementation plan’’ means the por-         I, §§ 101(d)(4), 107(a), (b), 108(j), 109(b), title III,
tion (or portions) of the implementation plan, or     § 302(e), title VII, § 709, Nov. 15, 1990, 104 Stat.
most recent revision thereof, which has been ap-      2409, 2464, 2468, 2470, 2574, 2684.)
proved under section 7410 of this title, or pro-
mulgated under section 7410(c) of this title, or                            Editorial Notes
promulgated or approved pursuant to regula-                                  CODIFICATION
tions promulgated under section 7601(d) of this
title and which implements the relevant re-             Section was formerly classified to section 1857h of
                                                      this title.
quirements of this chapter.
   (r) INDIAN TRIBE.—The term ‘‘Indian tribe’’                             PRIOR PROVISIONS
means any Indian tribe, band, nation, or other          Provisions similar to those in subsecs. (b) and (d) of
                                                      this section were contained in a section 1857e of this
 1 So   in original.                                  title, act July 14, 1955, ch. 360, § 6, 69 Stat. 323, prior to




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the general amendment of this chapter by Pub. L.               immediately restrain any person causing or con-
88–206.                                                        tributing to the alleged pollution to stop the
                      AMENDMENTS                               emission of air pollutants causing or contrib-
                                                               uting to such pollution or to take such other ac-
  1990—Subsec. (b)(1) to (3). Pub. L. 101–549, § 107(a)(1),    tion as may be necessary. If it is not practicable
(2), struck out ‘‘or’’ at end of par. (3) and substituted
periods for semicolons at end of pars. (1) to (3).
                                                               to assure prompt protection of public health or
  Subsec. (b)(5). Pub. L. 101–549, § 107(a)(3), added par.     welfare or the environment by commencement
(5).                                                           of such a civil action, the Administrator may
  Subsec. (g). Pub. L. 101–549, § 108(j)(2), inserted at end   issue such orders as may be necessary to protect
‘‘Such term includes any precursors to the formation of        public health or welfare or the environment.
any air pollutant, to the extent the Administrator has         Prior to taking any action under this section,
identified such precursor or precursors for the par-           the Administrator shall consult with appro-
ticular purpose for which the term ‘air pollutant’ is          priate State and local authorities and attempt
used.’’
  Subsec. (h). Pub. L. 101–549, § 109(b), inserted before
                                                               to confirm the accuracy of the information on
period at end ‘‘, whether caused by transformation,            which the action proposed to be taken is based.
conversion, or combination with other air pollutants’’.        Any order issued by the Administrator under
  Subsec. (k). Pub. L. 101–549, § 303(e), inserted before      this section shall be effective upon issuance and
period at end ‘‘, and any design, equipment, work prac-        shall remain in effect for a period of not more
tice or operational standard promulgated under this            than 60 days, unless the Administrator brings an
chapter.’’                                                     action pursuant to the first sentence of this sec-
  Subsec. (q). Pub. L. 101–549, § 101(d)(4), added subsec.     tion before the expiration of that period. When-
(q).
  Subsec. (r). Pub. L. 101–549, § 107(b), added subsec. (r).
                                                               ever the Administrator brings such an action
  Subsecs. (s) to (y). Pub. L. 101–549, § 108(j)(1), added     within the 60-day period, such order shall re-
subsecs. (s) to (y).                                           main in effect for an additional 14 days or for
  Subsec. (z). Pub. L. 101–549, § 709, added subsec. (z).      such longer period as may be authorized by the
  1977—Subsec. (d). Pub. L. 95–95, § 218(c), inserted ‘‘and    court in which such action is brought.
includes the Commonwealth of the Northern Mariana
Islands’’ after ‘‘American Samoa’’.                            (July 14, 1955, ch. 360, title III, § 303, as added
  Subsec. (e). Pub. L. 95–190 substituted ‘‘individual,        Pub. L. 91–604, § 12(a), Dec. 31, 1970, 84 Stat. 1705;
corporation’’ for ‘‘individual corporation’’.                  amended Pub. L. 95–95, title III, § 302(a), Aug. 7,
  Pub. L. 95–95, § 301(b), expanded definition of ‘‘person’’   1977, 91 Stat. 770; Pub. L. 101–549, title VII, § 704,
to include agencies, departments, and instrumental-            Nov. 15, 1990, 104 Stat. 2681.)
ities of the United States and officers, agents, and em-
ployees thereof.                                                                    Editorial Notes
  Subsec. (g). Pub. L. 95–95, § 301(c), expanded definition
of ‘‘air pollutant’’ so as, expressly, to include physical,                          CODIFICATION
chemical, biological, and radioactive substances or
matter emitted into or otherwise entering the ambient            Section was formerly classified to section 1857h–1 of
air.                                                           this title.
  Subsecs. (i) to (p). Pub. L. 95–95, § 301(a), added sub-                         PRIOR PROVISIONS
secs. (i) to (p).
  1970—Subsec. (a). Pub. L. 91–604, § 15(c)(1), substituted      A prior section 303 of act July 14, 1955, was renum-
definition of ‘‘Administrator’’ as meaning Adminis-            bered section 310 by Pub. L. 91–604 and is classified to
trator of the Environmental Protection Agency for def-         section 7610 of this title.
inition of ‘‘Secretary’’ as meaning Secretary of Health,
Education, and Welfare.                                                              AMENDMENTS
  Subsecs. (g), (h). Pub. L. 91–604, § 15(a)(1), added sub-      1990—Pub. L. 101–549, § 704(2)–(5), struck out subsec. (a)
sec. (g) defining ‘‘air pollutant’’, redesignated former       designation before ‘‘Notwithstanding any other’’,
subsec. (g) as (h) and substituted references to effects       struck out subsec. (b) which related to violation of or
on soil, water, crops, vegetation, manmade materials,          failure or refusal to comply with subsec. (a) orders, and
animals, wildlife, weather, visibility, and climate for        substituted new provisions for provisions following
references to injury to agricultural crops and livestock,      first sentence which read as follows: ‘‘If it is not prac-
and inserted references to effects on economic values          ticable to assure prompt protection of the health of
and on personal comfort and well being.                        persons solely by commencement of such a civil action,
  1967—Pub. L. 90–148 reenacted section without                the Administrator may issue such orders as may be
change.                                                        necessary to protect the health of persons who are, or
                                                               may be, affected by such pollution source (or sources).
       Statutory Notes and Related Subsidiaries                Prior to taking any action under this section, the Ad-
                                                               ministrator shall consult with the State and local au-
         EFFECTIVE DATE OF 1977 AMENDMENT                      thorities in order to confirm the correctness of the in-
  Amendment by Pub. L. 95–95 effective Aug. 7, 1977, ex-       formation on which the action proposed to be taken is
cept as otherwise expressly provided, see section 406(d)       based and to ascertain the action which such authori-
of Pub. L. 95–95, set out as a note under section 7401 of      ties are, or will be, taking. Such order shall be effective
this title.                                                    for a period of not more than twenty-four hours unless
                                                               the Administrator brings an action under the first sen-
§ 7603. Emergency powers                                       tence of this subsection before the expiration of such
                                                               period. Whenever the Administrator brings such an ac-
  Notwithstanding any other provision of this                  tion within such period, such order shall be effective
chapter, the Administrator, upon receipt of evi-               for a period of forty-eight hours or such longer period
dence that a pollution source or combination of                as may be authorized by the court pending litigation or
                                                               thereafter.’’
sources (including moving sources) is presenting
                                                                 Pub. L. 101–549, § 704(1), which directed that ‘‘public
an imminent and substantial endangerment to                    health or welfare, or the environment’’ be substituted
public health or welfare, or the environment,                  for ‘‘the health of persons and that appropriate State
may bring suit on behalf of the United States in               or local authorities have not acted to abate such
the appropriate United States district court to                sources’’, was executed by making the substitution for




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                                                                     § 51.1300                                                               40 CFR Ch. I (7–1–22 Edition)

                                                                     and may require that the air agency                          (d) Designation for a NAAQS. The ef-
                                                                     conduct updated air quality modeling                      fective date of the designation for an
                                                                     for the area and submit it to the EPA                     area for that NAAQS.
                                                                     within 12 months.                                            (e) Higher classification/lower classi-
                                                                       (2) An air agency will no longer be                     fication. For purposes of determining
                                                                     subject to the requirements of this                       whether a classification is higher or
                                                                     paragraph (b) for a particular area if it                 lower, classifications under subpart 2
                                                                     provides air quality modeling dem-                        of part D of title I of the CAA are
                                                                     onstrating that air quality values at                     ranked from lowest to highest as fol-
                                                                     all receptors in the analysis are no                      lows: Marginal; Moderate; Serious; Se-
                                                                     greater than 50 percent of the 1-hour                     vere-15; Severe-17; and Extreme.
                                                                     SO2 NAAQS, and such demonstration is                         (f) 2008 ozone NAAQS means the 2008
                                                                     approved by the EPA Regional Admin-                       8-hour primary and secondary ozone
                                                                     istrator.                                                 NAAQS codified at 40 CFR 50.15.
                                                                       (c) Any air agency that demonstrates                       (g) Attainment year ozone season shall
                                                                     that an area would meet the 2010 SO2                      mean the ozone season immediately
                                                                     NAAQS with allowable emissions is not                     preceding a nonattainment area’s max-
                                                                     required pursuant to paragraph (b) of                     imum attainment date.
                                                                     this section to submit future annual                         (h) Initially designated means the first
                                                                     reports for the area.                                     designation that becomes effective for
                                                                       (d) If modeling or monitoring infor-                    an area for a specific NAAQS and does
                                                                     mation required to be submitted by the                    not include a redesignation to attain-
                                                                     air agency to the EPA pursuant to this                    ment or nonattainment for that spe-
                                                                                                                               cific NAAQS.
                                                                     subpart indicates that an area is not
                                                                     attaining the 2010 SO2 NAAQS, the                            (i) Nitrogen Oxides (NOX) means the
                                                                                                                               sum of nitric oxide and nitrogen diox-
                                                                     EPA may take appropriate action, in-
                                                                                                                               ide in the flue gas or emission point,
                                                                     cluding but not limited to requiring
                                                                                                                               collectively expressed as nitrogen diox-
                                                                     adoption of enforceable emission limits
                                                                                                                               ide.
                                                                     to ensure continued attainment of the
                                                                                                                                  (j) Ozone season means for each state
                                                                     2010 SO2 NAAQS, designation or redes-
                                                                                                                               (or portion of a state), the ozone moni-
                                                                     ignation of the area to nonattainment,
                                                                                                                               toring season as defined in 40 CFR part
                                                                     or issuance of a SIP Call.                                58, appendix D, section 4.1(i) for that
                                                                                                                               state (or portion of a state).
                                                                     Subpart CC—Provisions for Imple-                             (k) Ozone transport region (OTR)
                                                                        mentation of the 2015 Ozone                            means the area established by CAA sec-
                                                                        National Ambient Air Quality                           tion 184(a) or any other area estab-
                                                                        Standards                                              lished by the Administrator pursuant
                                                                                                                               to CAA section 176A for purposes of
                                                                                                                               ozone.
                                                                       SOURCE: 83 FR 10382, Mar. 9, 2018, unless
                                                                     otherwise noted.                                             (l) Reasonable further progress (RFP)
                                                                                                                               means the emissions reductions re-
                                                                     § 51.1300     Definitions.                                quired under CAA sections 172(c)(2),
                                                                                                                               182(c)(2)(B), 182(c)(2)(C), and § 51.1310.
                                                                       The following definitions apply for                     The EPA interprets RFP under CAA
                                                                     purposes of this subpart. Any term not                    section 172(c)(2) to be an average 3 per-
                                                                     defined herein shall have the meaning                     cent per year emissions reduction of ei-
                                                                     as defined in § 51.100.                                   ther VOC or NOX.
                                                                       (a) 2015 NAAQS. The 2015 8-hour pri-                       (m) Rate-of-progress (ROP) means the
                                                                     mary and secondary ozone NAAQS                            15 percent progress reductions in VOC
                                                                     codified at 40 CFR 50.19.                                 emissions over the first 6 years after
                                                                       (b) 8-hour ozone design value. The 8-                   the baseline year required under CAA
                                                                     hour ozone concentration calculated                       section 182(b)(1).
                                                                     according to 40 CFR part 50, appendix                        (n) I/M refers to the inspection and
                                                                     P, for the 2008 NAAQS, and 40 CFR part                    maintenance programs for in-use vehi-
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                                                                     50, appendix U, for the 2015 NAAQS.                       cles required under the 1990 CAA
                                                                       (c) CAA. The Clean Air Act as codi-                     Amendments and defined by subpart S
                                                                     fied at 42 U.S.C. 7401–7671q (2010).                      of 40 CFR part 51.

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                                                                     Environmental Protection Agency                                                                                                                    § 51.1306

                                                                       (o) Current ozone NAAQS means the                                                              § 51.1302 Classification and nonattain-
                                                                     most recently promulgated ozone                                                                       ment area planning provisions.
                                                                     NAAQS at the time of application of
                                                                                                                                                                        An area designated nonattainment
                                                                     any provision of this subpart.
                                                                                                                                                                      for the 2015 ozone NAAQS will be clas-
                                                                       (p) Base year inventory for the non-
                                                                     attainment area means a comprehen-                                                               sified in accordance with CAA section
                                                                     sive, accurate, current inventory of ac-                                                         181, as interpreted in § 51.1303(a), and
                                                                     tual emissions from sources of VOC and                                                           will be subject to the requirements of
                                                                     NOX emitted within the boundaries of                                                             subpart 2 of part D of title I of the CAA
                                                                     the nonattainment area as required by                                                            that apply for that classification.
                                                                     CAA section 182(a)(1).
                                                                       (q) Ozone season day emissions means                                                           § 51.1303 Application of classification
                                                                     an average day’s emissions for a typ-                                                                 and attainment date provisions in
                                                                                                                                                                           CAA section 181 to areas subject to
                                                                     ical ozone season work weekday. The
                                                                                                                                                                           § 51.1302.
                                                                     state shall select, subject to EPA ap-
                                                                     proval, the particular month(s) in the                                                             (a) In accordance with CAA section
                                                                     ozone season and the day(s) in the                                                               181(a)(1), each area designated non-
                                                                     work week to be represented, consid-                                                             attainment for the 2015 ozone NAAQS
                                                                     ering the conditions assumed in the de-                                                          shall be classified by operation of law
                                                                     velopment of RFP plans and/or emis-                                                              at the time of designation. The classi-
                                                                     sions budgets for transportation con-                                                            fication shall be based on the 8-hour
                                                                     formity.                                                                                         design value for the area at the time of
                                                                     [83 FR 10382, Mar. 9, 2018, as amended at 83                                                     designation, in accordance with Table 1
                                                                     FR 63032, Dec. 6, 2018]                                                                          of this paragraph (a). A state may re-
                                                                                                                                                                      quest a higher or lower classification
                                                                     § 51.1301 Applicability of this part.                                                            as provided in paragraphs (b) and (c) of
                                                                        The provisions in subparts A through                                                          this section. For each area classified
                                                                     Y and AA of this part apply to areas for                                                         under this section, the attainment date
                                                                     purposes of the 2015 ozone NAAQS to                                                              for the 2015 NAAQS shall be as expedi-
                                                                     the extent they are not inconsistent                                                             tious as practicable, but not later than
                                                                     with the provisions of this subpart.                                                             the date provided in Table 1 as follows:
                                                                      TABLE 1 TO PARAGRAPH (a)—CLASSIFICATIONS AND ATTAINMENT DATES FOR 2015 8-HOUR OZONE
                                                                                       NAAQS (0.070 ppm) FOR AREAS SUBJECT TO § 51.1302
                                                                                                                                                                                                                 Primary standard
                                                                                                                                                                                             8-hour ozone         attainment date
                                                                                         Area class                                                                                          design value     (years after the effective
                                                                                                                                                                                                (ppm)          date of designation for
                                                                                                                                                                                                               2015 primary NAAQS)

                                                                     Marginal ................................................    from up to * ...........................................            0.071                            3
                                                                                                                                                                                                      0.081
                                                                     Moderate ..............................................      from up to * ...........................................            0.081                            6
                                                                                                                                                                                                      0.093
                                                                     Serious .................................................    from up to * ...........................................            0.093                            9
                                                                                                                                                                                                      0.105
                                                                     Severe-15 .............................................      from up to * ...........................................            0.105                          15
                                                                                                                                                                                                      0.111
                                                                     Severe-17 .............................................      from up to * ...........................................            0.111                          17
                                                                                                                                                                                                      0.163
                                                                     Extreme ................................................     equal to or above .................................                 0.163                          20
                                                                        * But not including.



                                                                       (b) A state may request, and the Ad-                                                           lower classification for an area in ac-
                                                                     ministrator must approve, a higher                                                               cordance with CAA section 181(a)(4).
                                                                     classification for an area for any rea-
                                                                     son in accordance with CAA section                                                               §§ 51.1304–51.1305              [Reserved]
                                                                     181(b)(3).                                                                                       § 51.1306 Redesignation to nonattain-
                                                                       (c) A state may request, and the Ad-                                                                ment following initial designations.
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                                                                     ministrator may in the Administra-                                                                  For any area that is initially des-
                                                                     tor’s discretion approve, a higher or                                                            ignated attainment for the 2015 ozone

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                                                                     § 51.1307                                                               40 CFR Ch. I (7–1–22 Edition)

                                                                     NAAQS and that is subsequently redes-                     demonstration that provides for such
                                                                     ignated to nonattainment for the 2015                     specific reductions in emissions of
                                                                     ozone NAAQS, any absolute, fixed date                     VOCs and NOX as necessary to attain
                                                                     applicable in connection with the re-                     the primary NAAQS by the applicable
                                                                     quirements of this part other than an                     attainment date, and such demonstra-
                                                                     attainment date is extended by a pe-                      tion is due no later than 36 months
                                                                     riod of time equal to the length of time                  after the effective date of the area’s
                                                                     between the effective date of the initial                 designation for the 2015 ozone NAAQS.
                                                                     designation for the 2015 ozone NAAQS                        (b) An area classified Serious or high-
                                                                     and the effective date of the redesigna-                  er under § 51.1303(a) shall be subject to
                                                                     tion, except as otherwise provided in                     the attainment demonstration require-
                                                                     this subpart. The maximum attain-                         ment applicable for that classification
                                                                     ment date for a redesignated area                         under CAA section 182(c), and such
                                                                     would be based on the area’s classifica-                  demonstration is due no later than 48
                                                                     tion, consistent with Table 1 in                          months after the effective date of the
                                                                     § 51.1303.                                                area’s designation for the 2015 ozone
                                                                     [83 FR 63033, Dec. 6, 2018]                               NAAQS.
                                                                                                                                 (c) An attainment demonstration due
                                                                     § 51.1307 Determining eligibility for 1-                  pursuant to paragraph (a) or (b) of this
                                                                          year attainment date extensions for                  section must meet the requirements of
                                                                          an 8-hour ozone NAAQS under CAA                      Appendix W of this part and shall in-
                                                                          section 181(a)(5).                                   clude inventory data, modeling results,
                                                                        (a) A nonattainment area will meet                     and emission reduction analyses on
                                                                     the requirement of CAA section                            which the state has based its projected
                                                                     181(a)(5)(B) pertaining to 1-year exten-                  attainment date; the adequacy of an
                                                                     sions of the attainment date if:                          attainment demonstration shall be
                                                                        (1) For the first 1-year extension, the                demonstrated by means of a photo-
                                                                     area’s 4th highest daily maximum 8-                       chemical grid model or any other ana-
                                                                     hour average in the attainment year is                    lytical method determined by the Ad-
                                                                     no greater than the level of that                         ministrator, in the Administrator’s
                                                                     NAAQS.                                                    discretion, to be at least as effective.
                                                                        (2) For the second 1-year extension,                     (d) Implementation of control measures.
                                                                     the area’s 4th highest daily maximum                      For each nonattainment area for which
                                                                     8-hour value, averaged over both the                      an attainment demonstration is re-
                                                                     original attainment year and the first                    quired pursuant to paragraph (a) or (b)
                                                                     extension year, is no greater than the                    of this section, the state must provide
                                                                     level of that NAAQS.                                      for implementation of all control
                                                                        (b) For purposes of paragraph (a)(1) of                measures needed for attainment as ex-
                                                                     this section, the area’s 4th highest                      peditiously as practicable. All control
                                                                     daily maximum 8-hour average for a                        measures in the attainment plan and
                                                                     year shall be from the monitor with                       demonstration must be implemented
                                                                     the highest 4th highest daily maximum                     no later than the beginning of the at-
                                                                     8-hour average for that year of all the                   tainment year ozone season, notwith-
                                                                     monitors that represent that area.                        standing any alternate RACT and/or
                                                                        (c) For purposes of paragraph (a)(2) of                RACM implementation deadline re-
                                                                     this section, the area’s 4th highest                      quirements in § 51.1312.
                                                                     daily maximum 8-hour value, averaged
                                                                     over both the original attainment year                    [83 FR 63033, Dec. 6, 2018]
                                                                     and the first extension year, shall be
                                                                                                                               § 51.1309    [Reserved]
                                                                     from the monitor in each year with the
                                                                     highest 4th highest daily maximum 8-                      § 51.1310 Requirements for reasonable
                                                                     hour average of all monitors that rep-                         further progress (RFP).
                                                                     resent that area.                                            (a) RFP for nonattainment areas classi-
                                                                     [83 FR 63033, Dec. 6, 2018]                               fied pursuant to § 51.1303. The RFP re-
                                                                                                                               quirements specified in CAA section 182
                                                                     § 51.1308 Modeling      and   attainment                  for that area’s classification shall
                                                                          demonstration requirements.
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                                                                                                                               apply.
                                                                        (a) An area classified Moderate under                     (1) Submission deadline. For each area
                                                                     § 51.1303(a) shall submit an attainment                   classified Moderate or higher pursuant

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                                                                     Environmental Protection Agency                                                                 § 51.1310

                                                                     to § 51.1303, the state shall submit a SIP                shall meet the requirements of either
                                                                     revision no later than 36 months after                    paragraph (a)(3)(i) or (ii) of this sec-
                                                                     the effective date of designation as                      tion.
                                                                     nonattainment for the 2015 ozone                            (i) The state shall not distinguish be-
                                                                     NAAQS that provides for RFP as de-                        tween the portion of the area with a
                                                                     scribed in paragraphs (a)(2) through (4)                  previously approved 15 percent ROP
                                                                     of this section.                                          plan and the portion of the area with-
                                                                       (2) RFP requirements for areas with an                  out such a plan, and shall meet the re-
                                                                     approved prior ozone NAAQS 15 percent                     quirements of paragraph (a)(4) of this
                                                                     VOC ROP plan. An area classified Mod-                     section for the entire nonattainment
                                                                     erate or higher that has the same                         area.
                                                                     boundaries as an area, or is entirely                       (ii) The state shall treat the area as
                                                                     composed of several areas or portions                     two parts, each with a separate RFP
                                                                     of areas, for which the EPA fully ap-                     target as follows:
                                                                     proved a 15 percent plan for a prior                        (A) For the portion of the area with-
                                                                     ozone NAAQS is considered to have                         out an approved 15 percent VOC ROP
                                                                     met the requirements of CAA section                       plan for a prior ozone NAAQS, the
                                                                     182(b)(1) for the 2015 ozone NAAQS and                    state shall submit a SIP revision as re-
                                                                     instead:                                                  quired under paragraph (a)(4) of this
                                                                       (i) If classified Moderate, the area is                 section.
                                                                     subject to the RFP requirements under                       (B) For the portion of the area with
                                                                     CAA section 172(c)(2) and shall submit                    an approved 15 percent VOC ROP plan
                                                                     a SIP revision that:                                      for a prior ozone NAAQS, the state
                                                                       (A) Provides for a 15 percent emission                  shall submit a SIP as required under
                                                                     reduction from the baseline year with-                    paragraph (a)(2) of this section.
                                                                     in 6 years after the baseline year; and                     (4) ROP Requirements for areas without
                                                                       (B) Relies on either NOX or VOC                         an approved prior ozone NAAQS 15 per-
                                                                     emissions reductions (or a combina-                       cent VOC ROP plan. (i) For each area,
                                                                     tion) to meet the requirements of para-                   the state shall submit a SIP revision
                                                                     graph (a)(2)(i)(A) of this section. Use of                consistent with CAA section 182(b)(1).
                                                                     NOX emissions reductions must meet                        The 6-year period referenced in CAA
                                                                     the criteria in CAA section 182(c)(2)(C).                 section 182(b)(1) shall begin January 1
                                                                       (ii) If classified Serious or higher, the               of the year following the year used for
                                                                     area is subject to RFP under CAA sec-                     the baseline emissions inventory.
                                                                     tions 172(c)(2) and 182(c)(2)(B), and shall                 (ii) For each area classified Serious
                                                                     submit a SIP revision no later than 48                    or higher, the state shall submit a SIP
                                                                     months after the effective date of des-                   revision consistent with CAA section
                                                                     ignation providing for an average emis-                   182(c)(2)(B). The final increment of
                                                                     sions reduction of 3 percent per year:                    progress must be achieved no later
                                                                       (A) For the first 6-year period after                   than the attainment date for the area.
                                                                     the baseline year and all remaining 3-                      (5) Creditability of emission control
                                                                     year periods until the year of the                        measures for RFP plans. Except as spe-
                                                                     area’s attainment date; and                               cifically provided in CAA section
                                                                       (B) That relies on either NOX or VOC                    182(b)(1)(C) and (D), CAA section
                                                                     emissions reductions (or a combina-                       182(c)(2)(B), and 40 CFR 51.1310(a)(6), all
                                                                     tion) to meet the requirements of                         emission reductions from SIP-approved
                                                                     (a)(2)(ii)(A). Use of NOX emissions re-                   or federally promulgated measures
                                                                     ductions must meet the criteria in                        that occur after the baseline emissions
                                                                     CAA section 182(c)(2)(C).                                 inventory year are creditable for pur-
                                                                       (3) RFP requirements for areas for                      poses of the RFP requirements in this
                                                                     which an approved 15 percent VOC ROP                      section, provided the reductions meet
                                                                     plan for a prior ozone NAAQS exists for                   the requirements for creditability, in-
                                                                     only a portion of the area. An area that                  cluding the need to be enforceable, per-
                                                                     contains one or more portions for                         manent, quantifiable, and surplus.
                                                                     which the EPA fully approved a 15 per-                      (6) Creditability of out-of-area emissions
                                                                     cent VOC ROP plan for a prior ozone                       reductions. For purposes of meeting the
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                                                                     NAAQS (as well as portions for which                      RFP requirements in § 51.1310, in addi-
                                                                     the EPA has not fully approved a 15                       tion to the restrictions on the cred-
                                                                     percent plan for a prior ozone NAAQS)                     itability of emission control measures

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                                                                     § 51.1311                                                               40 CFR Ch. I (7–1–22 Edition)

                                                                     listed in § 51.1310(a)(5), creditable emis-               each interval shall be the applicable
                                                                     sion reductions for fixed percentage re-                  milestone.
                                                                     duction RFP must be obtained from                           (2) Milestone compliance demonstra-
                                                                     emissions sources located within the                      tions. For each area subject to the
                                                                     nonattainment area.                                       milestone requirements under para-
                                                                       (7) Calculation of non-creditable emis-                 graph (c)(1) of this section, not later
                                                                     sions reductions. The following four cat-                 than 90 days after the date on which an
                                                                     egories of control measures listed in                     applicable milestone occurs (not in-
                                                                     CAA section 182(b)(1)(D) are no longer                    cluding an attainment date on which a
                                                                     required to be calculated for exclusion                   milestone occurs in cases where the
                                                                     in RFP analyses because the Adminis-                      ozone standards have been attained),
                                                                     trator has determined that due to the                     each state in which all or part of such
                                                                     passage of time the effect of these ex-                   area is located shall submit to the Ad-
                                                                     clusions would be de minimis:                             ministrator a demonstration that the
                                                                       (i) Measures related to motor vehicle                   milestone has been met. The dem-
                                                                     exhaust or evaporative emissions pro-                     onstration under this paragraph must
                                                                     mulgated by January 1, 1990;                              provide for objective evaluation of RFP
                                                                       (ii) Regulations concerning Reid                        toward timely attainment of the ozone
                                                                     vapor pressure promulgated by Novem-                      NAAQS in the area, and may take the
                                                                     ber 15, 1990;                                             form of:
                                                                       (iii) Measures to correct previous                        (i) Such information and analysis as
                                                                     RACT requirements; and                                    needed to quantify the actual reduc-
                                                                       (iv) Measures required to correct pre-                  tion in emissions achieved in the time
                                                                     vious I/M programs.                                       interval preceding the applicable mile-
                                                                       (b) Baseline emissions inventory for                    stone; or
                                                                     RFP plans. For the RFP plans required                       (ii) Such information and analysis as
                                                                     under this section, at the time of des-                   needed     to   demonstrate     progress
                                                                     ignation as nonattainment for an ozone                    achieved in implementing the approved
                                                                     NAAQS the baseline emissions inven-                       SIP control measures, including RACM
                                                                     tory shall be the emissions inventory                     and RACT, corresponding with the re-
                                                                     for the most recent calendar year for                     duction in emissions achieved in the
                                                                     which a complete triennial inventory is                   time interval preceding the applicable
                                                                     required to be submitted to the EPA                       milestone.
                                                                     under the provisions of subpart A of                      [83 FR 63033, Dec. 6, 2018]
                                                                     this part. States may use an alter-
                                                                     native baseline emissions inventory                       § 51.1311    [Reserved]
                                                                     provided that the year selected cor-
                                                                     responds with the year of the effective                   § 51.1312 Requirements for reasonably
                                                                     date of designation as nonattainment                            available    control     technology
                                                                     for that NAAQS. All states associated                           (RACT) and reasonably available
                                                                     with a multi-state nonattainment area                           control measures (RACM).
                                                                     must consult and agree on using the al-                      (a) RACT requirement for areas classi-
                                                                     ternative baseline year. The emissions                    fied pursuant to § 51.1303. (1) For each
                                                                     values included in the inventory re-                      nonattainment area classified Mod-
                                                                     quired by this section shall be actual                    erate or higher, the state shall submit
                                                                     ozone season day emissions as defined                     a SIP revision that meets the VOC and
                                                                     by § 51.1300(q).                                          NOX RACT requirements in CAA sec-
                                                                       (c) Milestones—(1) Applicable mile-                     tions 182(b)(2) and 182(f).
                                                                     stones. Consistent with CAA section                          (2) SIP submission deadline. (i) For a
                                                                     182(g)(1) for each area classified Serious                RACT SIP required pursuant to initial
                                                                     or higher, the state shall determine at                   nonattainment area designations, the
                                                                     specified intervals whether each area                     state shall submit the RACT SIP for
                                                                     has achieved the reduction in emis-                       each area no later than 24 months after
                                                                     sions required under paragraphs (a)(2)                    the effective date of designation for a
                                                                     through (4) of this section. The initial                  specific ozone NAAQS.
                                                                     determination shall occur 6 years after                      (ii) For a RACT SIP required pursu-
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                                                                     the baseline year, and at intervals of                    ant to reclassification, the SIP revision
                                                                     every 3 years thereafter. The reduction                   deadline is either 24 months from the
                                                                     in emissions required by the end of                       effective date of reclassification, or the

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                                                                     Environmental Protection Agency                                                                 § 51.1315

                                                                     deadline established by the Adminis-                      trol measures on sources of emissions
                                                                     trator in the reclassification action.                    of ozone precursors located outside the
                                                                        (iii) For a RACT SIP required pursu-                   nonattainment area, or portion there-
                                                                     ant to the issuance of a new Control                      of, located within the state if doing so
                                                                     Techniques Guideline (CTG) under CAA                      is necessary or appropriate to provide
                                                                     section 183, the SIP revision deadline is                 for attainment of the applicable ozone
                                                                     either 24 months from the date of CTG                     NAAQS in such area by the applicable
                                                                     issuance, or the deadline established by                  attainment date.
                                                                     the Administrator in the action issuing                   [83 FR 63033, Dec. 6, 2018]
                                                                     the CTG.
                                                                        (3) RACT implementation deadline. (i)                  § 51.1313 Section 182(f) NOX exemption
                                                                     For RACT required pursuant to initial                          provisions.
                                                                     nonattainment area designations, the                         (a) A person or a state may petition
                                                                     state shall provide for implementation                    the Administrator for an exemption
                                                                     of such RACT as expeditiously as prac-                    from NOX obligations under CAA sec-
                                                                     ticable, but no later than January 1 of                   tion 182(f) for any area designated non-
                                                                     the fifth year after the effective date of                attainment for a specific ozone NAAQS
                                                                     designation.                                              and for any area in a CAA section 184
                                                                        (ii) For RACT required pursuant to                     ozone transport region.
                                                                     reclassification, the state shall provide                    (b) The petition must contain ade-
                                                                     for implementation of such RACT as                        quate documentation that the criteria
                                                                     expeditiously as practicable, but no                      in CAA section 182(f) are met.
                                                                     later than the start of the attainment                       (c) A CAA section 182(f) NOX exemp-
                                                                     year ozone season associated with the                     tion granted for a prior ozone NAAQS
                                                                     area’s new attainment deadline, or                        does not relieve the area from any NOX
                                                                     January 1 of the third year after the                     obligations under CAA section 182(f) for
                                                                     associated SIP revision submittal                         a current ozone NAAQS.
                                                                     deadline, whichever is earlier; or the
                                                                     deadline established by the Adminis-                      [83 FR 63033, Dec. 6, 2018]
                                                                     trator in the final action issuing the                    § 51.1314 New source review require-
                                                                     area reclassification.                                         ments.
                                                                        (iii) For RACT required pursuant to
                                                                     issuance of a new CTG under CAA sec-                         The requirements for nonattainment
                                                                     tion 183, the state shall provide for im-                 NSR for the ozone NAAQS are located
                                                                     plementation of such RACT as expedi-                      in § 51.165. For each nonattainment
                                                                     tiously as practicable, but either no                     area, the state shall submit a non-
                                                                     later than January 1 of the third year                    attainment NSR plan or plan revision
                                                                     after the associated SIP submission                       for a specific ozone NAAQS no later
                                                                     deadline or the deadline established by                   than 36 months after the effective date
                                                                     the Administrator in the final action                     of the area’s designation of nonattain-
                                                                     issuing the CTG.                                          ment or redesignation to nonattain-
                                                                        (b) Determination of major stationary                  ment for that ozone NAAQS.
                                                                     sources for applicability of RACT provi-                  [83 FR 63033, Dec. 6, 2018]
                                                                     sions. The amount of VOC and NOX
                                                                     emissions are to be considered sepa-                      § 51.1315 Emissions inventory require-
                                                                     rately for purposes of determining                             ments.
                                                                     whether a source is a major stationary                       (a) For each nonattainment area, the
                                                                     source as defined in CAA section 302.                     state shall submit a base year inven-
                                                                        (c) RACM requirements. For each non-                   tory as defined by § 51.1300(p) to meet
                                                                     attainment area required to submit an                     the emissions inventory requirement of
                                                                     attainment       demonstration      under                 CAA section 182(a)(1). This inventory
                                                                     § 51.1308(a) and (b), the state shall sub-                shall be submitted no later than 24
                                                                     mit with the attainment demonstra-                        months after the effective date of des-
                                                                     tion a SIP revision demonstrating that                    ignation. The inventory year shall be
                                                                     it has adopted all RACM necessary to                      selected consistent with the baseline
                                                                     demonstrate attainment as expedi-                         year for the RFP plan as required by
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                                                                     tiously as practicable and to meet any                    § 51.1310(b).
                                                                     RFP requirements. The SIP revision                           (b) For each nonattainment area, the
                                                                     shall include, as applicable, other con-                  state shall submit a periodic emissions

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                                                                     § 51.1316                                                               40 CFR Ch. I (7–1–22 Edition)

                                                                     inventory of emissions sources in the                       (ii) For a RACT SIP required pursu-
                                                                     area to meet the requirement in CAA                       ant to reclassification, the SIP revision
                                                                     section 182(a)(3)(A). With the exception                  deadline is either 24 months from the
                                                                     of the inventory year and timing of                       effective date of reclassification, or the
                                                                     submittal, this inventory shall be con-                   deadline established by the Adminis-
                                                                     sistent with the requirements of para-                    trator in the reclassification action.
                                                                     graph (a) of this section. Each periodic                    (iii) For a RACT SIP required pursu-
                                                                     inventory shall be submitted no later                     ant to the issuance of a new CTG under
                                                                     than the end of each 3-year period after                  CAA section 183, the SIP revision dead-
                                                                     the required submission of the base                       line is either 24 months from the date
                                                                     year inventory for the nonattainment                      of CTG issuance, or the deadline estab-
                                                                     area. This requirement shall apply                        lished by the Administrator in the ac-
                                                                     until the area is redesignated to at-                     tion issuing the CTG.
                                                                     tainment.                                                   (3) RACT implementation deadline. (i)
                                                                       (c) The emissions values included in
                                                                                                                               For RACT required pursuant to initial
                                                                     the inventories required by paragraphs
                                                                                                                               nonattainment area designations, the
                                                                     (a) and (b) of this section shall be ac-
                                                                                                                               state shall provide for implementation
                                                                     tual ozone season day emissions as de-
                                                                                                                               of RACT as expeditiously as prac-
                                                                     fined by § 51.1300(q).
                                                                       (d) In the inventories required by                      ticable, but no later than January 1 of
                                                                     paragraphs (a) and (b) of this section,                   the fifth year after the effective date of
                                                                     the state shall report emissions from                     designation.
                                                                     point sources according to the point                        (ii) For RACT required pursuant to
                                                                     source emissions thresholds of the Air                    reclassification, the state shall provide
                                                                     Emissions Reporting Requirements, 40                      for implementation of such RACT as
                                                                     CFR part 51, subpart A.                                   expeditiously as practicable, but no
                                                                       (e) The data elements in the emis-                      later than the start of the attainment
                                                                     sions inventories required by para-                       year ozone season associated with the
                                                                     graphs (a) and (b) of this section shall                  area’s new attainment deadline, or
                                                                     be consistent with the detail required                    January 1 of the third year after the
                                                                     by 40 CFR part 51, subpart A. Since                       associated SIP revision submittal
                                                                     only emissions within the boundaries                      deadline, whichever is earlier; or the
                                                                     of the nonattainment area shall be in-                    deadline established by the Adminis-
                                                                     cluded as defined by § 51.1300(q), this re-               trator in the final action issuing the
                                                                     quirement shall apply to the emissions                    area reclassification.
                                                                     inventories required in this section in-                    (iii) For RACT required pursuant to
                                                                     stead of any total county requirements                    issuance of a new CTG under CAA sec-
                                                                     contained in 40 CFR part 51, subpart A.                   tion 183, the state shall provide for im-
                                                                     [83 FR 63033, Dec. 6, 2018]                               plementation of such RACT as expedi-
                                                                                                                               tiously as practicable, but either no
                                                                     § 51.1316 Requirements for an Ozone                       later than January 1 of the third year
                                                                          Transport Region.                                    after the associated SIP submission
                                                                        (a) In general. CAA sections 176A and                  deadline or the deadline established by
                                                                     184 apply for purposes of the 2015 ozone                  the Administrator in the final action
                                                                     NAAQS.                                                    issuing the CTG.
                                                                        (b) RACT requirements for certain por-                 [83 FR 63033, Dec. 6, 2018]
                                                                     tions of an ozone transport region. (1)
                                                                     The state shall submit a SIP revision                     § 51.1317 Fee programs for Severe and
                                                                     that meets the RACT requirements of                            Extreme nonattainment areas that
                                                                     CAA section 184(b) for all portions of                         fail to attain.
                                                                     the state located in an ozone transport                     For each area classified Severe or Ex-
                                                                     region.                                                   treme for a specific ozone NAAQS, the
                                                                        (2) SIP submission deadline. (i) For a                 state shall submit a SIP revision with-
                                                                     RACT SIP required pursuant to initial
                                                                                                                               in 10 years of the effective date of des-
                                                                     nonattainment area designations, the
                                                                                                                               ignation for that ozone NAAQS that
                                                                     state shall submit the RACT SIP revi-
                                                                                                                               meets the requirements of CAA section
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                                                                     sion no later than 24 months after the
                                                                                                                               185.
                                                                     effective date of designation for a spe-
                                                                     cific ozone NAAQS.                                        [83 FR 63033, Dec. 6, 2018]

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                                                                     Environmental Protection Agency                                                             Pt. 51, App. L

                                                                     § 51.1318 Suspension of SIP planning                       Weather Service advisory that Atmospheric
                                                                          requirements    in  nonattainment                     Stagnation Advisory is in effect or the equiv-
                                                                          areas that have air quality data                      alent local forecast of stagnant atmospheric
                                                                          that meet an ozone NAAQS.                             condition.
                                                                                                                                  (b) Alert: The Alert level is that concentra-
                                                                        Upon a determination by the EPA                         tion of pollutants at which first stage con-
                                                                     that an area designated nonattainment                      trol actions is to begin. An Alert will be de-
                                                                     for a specific ozone NAAQS has at-                         clared when any one of the following levels is
                                                                     tained that NAAQS, the requirements                        reached at any monitoring site:
                                                                     for such area to submit attainment                         SO2—800 μg/m3 (0.3 p.p.m.), 24-hour average.
                                                                     demonstrations and associated RACM,                        PM10—350 μg/m3, 24-hour average.
                                                                                                                                CO—17 mg/m3 (15 p.p.m.), 8-hour average.
                                                                     RFP plans, contingency measures for                        Ozone (O2) = 400 μg/m3 (0.2 ppm)-hour aver-
                                                                     failure to attain or make reasonable                         age.
                                                                     progress, and other planning SIPs re-                      NO2–1130 μg/m3 (0.6 p.p.m.), 1-hour average,
                                                                     lated to attainment of the ozone                             282 μg/m3 (0.15 p.p.m.), 24-hour average.
                                                                     NAAQS for which the determination                            In addition to the levels listed for the
                                                                     has been made, shall be suspended until                    above pollutants, meterological conditions
                                                                     such time as: The area is redesignated                     are such that pollutant concentrations can
                                                                                                                                be expected to remain at the above levels for
                                                                     to attainment for that NAAQS, at
                                                                                                                                twelve (12) or more hours or increase, or in
                                                                     which time the requirements no longer                      the case of ozone, the situation is likely to
                                                                     apply; or the EPA determines that the                      reoccur within the next 24-hours unless con-
                                                                     area has violated that NAAQS, at                           trol actions are taken.
                                                                     which time the area is again required                        (c) Warning: The warning level indicates
                                                                     to submit such plans.                                      that air quality is continuing to degrade and
                                                                                                                                that additional control actions are nec-
                                                                     [83 FR 63033, Dec. 6, 2018]                                essary. A warning will be declared when any
                                                                                                                                one of the following levels is reached at any
                                                                     § 51.1319      [Reserved]                                  monitoring site:
                                                                                                                                SO2—1,600 μg/m3 (0.6 p.p.m.), 24-hour average.
                                                                                APPENDIXES A–K TO PART 51
                                                                                                                                PM10—420 μg/m3, 24-hour average.
                                                                                       [RESERVED]                               CO—34 mg/m3 (30 p.p.m.), 8-hour average.
                                                                                                                                Ozone (O3)—800 μg/m3 (0.4 p.p.m.), 1-hour av-
                                                                     APPENDIX L TO PART 51—EXAMPLE REG-                           erage.
                                                                        ULATIONS FOR PREVENTION OF AIR                          NO2—2,260 μg/m3 (1.2 ppm)—1-hour average;
                                                                        POLLUTION EMERGENCY EPISODES                              565 μg/m3 (0.3 ppm), 24-hour average.
                                                                       The example regulations presented herein                   In addition to the levels listed for the
                                                                     reflect generally recognized ways of pre-                  above pollutants, meterological conditions
                                                                     venting air pollution from reaching levels                 are such that pollutant concentrations can
                                                                     that would cause imminent and substantial                  be expected to remain at the above levels for
                                                                     endangerment to the health of persons.                     twelve (12) or more hours or increase, or in
                                                                     States are required under subpart H to have                the case of ozone, the situation is likely to
                                                                     emergency episodes plans but they are not                  reoccur within the next 24-hours unless con-
                                                                     required to adopt the regulations presented                trol actions are taken.
                                                                     herein.                                                      (d) Emergency: The emergency level indi-
                                                                       1.0 Air pollution emergency. This regulation             cates that air quality is continuing to de-
                                                                     is designed to prevent the excessive buildup               grade toward a level of significant harm to
                                                                     of air pollutants during air pollution epi-                the health of persons and that the most
                                                                     sodes, thereby preventing the occurrence of                stringent control actions are necessary. An
                                                                     an emergency due to the effects of these pol-              emergency will be declared when any one of
                                                                     lutants on the health of persons.                          the following levels is reached at any moni-
                                                                       1.1 Episode criteria. Conditions justifying              toring site:
                                                                     the proclamation of an air pollution alert,                SO2—2,100 μg/m3 (0.8 p.p.m.), 24-hour average.
                                                                     air pollution warning, or air pollution emer-                PM10—500 μg/m3, 24-hour average.
                                                                     gency shall be deemed to exist whenever the                CO—46 mg/m3 (40 p.p.m.), 8-hour average.
                                                                     Director determines that the accumulation                  Ozone (O3)—1,000 μg/m3 (0.5 p.p.m.), 1-hour av-
                                                                     of air pollutants in any place is attaining or               erage.
                                                                     has attained levels which could, if such lev-              NO2–3,000 μg/m3 (1.6 ppm), 1-hour average; 750
                                                                     els are sustained or exceeded, lead to a sub-                μg/m3 (0.4 ppm), 24-hour average.
                                                                     stantial threat to the health of persons. In                 In addition to the levels listed for the
                                                                     making this determination, the Director will               above pollutants, meterological conditions
                                                                     be guided by the following criteria:                       are such that pollutant concentrations can
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                                                                       (a) Air Pollution Forecast: An internal                  be expected to remain at the above levels for
                                                                     watch by the Department of Air Pollution                   twelve (12) or more hours or increase, or in
                                                                     Control shall be actuated by a National                    the case of ozone, the situation is likely to

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